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 1   Frank S. Hedin (SBN 291289)
     Hedin LLP
 2   535 Mission Street, 14th Floor
     San Francisco, CA 94105
 3   Telephone:    (305) 357-2107
     Facsimile:    (305) 200-8801
 4   E-Mail:       fhedin@hedinllp.com

 5   Counsel for Proposed Intervenors

 6                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 7
     JONATHAN HOANG TO, individually and           Case No. 24-cv-06447-WHO
 8   on behalf of all others similarly situated,
                                                   TIME-SENSITIVE MOTION TO
 9                 Plaintiff,                      INTERVENE AND TO DISMISS, OR
        v.                                         ALTERNATIVELY TO TRANSFER
10                                                 OR STAY, PURSUANT TO THE
     DIRECTTOU, LLC,                               FIRST-TO-FILE RULE, AND
11                                                 INCORPORATED MEMORANDUM
                   Defendant,                      OF LAW
12
        and,                                       CLASS ACTION
13
     DOUGLAS FELLER; JEFFRY HEISE;                 Date: November 6, 2024
14   JOSEPH MULL, individually and on behalf of    Time: 2:00 PM
     all others similarly situated,                Judge: Hon. William H. Orrick
15                                                 Courtroom: 2
                   Proposed
16                 Plaintiff-Intervenors.

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 1             Proposed intervenors Douglas Feller, Jeffry Heise, and Joseph Mull, the plaintiffs in the

 2   action Feller et al. v. Alliance Entertainment, LLC, et al., Case No. 0:24-CV-61444-RAR (S.D.

 3   Fla., filed Aug. 8, 2024)1 (hereinafter, “Plaintiffs”), respectfully submit this time-sensitive motion

 4   pursuant to Federal Rule of Civil Procedure 24 to intervene in and to dismiss, or alternatively to

 5   transfer or stay, this action pursuant to the first-to-file rule.

 6             I.     INTRODUCTION

 7             Intervention by Plaintiffs in this case is necessary to protect the interests of the putative

 8   classes. Following Plaintiffs’ filing of the Feller case, a putative class action for violations of the

 9   Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710—and the product of years of

10   investigatory work by their counsel—Plaintiffs and their counsel expended considerable time and

11   resources litigating the case and exploring settlement with Defendants on behalf of the proposed

12   classes. A mediation was held on October 10, 2024 before a well-respected JAMS mediator (and

13   former federal district court judge) but the parties were unable to reach a settlement.

14             Approximately one week ago, Defendants decided that they were unwilling to settle the

15   classes’ claims on the fair, reasonable, and adequate terms set forth in Plaintiffs’ settlement

16   demands in the Feller action (the latest of which was made on October 18, 2024), and they instead

17   orchestrated a reverse-auction sale of the classes’ claims to the plaintiff and his counsel in the

18   instant matter – a duplicative, copy-cat case brought on behalf of putative classes defined far

19   more narrowly than the classes proposed in the Feller action, and which alleges claims against

20   only one of the two defendants named in the Feller action. Plaintiffs’ counsel first learned of the

21   reverse auction on a call with Defendants’ counsel on October 24, 2024 – two weeks after the

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         A copy of the complaint in the Feller action is attached hereto as Exhibit A.

24                                        1
         TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   mediation between the parties in the first-filed Feller action, a week after Defendants had made

 2   their most recent post-mediation settlement offer to Plaintiffs’ counsel, and just as Plaintiffs were

 3   on the verge of moving for interim appointment of class counsel in the Feller action and filing

 4   the instant motion to intervene and to dismiss this action on first-to-file grounds. On that call,

 5   Defendants’ counsel advised Plaintiffs’ counsel that the parties to this second-filed matter had

 6   just signed (on October 23, a day earlier) a class-wide settlement agreement that purports to

 7   release the claims of all members of the far-more-expansive classes in the Feller case.

 8           The plaintiff in the instant matter case has conducted no discovery, engaged in no

 9   meaningful litigation, and does not appear to have participated in a mediation or engaged in any

10   other arm’s-length settlement negotiations with the Defendants. Rather, based on how quickly

11   the reverse auction transpired, it appears the plaintiff and his counsel in this case simply signed

12   on the dotted lines of whatever settlement agreement was presented to them.

13           Under the circumstances – which bear all the hallmarks of a collusive, reverse auction –

14   the Court should grant this motion to intervene and dismiss, stay, or transfer this action to protect

15   the interests of class members in the Feller action.2

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       On October 27, 2024, Plaintiffs filed a motion in the Feller Action for appointment of their
     counsel as interim class counsel. A copy of that motion and the supporting papers are attached
23   hereto as Composite Exhibit B.

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 1           II.    BACKGROUND3

 2                  A.      Plaintiffs Investigate, File, and Zealously Prosecute the Feller Action

 3           In 2019, Plaintiffs’ counsel began investigating Defendants’ practices of renting, selling,

 4   and otherwise disclosing its customer lists, which include names, addresses, titles of videos

 5   purchased by, and various demographic and other personal information about each of their

 6   customers who made purchases on their websites. See Declaration of Frank S. Hedin (the “Hedin

 7   Declaration” or “Hedin Decl.”), ¶ 6. Part of this investigation included reviewing, saving, and

 8   consulting with industry experts about the “data cards” posted by Defendants on Nextmark.com,

 9   data-axle.com, and other data-brokerage websites where consumers’ personal information is

10   advertised for sale. Hedin Decl. ¶ 7. Over the course of their investigation, Plaintiffs’ counsel

11   also studied Defendants’ transmission of personally identifiable information to Facebook, now

12   known as to Meta Platforms, Inc. (“Meta”), via the Meta Pixel technology installed on their

13   websites. Id. Although their pre-filing investigatory work dates back to 2019, Plaintiffs’ counsel

14   was not retained prosecute claims against Defendants until late July of this year. Hedin Decl. ¶ 8.

15           On August 8, 2024, Plaintiffs filed a Class Action Complaint against Defendants. The

16   Complaint seeks damages resulting from Defendants’ nonconsensual disclosures of Plaintiffs’

17   and their other customers’ personally identifiable information in violation of the VPPA. As

18   alleged in the Complaint, Defendant Alliance Entertainment, LLC sells DVDs and Blu-Ray discs

19   to consumers via a network of websites operated by its affiliate Defendant DirectToU, LLC. See

20   Feller, ECF No. 1 at ¶ 75. These websites include Collectors’ Choice, Critics’ Choice, Movies

21
     3
       The terms “Plaintiffs” and “Defendants” as used in this document in the plural refer to the parties
22   in the Feller action. Additionally, where the singular form of “Plaintiff” and “Defendant” appear
     within this document, they shall refer to the parties in the instant matter, Hoang To v. DirectToU,
23   LLC, 3:24-cv-06447-WHO (N.D. Cal.).
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 1   Unlimited, DeepDiscount, and WowHD. Id. Plaintiffs allege that Defendants violated the VPPA

 2   in two ways. First, Defendants have monetized their “vast digital database comprise of their

 3   customers’ Personal Viewing Information, including the names and addresses of each customer

 4   and information reflecting the titles of all video and other audio-visual products” that each has

 5   purchased. Id. at ¶ 66. Defendants accomplished this by “renting, selling, or otherwise disclosing

 6   their customers’ Personal Viewing Information to data aggregators, data miners, data brokers,

 7   data appenders, and other third parties.” Id. at ¶ 67. The Feller Complaint corroborates these

 8   allegations through publicly available evidence, including screenshots of a data card offered for

 9   sale by Defendants on the data brokerage website Nextmark.com (containing the Personal

10   Viewing Information of 384,538 American consumers). Id. at ¶ 68. Second, Defendants have

11   disclosed their consumers’ Personal Viewing Information through the use of the Meta Pixel, a

12   snippet of programming code embedded on each of Defendants’ many direct-to-consumer

13   websites which systematically sends their personally identifiable information to Meta. Id. at ¶¶

14   74–80. Thus, Plaintiffs seek to certify the following classes in the Feller action:

15           The Data Brokerage Class: All persons in the United States who, during the two
             years preceding the filing of this action, purchased prerecorded video material from
16           Defendants and had their Private Viewing Information disclosed to a third-party by
             Defendant.
17
             The Meta Pixel Class: All persons in the United States who, during the two years
18           preceding the filing of this action purchased prerecorded video material from
             Defendants’ website while maintaining an account with Meta Platforms, Inc. f/k/a
19           Facebook, Inc.

20   See id. at ¶ 85.

21           On August 30, 2024, the parties to the Feller action held a Rule 26(f) conference and, on

22   September 9, 2024, filed their report. Feller, ECF No. 26. On September 10, 2024, the Court

23   issued a scheduling order, Feller, ECF No. 27, which has since been amended to require class

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 1   certification motions filed by February 2, 2025, dispositive motions filed by July 24, 2025, and

 2   setting the case for a jury trial on November 3, 2025. Feller, ECF No. 34.

 3             On September 12, 2024, Plaintiffs’ counsel served Plaintiffs’ first sets of requests for

 4   production of documents and interrogatories on Defendant. The requests seek information,

 5   documents, communications, and electronically stored information concerning each of the factual

 6   and legal issues relevant to Plaintiffs’ and the classes’ claims for violation of the VPPA,

 7   Defendants’ likely defenses thereto, and the certification of the proposed classes pursuant to Rule

 8   23. Hedin Decl. ¶ 9. On September 13, 2024, Plaintiffs’ counsel served notices of depositions

 9   of Defendants’ corporate representatives for November 15, 2024. Id.

10             On September 6, 2024, Plaintiffs and Defendants agreed to attend a mediation to explore

11   class-wide resolution of the Feller action before the Honorable James F. Holderman (Ret.) (JAMS,

12   Chicago).4 Hedin Decl. ¶ 10. The mediation was held on the condition (negotiated by Plaintiffs’

13   counsel) that Defendants would provide various information and materials in advance of the

14   mediation. Id. This included the precise size of the two classes, the form and contents of the

15   personally identifiable information that Defendants disclosed during the relevant time period, and

16   all applicable or potentially applicable insurance policies. Id.

17             Before the mediation, Plaintiffs’ counsel prepared and exchanged with Defendants’

18   counsel and Judge Holderman a comprehensive mediation statement outlining Plaintiffs’

19   positions on legal and factual issues relevant to the claims, defenses, and issue of class

20   certification. Hedin Decl. ¶ 11. Plaintiffs’ counsel and Defendants’ counsel also participated in a

21   lengthy pre-mediation conference with Judge Holderman. Id.           Finally, in advance of the

22   mediation, Defendants’ counsel advised Plaintiffs’ counsel that Defendants had not engaged in

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     4
         Judge Holderman is a former U.S. District Court Judge for the Northern District of Illinois.
24                                                    5
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 1   any settlement discussions with the plaintiff or his counsel in this second-filed Hoang To action.

 2   Hedin Decl. ¶ 11.

 3          On October 10, 2024, the parties participated in a full day mediation before Judge

 4   Holderman. Hedin Decl. ¶ 12. After mediating for nearly eight hours, they were unable to reach

 5   a proposed class-wide settlement and Judge Holderman declared an impasse. Id.

 6          For over more than a week following the mediation, Plaintiffs’ counsel and Defendants’

 7   counsel, with the continued assistance of Judge Holderman, continued to engage in what

 8   Plaintiffs’ counsel (and Judge Holderman) believed at the time to be good-faith negotiations.

 9   Hedin Decl. ¶ 13. Specifically, on October 16, 2024, Plaintiffs’ counsel exchanged e-mails and

10   spoke by telephone with Judge Holderman, and asked him to convey a settlement demand to

11   Defendants’ counsel. Id. Later that same day, after presenting Plaintiffs’ demand to Defendants’

12   counsel by phone, Judge Holderman telephoned Plaintiffs’ counsel to convey a counter offer that

13   Defendants had authorized him to provide. Id. Over the next two days, Plaintiffs’ counsel spoke

14   by phone and exchanged e-mail correspondence with Judge Holderman several times, and on

15   October 18, 2024, Plaintiffs’ counsel asked Judge Holderman to present a new settlement demand

16   to Defendants’ counsel. Id.    Judge Holderman sent Plaintiffs’ counsel an e-mail that day

17   confirming that he had done transmitted the offer. Id. Plaintiffs’ counsel followed up with Judge

18   Holderman on October 22, 2024, and yet again on October 23, 2024, to see whether he had

19   received any response from Defendants’ counsel, and on both occasions, Judge Holderman

20   advised Plaintiffs’ counsel that he had telephoned Defendants’ counsel but had received no

21   answer, and that he had left voicemails but had not heard back. Id. Judge Holderman indicated

22   he would try to contact Defendants’ counsel again on October 24, 2024. Id.

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 1          At the same time as these settlement discussions overseen by Judge Holderman were

 2   occurring, Plaintiffs’ counsel continued pushing this case forward on multiple fronts. Hedin Decl.

 3   ¶ 14. Immediately following the mediation on October 10, 2024, Plaintiffs’ counsel confirmed

 4   with Defendant that the agreed-upon discovery stay had ended. Id. On October 14, 2024,

 5   Plaintiffs’ counsel served a third-party subpoena for documents and deposition testimony to Meta

 6   on Defendants’ counsel by e-mail, and then promptly arranged for the subpoena to be formally

 7   served on Meta. Id. On October 16, 2024, Meta served Plaintiffs with its initial responses and

 8   objections to the subpoena and, later that same day, Plaintiffs’ counsel initiated a meet and confer

 9   process with Meta’s counsel to discuss Meta’s responses and objections to the subpoena. Id. On

10   October 19, 2024, Plaintiffs’ counsel conferred further with Meta’s counsel concerning the timing

11   of its deposition in this matter. Id. On October 17, 2024, Plaintiffs’ counsel served a third-party

12   subpoena for documents to Data-Axle Inc., a data company that, as Plaintiffs’ ongoing

13   investigation had revealed, served as one of Defendant’s list managers and/or brokers, on

14   Defendants’ counsel by e-mail, and then promptly arranged for formal service of the subpoena

15   on Data-Axle, setting a deadline for Data-Axle to respond of November 18, 2024. Id. On October

16   25, 2024, Plaintiffs’ counsel exchanged correspondence with counsel for Data Axle regarding

17   Data Axle’s response to the subpoena and production of documents. Id.

18          Simply put: Plaintiffs and their counsel thoroughly investigated and have vigorously

19   prosecuted the Feller action, and the settlement discussions that occurred between the parties in

20   Feller were conducted at arm’s length and overseen by an experienced mediator.

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 1                  B.      Plaintiff Files the Secondary, Duplicative Hoang To Action

 2          Four days after the Feller action was filed, on August 12, 2024, the plaintiff in the instant

 3   case filed a duplicative VPPA case in California Superior Court, Alameda County.5 The plaintiff

 4   brought a VPPA claim and two California state-law claims against Defendant DirectToU, LLC

 5   (but not Defendant Alliance) in this action, and he asserted these claims on behalf of a putative

 6   class comprised of:

 7          All natural persons residing in California who while having a Facebook account,
            ordered Blu-ray or DVD videos on www.deepdiscount.com during the time the
 8          Meta Pixel was active on www.deepdiscount.com.

 9   ECF No. 1, ¶ 12.

10          On September 12, 2024, the defendant removed the Hoang To action to this Court

11   pursuant to the Class Action Fairness Act. The defendant did not disclose the existence of the

12   earlier-filed, related Feller action in the notice of removal. See ECF No. 1. Nor did either of the

13   parties to this case disclose the existence of the earlier-filed Feller action in the two civil cover

14   sheets filed in this case. See ECF Nos. 2, 6. Nor did either party file a Notice of Pendency of

15   Other Action or Proceeding to apprise the Court of the existence of the first-filed Feller action,

16   as Northern District of California Local Rule 3-13 plainly requires.

17          On October 1, 2024, the plaintiff in this case filed a First Amended Complaint, alleging a

18   VPPA claim on behalf of a proposed nationwide class of persons who purchased videos on

19   deepdiscount.com, and two state-law claims for violation of California law on behalf of a subclass

20   of California residents. See ECF No. 10.

21

22   5
       The Plaintiff in the Hoang To action is listed in the caption as “Jonathan Hoang To” but is referred
     to within the body of the First Amended Complaint as Jonathan Huang To (compare ECF No. 10
23   at 1 (case caption) with ECF No. 10 at 3 (paragraph 6)), and it remains unclear which version is
     correct.
24                                                       8
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
25           TO TRANSFER OR STAY, PURSUANT TO THE FIRST-TO-FILE RULE, AND
                               INCORPORATED MEMORANDUM OF LAW
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 1             Notably, because both of the classes proposed in the operative complaint in the instant

 2   Hoang To action are defined to only include persons who, while enrolled in Facebook, purchased

 3   videos on deepdiscount.com, both of these proposed classes are subsumed by the Meta Pixel

 4   Class in the earlier-filed Feller action, as shown below:

 5       The “Meta Pixel Class” Proposed by              The Classes Proposed by the Plaintiff in
         Plaintiffs in The First-Filed Feller Action     the Second-Filed Hoang Matter
 6       All persons in the United States who, during    All natural persons residing in the United
         the two years preceding the filing of this      States who while having a Facebook
 7       action, purchased prerecorded video material    account, ordered Blu-ray or DVD videos
         from Defendants’ website while maintaining      on www.deepdiscount.com during the
 8       an account with Meta Platforms, Inc. f/k/a      time the Meta Pixel was active on
         Facebook, Inc.6                                 www.deepdiscount.com; and
 9
                                                         All natural persons residing in California
10                                                       who while having a Facebook account,
                                                         ordered Blu-ray or DVD videos on
11                                                       www.deepdiscount.com during the time
                                                         the Meta Pixel was active on
12                                                       www.deepdiscount.com.
13             The Hoang To plaintiff also purports to allege two California state-law claims on behalf

14   of a California sub-class – namely, claims for violations of California Civil Code § 1799.3 and

15   California Business and Professions Code § 17200 – both of which are predicated on the same

16   factual allegations giving rise to his federal VPPA claim. See ECF No. 10.

17             But the plaintiff’s claim for a violation of § 1799.3 – which was first asserted in August

18   2024 and arises from video purchases allegedly made by the plaintiff in May 2023 (see ECF No.

19

20   6
       Plaintiffs’ counsel’s exhaustive, several-years-long investigation into Defendants’ disclosure
     practices revealed that, for the entire duration of the two-year period preceding the filing of this
21   case, the Meta Pixel technology was operational on each website maintained by Defendants on
     which prerecorded video materials were sold to consumers. Thus, the Meta Pixel-related criterion
22   for membership in the classes proposed in the Hoang To action – i.e., that a would-be class
     member’s purchase was made “during the time the Meta Pixel was active” – is unnecessary. For
23   this reason, Plaintiffs in this case properly omitted such a criterion for membership in the Meta
     Pixel Class proposed in their complaint.
24                                                     9
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
25           TO TRANSFER OR STAY, PURSUANT TO THE FIRST-TO-FILE RULE, AND
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 1   10 at ¶ 6) – is barred by the one-year limitation period applicable to a § 1799.3 claim for statutory

 2   penalties. See Cal. Civ. Code § 340(a) (specifying one-year limitation period for “[a]n action

 3   upon a statute for a penalty or forfeiture, if the action is given to an individual, or to an individual

 4   and the state, except if the statute imposing it prescribes a different limitation.”); id. § 1799.3(c)

 5   (“Any willful violation of this section shall be subject to a civil penalty not to exceed five hundred

 6   dollars ($500) for each violation, which may be recovered in a civil action brought by the person

 7   who is the subject of the records.”). Similarly, the plaintiff’s § 17200 claim – which is predicated

 8   on violations of § 1799.3 – is likewise barred by the one-year limitation period applicable to §

 9   1799.3 claims. See Guzman v. Polaris Industries Inc., 49 F.4th 1308, 1312 (9th Cir. 2022).

10           Moreover, even if these claims were not time-barred, the California state-law claims

11   alleged by the plaintiff in Hoang To would still be duplicative and unnecessary. A federal VPPA

12   claim is capable of redressing all disclosures of video purchase-related information of all class

13   members nationwide. See Belmonte v. Creative Properties, Inc., No. 19-61438-CIV, 2019 WL

14   5063832, at *1–2 (S.D. Fla. Oct. 8, 2019) (dismissing with prejudice state-law claim “premised

15   on the exact same factual allegations as [plaintiff’s] federal claim”); J & J Sports Prods., Inc. v.

16   Bou, No. 15-CV-30004-MGM, 2015 WL 8022009, at *3 (D. Mass. Oct. 1, 2015), report and

17   recommendation adopted sub nom. J & J Sports Prods., Inc. v. Jose Bou & Salsarengue, Inc.,

18   No. CV 15-30004-MGM, 2015 WL 8082433 (D. Mass. Dec. 7, 2015) (declining to award

19   damages to a plaintiff who prevailed on state claims predicated on the same underlying facts as

20   the plaintiff’s federal claims, explaining that damages for the overlapping state claims would be

21   duplicative of the damages the plaintiff was awarded for prevailing on the federal claims);

22   Ambrose v. Walker, No. 08-CV-0533-MJR-SCW, 2011 WL 2941299, at *2 (S.D. Ill. July 21,

23   2011) (“Plaintiff’s state law claims are duplicative of his federal constitutional claims and thus,

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 1   unnecessary.”); Syntex (U.S.A.), Inc. v. Interpharm, Inc., No. CIV.A.1:92-CV-03HTW, 1993 WL

 2   643372, at *13 (N.D. Ga. Mar. 19, 1993); United States v. EME Homer City Generation L.P., 823

 3   F. Supp. 2d 274, 296 (W.D. Pa. 2011), aff’d, 727 F.3d 274 (3d Cir. 2013) . This is especially true

 4   given that: (1) § 1799.3’s provisions prohibiting disclosures of video-purchase information are

 5   far narrower in scope than those found in the federal VPPA, see Martin v. Meredith Corp., 657

 6   F. Supp. 3d 277, 285 (S.D.N.Y. 2023), appeal withdrawn, No. 23-412, 2023 WL 4013900 (2d

 7   Cir. May 24, 2023) (“The language of § 1799.3 is similar to that of the VPPA, but notably

 8   narrower in certain respects.”); (2) the plaintiff has not alleged required facts plausibly

 9   establishing any economic injury as required to state a claim for violation of § 17200, id. at 287

10   (dismissing § 17200 on similar allegations of disclosures to Meta, explaining that “Plaintiff's

11   injury consists solely of the alleged disclosure of private information” which is “not ‘lost money

12   or property’” as required by the statute); and (3) the injunctive relief sought by the plaintiff under

13   his § 17200 claim is capable of being obtained on a class-wide basis nationwide through his VPPA

14   claim. See 18 U.S. Code § 2710 (c)(2)(B) (providing that a court may award any “preliminary

15   and equitable relief as the court determines to be appropriate”).

16            It was not until September 18, 2024, that the defendant first apprised this Court of the

17   existence of the Feller action in a motion to enlarge its time to respond to the Hoang To complaint.

18   ECF No. 8. In that filing, the defendant stated that it had asked the plaintiff’s counsel to

19   voluntarily dismiss the Hoang To Action in deference to the earlier-filed Feller action, which had

20   been brought on behalf of classes that entirely subsume the putative classes proposed in this

21   second-filed case. Id. The defendant noted that the plaintiff’s counsel had nonetheless refused

22   to dismiss the instant case. Id.

23

24                                     11
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1                  C.      Defendants Obstruct Plaintiffs From Seeking Appointment as
                            Interim Class Counsel, From Seeking Intervention into and Dismissal
 2                          of This Action, and From Engaging in Discovery

 3          Over the course of a 10-day period beginning on October 14, 2024, continuing through

 4   October 24, 2024, Plaintiff’s counsel repeatedly attempted to schedule a meet and confer

 5   conference with Defendants’ counsel concerning, inter alia: (1) Defendants’ position on a motion

 6   for appointment of interim counsel that Plaintiffs’ counsel had advised Defendants’ counsel it

 7   intended to file in the Feller action; (2) Defendants’ intentions with respect to the Hoang To

 8   matter, including the nature of the responsive pleading it intended to file in the case and whether

 9   it would seek to dismiss, stay, or transfer the case on the grounds that it had previously articulated

10   (namely, that it was duplicative of this earlier-filed case); and, relatedly, (3) Defendants’ position

11   on a motion to intervene and to stay or dismiss the Hoang To matter that Plaintiffs’ counsel had

12   indicated it would file to protect the interests of class members in the event DirectToU, LLC, the

13   defendant in the case, did not intend to seek such relief in response to the plaintiff’s complaint.

14   Hedin Decl. ¶ 15.

15          First, on October 14, 2024, Plaintiffs made the first of several requests to confer on

16   Defendants’ position regarding the Hoang To action. Hedin Decl. ¶ 16. Having received no

17   response, on October 15, 2024, Plaintiffs’ counsel again requested to meet and confer with

18   Defendants’ counsel that week (e.g., the week ending October 18, 2024), both with respect to

19   Defendants’ intentions regarding the duplicative Hoang To action and Defendants’ position on

20   Plaintiffs’ forthcoming motion to be appointed interim class counsel. Id. Plaintiffs’ counsel

21   followed up again that same day (for a fourth time) seeking to meet and confer regarding

22   Defendants’ position on Plaintiffs’ forthcoming motion to be appointed interim class counsel. Id.

23   Later on October 15, 2024, Defendants’ counsel inexplicably responded to Plaintiffs’ counsel by

24                                     12
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   asking for “a description of the substance” of the conference being requested. Id. Plaintiffs’

 2   counsel immediately responded, stating:

 3         1. Defendants’ position on Plaintiffs’ forthcoming motion seeking interim
              appointment as class counsel.
 4
           2. Defendants’ intent with respect to the Hoang matter. Specifically, Plaintiff wants
 5            to discuss whether Defendant intends to dismiss Hoang under the first-filed
              doctrine or to move to transfer Hoang to the SDFL. Alternatively, we’d like to
 6            discuss Defendants’ position on a motion by Plaintiffs to intervene in
              the Hoang matter and a potential motion by Plaintiffs to dismiss the Hoang case on
 7            first filed grounds.

 8   Id.

 9            On October 16, 2024, Defendants’ counsel responded by stating that she would confer

10   with her client.     Hedin Decl. ¶ 17.    Later that day, Plaintiffs’ counsel followed up with

11   Defendants’ counsel once more—again, simply to propose a date to have a meet and confer

12   conference on these matters. Id. Again, Defendants’ counsel responded that she would reply with

13   her clients’ position. Id. On October 21, 2024, having still not received Defendants’ positions on

14   these issues or their availability for a meet and confer call, Plaintiffs’ counsel advised Defendants’

15   counsel that Plaintiffs would file a motion seeking interim appointment as class counsel without

16   waiting any further, likely on Wednesday October 23, 2024, and that they would also file a motion

17   to intervene in the Hoang To action and move to dismiss that case under the first filed doctrine.

18   Hedin Decl. ¶ 18.

19            Defendants’ counsel did not respond to that communication, and, later that day, Plaintiffs’

20   counsel sent another e-mail to Defendants’ counsel regarding Defendants’ incomplete initial

21   disclosures, and again sought to confer telephonically on October 22, 2024. Hedin Decl. ¶ 19.

22   Once more, Defendants’ counsel refused to schedule a conferral and punted, stating again they

23   would need to discuss with their clients. Id.

24                                     13
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1          On October 23, 2024, Plaintiffs’ counsel sent Defendants’ counsel a summary of their

 2   attempts to meet and confer by email. Hedin Decl. ¶ 20. Plaintiffs’ counsel also left voicemails to

 3   each of Defendants’ counsel of record, all of which went unreturned. Id.           The next day,

 4   Defendants’ counsel responded by stating: “Let’s get a call on the calendar early next week to

 5   discuss the issues you’ve laid out. We are pretty open on Tuesday, 10/29, so let us know a time

 6   that works for you.” Hedin Decl. ¶ 21. In response, Plaintiffs’ counsel advised Defendants’

 7   counsel as follows:

 8          Bonnie: We will be filing our motion for interim appointment today. And in the
            motion we will advise the court that you have refused to meet and confer with us
 9          or provide us with your position on our request for interim appointment after
            numerous e-mails and attempted phone calls over the past week+. If your client is
10          willing to meet and confer with us today before we file, please let us know
            immediately. Thank you.
11
     Id.
12
            And in response to this e-mail from Plaintiffs’ Counsel – which, again, came after 10 days
13
     of Defendants’ counsel ignoring Plaintiffs’ counsel’s repeated efforts to communicate with them
14
     concerning each of these important issues, and after five days of ignoring Judge Holderman’s
15
     repeated efforts to communicate with them as well, Defendants’ counsel agreed to meet and
16
     confer on these issues with Plaintiffs’ counsel by phone later that afternoon. Hedin Decl. ¶ 22.
17
            To recap: between October 14 and October 24, Defendants actively obstructed Plaintiffs’
18
     Counsel in the Feller action from seeking appointment of their counsel as interim class counsel,
19
     from seeking intervention into and dismissal of this second-filed action, and from obtaining the
20
     important testimony and documents that Plaintiffs had sought from Defendants and third parties
21
     in discovery.
22

23

24                                     14
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1                  D.      Plaintiffs Learn of the Reverse Auction Collusively Engineered in the
                            Hoang To Action
 2
            As it turned out, Defendants had been ignoring Plaintiffs’ counsel’s attempts to meet and
 3
     confer with them, and thereby preventing Plaintiffs from filing motions for interim appointment
 4
     in the Feller action and to intervene in and to dismiss the instant Hoang To action, because they
 5
     were busy orchestrating a collusive reverse auction of the class members’ claims with the plaintiff
 6
     and his counsel in the second-filed Hoang To action.
 7
            Indeed, during the October 24, 2024 phone call that Plaintiffs’ counsel was finally able to
 8
     schedule with Defendants’ counsel, Defendants’ counsel informed Plaintiffs’ counsel that
 9
     Defendants had executed a class-wide settlement agreement with the plaintiff and his counsel in
10
     the Hoang To action the day before (October 23, 2024), that the proposed settlement
11
     memorialized in that signed agreement purports to release the claims of all putative class
12
     members in the Feller action (even though only the proposed classes in the Hoang To action
13
     comprise only a subset of the persons who comprise the proposed classes in the Feller action),
14
     that those releases will cover both of the Defendants in the Feller action (even though only one
15
     of those Defendants is named in the Hoang To action), that the plaintiff in the Hoang To action
16
     would be filing a motion for preliminary approval on or about October 28, 2024, and that
17
     Defendants would be filing a motion to stay the Feller action pending resolution of the
18
     forthcoming motion for preliminary approval in the Hoang To action. Hedin Decl. ¶ 22. At no
19
     time on this call or otherwise did Defendants’ counsel ever request Plaintiffs’ position on
20
     Defendants’ forthcoming motion to stay the Feller action. And when Plaintiffs’ counsel asked
21
     Defendants’ counsel to provide them with a copy of, or to at least disclose the terms of, the class-
22
     wide settlement agreement that had been signed between Defendants and the Hoang To plaintiff
23
     and his counsel – information obviously necessary for Plaintiffs and their counsel to assess
24                                               15
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
25         TO TRANSFER OR STAY, PURSUANT TO THE FIRST-TO-FILE RULE, AND
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 1   whether the settlement agreement provides fair, reasonable, and adequate relief to class members,

 2   and thus to determine whether they would oppose Defendants’ forthcoming motion to stay the

 3   Feller matter or not – Defendants’ counsel flatly refused without explanation. Id.

 4          Later in the day, following this call with Defendants’ counsel, Plaintiffs’ counsel spoke

 5   with Judge Holderman by phone, who indicated he had just finally gotten ahold of Defendants’

 6   counsel, and they had just then advised him of the settlement agreement they had signed with the

 7   Hoang To plaintiff’s counsel. Id.

 8          Almost immediately after Plaintiffs’ counsel’s call with Defendants’ counsel ended on

 9   October 24, 2024, Defendants filed a motion to stay the Feller action pending resolution of the

10   motion for preliminary approval of a class-wide settlement agreement that the plaintiffs would

11   be filing in the instant Hoang To action. Hedin Decl. ¶ 23. The motion to stay states, in pertinent

12   part, that the parties in the Hoang To action signed a class-wide settlement agreement “on October

13   23, 2024” (Feller, ECF No. 36 at 2), that “[t]he settlement reached in the Hoang To action would,

14   if approved by the Court, cover all claims asserted in this [Feller] case” (id. at 1), that “the Hoang

15   To settlement is expected the release the claims of all putative class members in this [Feller]

16   case” (id. at 4), and that “a motion for preliminary approval of the proposed settlement will be

17   filed early next week” in the Hoang To case (id. at 2).

18          Later in the day on October 24, 2024, Plaintiffs’ counsel emailed all counsel of record for

19   the plaintiff in the Hoang To action in an effort to meet and confer on their position on both the

20   motion for interim appointment to be filed in the Feller action and the instant motion to intervene

21   in and to dismiss or stay the Hoang To action on first-to-file grounds. Hedin Decl. ¶ 24. Counsel

22   of record for the plaintiff in the Hoang To action, Adrian Barnes, responded that he was not

23   familiar enough with the litigation to provide his client’s position on these issues, and that the

24                                     16
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   other counsel of record for his client were unavailable until October 28, 2024, because of the

 2   observation of a religious holiday. Id.

 3          The reverse auction that Defendants orchestrated of the classes’ claims, and the

 4   willingness with which the plaintiff’s counsel in Hoang To appears to have gone along with it, as

 5   described above, is the most underhanded conduct that Plaintiffs’ counsel has experienced in his

 6   10-year career as a lawyer practicing in this area of law. Hedin Decl. ¶ 25. The post-mediation

 7   chain of events speaks for itself: as Plaintiffs’ counsel was repeatedly attempting to meet and

 8   confer in good faith with Defendants’ counsel on their planned interim appointment motion and

 9   on the instant motion to intervene and to dismiss the Hoang To action (only to be ignored), as

10   Judge Holderman was also repeatedly attempting to reach Defendants’ counsel to continue the

11   post-mediation settlement negotiations (only to be ignored as well), and as Defendants and

12   multiple third parties were set to provide important testimony and documents to Plaintiffs,

13   Defendants’ counsel was busy conducting a reverse auction of the classes’ claims to the plaintiff’s

14   counsel in this matter. In other words, Defendants set out to get a deal done on the terms of their

15   liking with the plaintiff’s counsel in the Hoang To action (who turned out to be more than happy

16   to oblige) before Plaintiffs could move for interim appointment in the Feller case or move to

17   dismiss the Hoang To action on first-filed grounds, for the transparent purpose of avoiding an

18   arm’s-length negotiation with experienced plaintiffs’ counsel intent on negotiating a good deal

19   for class members – which is what they had already come to expect from Plaintiffs’ counsel in

20   the Feller case – and to prevent Plaintiffs from uncovering the depth of Defendants’ wrongdoing

21   in the discovery that was due to be produced in the Feller action. When the settlement agreement

22   signed by the Hoang To plaintiff and Defendants is eventually submitted for approval, Plaintiffs

23

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      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   and their counsel fully expect that its terms will be the same (or worse) than the terms of one of

 2   Defendant’s prior settlement offers that Plaintiffs in this case had previously rejected.

 3           III.    ARGUMENT

 4           Under the circumstances described above – which bear all the hallmarks of a reverse

 5   auction – the Court should grant intervention by Plaintiffs and dismiss (or, alternatively, stay or

 6   transfer) this second-filed action under the first-to-file rule doctrine to protect the interests of the

 7   classes.

 8           Rule 24 intervention is warranted by right and, alternatively, permissively, given that there

 9   are hundreds of thousands of proposed class members in the Feller action who would suffer

10   significant, irrevocable prejudice if a collusive, reverse auction settlement agreement (that

11   purports to release all of their claims) were to be approved in the Hoang To action. To avoid

12   further jeopardy to class members’ rights, the Hoang To action should be dismissed pursuant to

13   the first-to-file doctrine, or, alternatively, stayed pending resolution of the Feller action or

14   transferred to the Southern District of Florida pursuant to 28 U.S.C. 1404(a).

15           This Court has previously seen, and put a stop to, attempts to sell class members’ claims

16   at reverse auctions: “In short, if this case were to yield [], it would reward a case that appears to

17   be reverse auction. It would incentivize class-action defendants to pick their favorite class counsel

18   from among various cases; reach a pre-certification settlement that is good for the defendants,

19   good for class counsel, and potentially bad for the class; and then stipulate to remanding to state

20   court to escape the first-to-file rule.” Rahman v. Gate Gourmet, Inc., No. 3:20-CV-03047-WHO,

21   2021 WL 5973046, at *4 (N.D. Cal. Nov. 22, 2021) (Orrick, J.). What the Rahman court

22   described is exactly what the parties to the instant matter are attempting. As it has done before,

23   this Court should refuse to let a collusive, reverse-auction-produced settlement stand as a

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      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   substitute for adversarial litigation and arm’s-length negotiations between the parties. The Court

 2   should permit intervention and dismiss, stay, or transfer this second-filed action to protect the

 3   interests of class members and promote the interests of judicial economy and efficiency.

 4                    A.      Intervention is Warranted Either as a Matter of Right or With
                              Permission
 5
               Intervention is plainly warranted here. Rule 24 allows intervention either by right or with
 6
     the Court’s permission. Fed. R. Civ. P. 24(a); Fed. R. Civ. P. 24(b). Under either standard,
 7
     Plaintiffs in the first-filed Feller action are entitled to intervene in the second-filed Hoang To
 8
     action.
 9
               As a matter of right, a court must permit a nonparty to intervene when the non-party
10             claims an interest relating to the property or transaction that is the subject of the
               action, and is so situated that disposing of the action may as a practical matter
11             impair or impede the movant’s ability to protect its interest, unless existing parties
               adequately represent that interest.
12
     Fed. R. Civ. P. 24(a)(2) (emphasis added). The Ninth Circuit has distilled four elements for
13
     mandatory intervention.       A proposed intervenor must show that “(1) it has a ‘significant
14
     protectable interest’ relating to the property or transaction that is the subject of the action; (2) the
15
     disposition of the action may, as a practical matter, impair or impede the applicant’s ability to
16
     protect its interest; (3) the application is timely; and (4) the existing parties may not adequately
17
     represent the applicant’s interest.” Donnelly v. Glickman, 159 F.3d 405, 409 (9th Cir. 1998).
18
               Courts may also permit anyone to intervene in an action who “has a claim or defense that
19
     shares with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). In
20
     the Ninth Circuit, permissive intervention should be granted where the proposed intervenor “(1)
21
     shares a common question of law or fact with the main action; (2) its motion is timely; and (3)
22
     the court has an independent basis for jurisdiction over the applicant’s claims.” See id. at 412.
23
     District courts interpret the rule broadly in favor of permissive intervention. Forest Conservation
24                                                     19
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
25          TO TRANSFER OR STAY, PURSUANT TO THE FIRST-TO-FILE RULE, AND
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 1   Council v. U.S. Forest Service, 66 F.3d 1489, 1493 (9th Cir. 1995).

 2           The Plaintiffs in the Feller action should be permitted to intervene in this case under either

 3   standard. Defendants’ counsel has stated that the class-wide settlement agreement executed on

 4   October 23, 2024 between the parties to the second-filed Hoang To action would, if approved,

 5   bind all members of the putative classes in the first-filed Feller action. Hedin Decl. ¶¶ 22-23.

 6   Because the circumstances leading to this proposed settlement all point to a reverse-auction sale

 7   of the classes’ claims to the lowest bidder, as discussed above, Plaintiffs in the Feller action are

 8   entitled to intervene for the purposes of moving to dismiss this action on first-to-file grounds and

 9   to otherwise protect the interests of the putative classes they seek to represent in the Feller action.

10   See e.g., Widjaja v. YUMA Brands, Inc., No. CV-F-09-1074 OWW/DLB, 2009 WL 3462040, at

11   *7 (E.D. Cal. Oct. 22, 2009) (finding because of the possibility of inconsistent rulings, denying

12   intervention “may impair or impede Intervenor–Plaintiffs’ ability to protect that interest [in the

13   litigation]” and granting intervention as a matter of right for plaintiffs in first-filed action); Manier

14   v. L’Oreal USA, Inc, No. 2:16-CV-06886-ODW-KS, 2017 WL 59066, at *1–4 (C.D. Cal. Jan. 4,

15   2017) (granting intervention in favor of plaintiffs in a first-filed action); Elpidio v. Union Pac.

16   R.R. Co., No. 15-CV-3071-PJH, 2015 WL 5559920, at *2 (N.D. Cal. Sept. 18, 2015) (same);

17   Woodard v. Boeing Emps. Credit Union, No. 2:23-CV-00033, 2023 WL 4847005, at *3–5 (W.D.

18   Wash. July 28, 2023) (same); Krefting v. Kaye-Smith Enterprises Inc., No. 2:23-CV-220, 2023

19   WL 4847148, at *4 (W.D. Wash. July 28, 2023) (same); Edmonds v. Amazon.com, Inc., No. C19-

20   1613JLR, 2020 WL 4207208, at *3 (W.D. Wash. July 22, 2020) (same).

21           This Court knows a reverse auction when it sees one. In Rahman, a plaintiff before this

22   Court filed the first California Private Attorney General action against a defendant. 2021 WL

23   5973046 at *1. Discovery proceeded. Id. The defendant then negotiated a settlement in a second-

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 1   filed case and swiftly moved to remand it to state court where it could avoid the federal first-filed

 2   rule. Id. at *2. This Court refused to go along, writing:

 3           Further, the parties’ conduct in Diaz [the second-filed case] smacks of a “reverse
             auction” leading to a collusive settlement. Gate Gourmet removed Diaz to federal
 4           court in October 2020. Even though there is significant overlap in the claims
             (because both cases are proposed class actions), Gate Gourmet failed to put Rahman
 5           and me on notice that there was a related case. See Civ. L.R. 3-13(a) (mandating
             notice of such actions). If it had done so, there presumably would have been
 6           motions about the first-to-file rule or an earlier motion about MDL transfer. Instead,
             Gate Gourmet negotiated a pre-certification settlement with the plaintiffs’ counsel
 7           in Diaz and swiftly stipulated to remand the case to state court once it did so. It only
             filed notices in this case and Diaz a month before that remand. See Dkt. No. 31.
 8           Even today, it has offered no principled reason for choosing to settle a later-filed
             case.
 9
     Id.
10
             The Hoang To parties might as well have used the conduct in Rahman as a playbook.
11
     They filed no Notice of Pendency of Other Action or Proceeding (as required under Northern
12
     District of California Local Rule 3-13), swiftly agreed to a pre-certification settlement in the later-
13
     filed action without having conducted any discovery, engaged in no meaningful litigation, nor
14
     conducted any arm’s-lengths settlement negotiations, at mediation or otherwise. The similarities
15
     between the cases are striking. This Court should employ the same strong skepticism towards the
16
     settlement agreement here as it did towards the one in Rahman.
17
             This case has the additional element of Defendants’ obstruction. As recounted above,
18
     after the parties’ mediation, Defendants’ counsel repeatedly refused to meet and confer with
19
     Plaintiffs’ counsel – in order to stonewall Plaintiffs’ efforts to obtain interim appointment in the
20
     Feller action and to intervene and dismiss the instant Hoang To action. Hedin Decl. ¶¶ 15-20.
21
     Plaintiffs tried more than six times to get Defendants to confer on a motion for interim
22
     appointment of class counsel, on a motion to intervene and dismiss this this action, on whether
23
     Defendants would move to dismiss this action under the first-to-file rule, and on deposition
24                                              21
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   scheduling and discovery. Id. Defendants ignored these efforts in order to buy time to arrange a

 2   reverse auction, bottom-dollar settlement that Plaintiffs and their counsel in the Feller action were

 3   unwilling to agree to. Id. And ultimately, Defendants’ counsel only finally agreed to get on the

 4   phone with Plaintiffs’ counsel in the Feller action to meet and confer after the settlement

 5   agreement had been executed between Defendants and the plaintiff in the Hoang To action. Even

 6   then, Defendants’ counsel refused disclose the terms of the settlement agreement, even though it

 7   had already been signed and would be imminently filed on the public docket. Id. at ¶ 22.

 8           Under the circumstances, the Court should permit the Plaintiffs in the Feller action to

 9   intervene in this second-filed action to protect the interests of the putative classes from the

10   collusive settlement entered into between the parties to this action.7

11                   B.      The First-to-File Rule Requires Dismissal, or in the Alternative, a
                             Transfer or Stay, of the Hoang To Action
12
             Under the first-to-file rule, this Court must dismiss, stay, or transfer the Hoang To action
13
     to the Southern District of Florida.
14

15

16
     7
       It highly unlikely that the proposed settlement is even approvable given the circumstances under
17   which it was obtained. Under Rule 1(d) of the Northern District of California’s Procedural
     Guidance for Approval of Class Action Settlements, the parties must apprise the Court of whether
18   “[a]ny other cases that will be affected by the settlement, an explanation of what claims will be
     released in those cases if the settlement is approved, the class definitions in those cases, their
19   procedural posture, whether plaintiffs’ counsel in those cases participated in the settlement
     negotiations, a brief history of plaintiffs’ counsel’s discussions with counsel for plaintiffs in those
20   other cases before and during the settlement negotiations, an explanation of the level of
     coordination between the two groups of plaintiffs’ counsel, and an explanation of the significance
21   of those factors on settlement approval . . . .” Id. Moreover, under Rule 1(a), the Hoang To parties
     must explain why the proposed settlement’s release, which apparently covers the claims of all
22   members of the proposed classes in the Feller action, is so much broader than the claims alleged
     by the plaintiff in his First Amended Complaint in the Hoang To action. Applying these factors
23   to the factual circumstances in question only underscores the underhanded nature of the way in
     which the proposed settlement in the Hoang To action was produced.
24                                                       22
      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1                       i. The First-to-File Rule Applies

 2           The first-to-file rule applies in this scenario, and requires that the claims alleged in the

 3   second-filed Hoang To action be dismissed, stayed, or transferred in deference to the claims

 4   alleged in the first-filed Feller action.

 5           Courts “consider three factors in determining whether the first-to-file rule applies: (1) the

 6   chronology of the actions; (2) the similarity of the parties; and (3) the similarity of the issues.”

 7   Molander v. Google LLC, 473 F. Supp. 3d 1013, 1017 (N.D. Cal. 2020) (citing Kohn Law Grp.,

 8   Inc. v. Auto Parts Mfg. Miss., Inc., 787 F.3d 1237, 1240 (9th Cir. 2015)). Each of these factors

 9   weighs in favor of dismissal, stay, or transfer of the Hoang To action on first-to-file grounds.

10           The first factor, chronology, obviously weighs against the Hoang To action proceeding.

11   The Plaintiffs filed the Feller action in the Southern District of Florida on August 8, 2024. Feller,

12   ECF No. 1. The Hoang To action was filed on August 12, 2024. See ECF No. 1, Ex. A. It was

13   removed to federal court a month later, on September 12, 2024. See ECF No. 1. That was over

14   one month after the Feller action was filed, and almost two weeks after Defendant’s counsel

15   contacted the plaintiff’s counsel in the Hoang To action to discuss the Feller Action and ask that

16   the later-filed Hoang To action be dismissed, which the plaintiff’s counsel refused to do. See ECF

17   No. 8. Since that time, the Plaintiffs have engaged in significant discovery in the Feller action,

18   whereas discovery does not appear to have even commenced in the Hoang To action.

19           The second factor, the similarity of the parties and the proposed classes, also supports

20   application of the first-to-file rule. In class actions, courts look to the similarity of the proposed

21   classes, not the named plaintiffs. See Pedro v. Millennium Prods., Inc., No. 15-CV-05253, 2016

22   WL 3029681, at *3 (N.D. Cal. May 27, 2016) (transferring a second-filed case under the rule and

23   noting that “the majority of district courts in the Ninth Circuit that have applied the first-to-file

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 1   rule in the context of a class action have compared the putative classes rather than the named

 2   plaintiffs.”). As discussed above, both actions are brought against Defendant DirectToU, LLC in

 3   its role as the operator of deepdiscount.com. The Feller action, however, includes an additional

 4   Defendant, Alliance Entertainment, LLC, which also operates numerous other websites where

 5   prerecorded video materials are sold, and alleges claims on behalf of classes comprised of all

 6   persons who make purchases of video products on all of those websites. Thus, the classes

 7   proposed and claims alleged in the Feller action completely overlap, and subsume, the proposed

 8   classes and the claims alleged in the Hoang To action.

 9          Third, the similarity of the issues in the two cases supports application of the first-to-file

10   rule because all of the issues in Hoang To are present in Feller. Both actions seek to redress VPPA

11   violations arising from Defendants’ disclosures of personally identifying and video-purchase

12   information to Meta via the Meta Pixel. The underlying conduct giving rise to such disclosures

13   via the Meta Pixel as alleged in the Feller action is far more expansive than conduct giving rise

14   to those disclosures as alleged in the Hoang To action; whereas just a single website is at issue in

15   Hoang To, the Feller action focuses on numerous of Defendants’ websites. And notably, the

16   claims class members in Feller also rest on a second, and even stronger theory of liability not

17   alleged at all in the Hoang To action: Defendants’ disclosures of all of its customers’ personally

18   identifying and purchase-related information to data appenders and other third party renters and

19   exchangers of Defendants’ customer files on the data-brokerage marketplace.

20          The first-to-file rule clearly applies in these circumstances. See Kohn, 787 F.3d at 1240

21   (noting that the issues “need not be identical, only substantially similar.”).

22                      ii. The Hoang To Action Should be Dismissed, Stayed, or Transferred

23          Given that the first-to-file rule applies, the Court should dismiss, stay, or transfer the

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      TIME-SENSITIVE MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY
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 1   Hoang To action in deference to the first-filed Feller action.

 2          As courts widely recognize, the “first-to-file rule promotes judicial efficiency by allowing

 3   a district court to transfer, stay, or dismiss a case when a complaint involving the same parties

 4   and the same issues has already been filed in another district.” Alltrade, Inc. v. Uniweld Prod.,

 5   Inc., 946 F.2d 622, 625 (9th Cir. 1991). Because each element of the first-to-file rule is satisfied

 6   in this case, the Hoang To action should be dismissed to make way for the Feller action to

 7   proceed. See, e.g., SMIC, Americas v. Innovative Foundry Techs. LLC, 473 F. Supp. 3d 1021

 8   (N.D. Cal. 2020) (applying first-to-file rule); Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d

 9   93, 96 (9th Cir. 1982) (affirming district court’s dismissal under first-to-file rule). This Court has

10   explained that the first-to-file rule applies under highly analogous circumstances, stating: “To

11   start, this case was filed first. Usually, considerations of efficiency, economy, and avoiding

12   duplicative litigation give favor to the first-filed case. . . . If Diaz [the second-filed case] had

13   remained pending in federal court, it would likely have been subject to the first-to-file rule and

14   stayed or dismissed in favor this case.” Rahman, 2021 WL 5973046, at *3.

15          Alternatively, this Court should stay the Hoang To action pending disposition of the Feller

16   action, see id. at *2, or transfer it to the Southern District of Florida, which is where the defendant

17   in Hoang To resides, where both of the Defendants in Feller reside, and where Defendants’

18   records, their repositories of electronically stored information, and many of the relevant fact

19   witnesses appear to be primarily located. See Garcia v. Praxair, Inc., No. 3:18-CV-03887-WHO,

20   2018 WL 4471151, at *5 (N.D. Cal. Sept. 18, 2018) (transferring case under the first-to-file rule).

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 1                                             CONCLUSION

 2          For the foregoing reasons, intervention should be granted and this second-filed action

 3   should be dismissed, stayed, or transferred pursuant to the first-to-file rule.

 4   Dated: October 28, 2024                        Respectfully submitted,

 5
                                                    HEDIN LLP
 6
                                                    By: /s/ Frank S. Hedin
 7
                                                    HEDIN LLP
 8                                                  Frank S. Hedin (SBN 291289)
                                                    1395 Brickell Ave, Suite 610
 9                                                  Miami, Florida 33131
                                                    Telephone: (305) 357-2107
10                                                  Facsimile: (305) 200-8801
                                                    Email: fhedin@hedinllp.com
11
                                                    Counsel for Plaintiffs and the putative Class in
12                                                  Feller et al. v. Alliance Entertainment, LLC, et al.,
                                                    Case No. 0:24-CV-61444-RAR (S.D. Fla. filed Aug.
13                                                  8, 2024)
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 1                                   CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that, on October 28, 2024, I electronically filed the foregoing

 3   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing TIME-

 4   SENSITIVE MOTION TO INTERVENE AND TO DISMISS OR, IN THE ALTERNATIVE, TO

 5   STAY OR TRANSFER THIS ACTION PURSUANT TO THE FIRST-TO-FILE RULE AND

 6   INCORPORATED MEMORANDUM OF LAW is being served this day on all counsel of record

 7   identified on the attached Service List, via transmission of Notice of Electronic Filing generated

 8   by CM/ECF. Lastly, I certify that the foregoing document is being served this day by email on

 9   counsel for Defendants in the Feller Action.

10
                                                    /s/ Frank S. Hedin
11
                                                    HEDIN LLP
12                                                  Frank S. Hedin (SBN 291289)
                                                    1395 Brickell Ave, Suite 610
13                                                  Miami, Florida 33131
                                                    Telephone: (305) 357-2107
14                                                  Facsimile: (305) 200-8801
                                                    Email: fhedin@hedinllp.com
15
                                                    Counsel for Plaintiffs and the putative Class in
16                                                  Feller et al. v. Alliance Entertainment, LLC, et al.,
                                                    Case No. 0:24-CV-61444-RAR (S.D. Fla. filed Aug.
17                                                  8, 2024)

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 1
                                            SERVICE LIST
 2
     Adrian John Barnes
 3   HammondLaw P.C.
     1201 Pacific Avenue, Sixth Floor
 4   Tacoma, WA 98402
     (510) 316-9926
 5   Fax: (310) 295-2385
     Email: abarnes@hammondlawpc.com
 6
     Julian Ari Hammond
 7   1201 Pacific Avenue, Sixth Floor
     Tacoma, WA 98402
 8   (310) 807-1666
     Email: JHammond@hammondlawpc.com
 9
     Polina Brandler
10   1201 Pacific Avenue, Sixth Floor
     Tacoma, WA 98402
11   (718) 414-7094
     Email: pbrandler@hammondlawpc.com
12
     Ari Nathan Cherniak
13   1201 Pacific Avenue, Sixth Floor
     Tacoma, WA 98402
14   (559) 917-4917
     Email: acherniak@hammondlawpc.com
15
     Attorneys for Second-filed Plaintiff Jonathan Hoang To
16
     Teresa Carey Chow
17   Baker & Hostetler LLP
     1900 Avenue of the Stars, Suite 2700
18   Los Angeles, CA 90067-4301
     (310) 820-8800
19   Fax: (310) 820-8859
     Email: tchow@bakerlaw.com
20
     Attorney for Second-filed Defendant DirectToU, LLC
21
     Joel Christopher Griswold
22   Baker & Hostetler LLP
     8248 Tibet Butler Dr.
23   Windermere, FL 34786
     (407)649-4088
24                                     28
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 1   Email: jcgriswold@bakerlaw.com

 2   Bonnie Keane DelGobbo
     Baker & Hostetler LLP
 3   One N. Wacker Drive, Suite 3700
     Chicago, IL 60606
 4   (312) 416-8185
     Email: bdelgobbo@bakerlaw.com
 5
     Attorneys for First-filed Defendant Alliance Entertainment, LLC, et al.
 6

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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION


   DOUGLAS FELLER; JEFFRY HEISE;                       CASE NO. ____________
   JOSEPH MULL, individually and on behalf of
   all others similarly situated,

               Plaintiff,                              (JURY TRIAL DEMANDED)

   v.

   ALLIANCE ENTERTAINMENT, LLC; and
   DIRECTTOU, LLC d/b/a Collectors’ Choice
   Music, Critics’ Choice Video, Movies
   Unlimited, DeepDiscount, and WOW HD
               Defendants.

                                   CLASS ACTION COMPLAINT

          Douglas Feller (“Plaintiff Feller”), Jeffry Heise (“Plaintiff Heise”), and Joseph Mull

   (“Plaintiff Mull”) (collectively, “Plaintiffs”), individually and on behalf of all others similarly

   situated, make the following allegations pursuant to the investigation of counsel and based upon

   information and belief, except as to allegations pertaining specifically to themselves or their

   counsel, which are based on personal knowledge.

                                      NATURE OF THE CASE

          1.      Plaintiffs bring this action to redress Defendants’ practices of selling, renting,

   transmitting, and/or otherwise disclosing, to various third parties, records containing the personal

   information (including names and addresses) of each of their customers, along with detailed

   information revealing the titles and subject matter of the videos and other audiovisual materials

   purchased by each customer (collectively “Personal Viewing Information”) in violation of the

   Video Privacy Protection Act, 18 U.S.C. §2701et. seq. (“VPPA”).
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           2.      Defendants violate the VPPA with respect to their disclosure of Plaintiffs’ and

   putative classes’ Personal Viewing Information in two ways.

           3.      First, Defendants disclose their customers’ Personal Viewing Information to

   various third-party recipients, which then append that information to a myriad of other categories

   of personal and demographic data pertaining to those customers. Defendants re-sell that Personal

   Viewing Information (enhanced with the appended demographic information) to other third parties

   on the open market.

           4.      Second, Defendants have systematically transmitted (and continue to transmit

   today) their customers’ personally identifying video viewing information to Meta Platforms, Inc.

   (“Meta”) using a snippet of programming code called the “Meta Pixel,” which Defendants chose

   to install on their websites.

           5.      The information Defendants disclosed (and continues to disclose) to Meta via the

   Meta Pixel it installed on their websites includes the Facebook ID (“FID”) and the title of the

   specific prerecorded video material that each of their customers purchased on their website. An

   FID is a unique sequence of numbers linked to a specific Meta profile. A Meta profile, in turn,

   publicly identifies by name the specific person to whom the profile belongs (and also contains

   other personally identifying information about the person). Entering “Facebook.com/[FID]” into

   a web browser returns the Meta profile of the person to whom the FID corresponds. Thus, the FID

   identifies a person more precisely than a name, as numerous persons may share the same name,

   but each person’s Facebook profile (and associated FID) uniquely identifies one and only one

   person. In the simplest terms, the Meta Pixel installed by Defendants captures and discloses to

   Meta information that reveals the specific videos that a particular person purchased on Defendants’

   websites (hereinafter, “Private Viewing Information”).




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           6.      By these means Defendants disclosed and continue to disclose their customers’

   Private Viewing Information to third parties without asking for, let alone obtaining, their consent

   to these practices.

           7.      The VPPA clearly prohibits what Defendants have done. Subsection (b)(1) of the

   VPPA provides that, absent the consumer’s prior informed, written consent, any “video tape

   service provider who knowingly discloses, to any person, personally identifiable information

   concerning any consumer of such provider shall be liable to the aggrieved person for,” 18 U.S.C.

   § 2710(b)(1), damages in the amount of $2,500.00, see id. § 2710(c).

           8.      Thus, while Defendants profit handsomely from their unauthorized disclosure of

   their customers’ Personal Viewing Information to third parties without providing prior notice to

   or obtaining the requisite consent from any of these customers, they do so at the expense of their

   customers’ privacy and their statutory rights under federal law.

           9.      Defendants’ practice of disclosing their customers’ Personal Viewing Information

   in violation of the VPPA has invaded Plaintiffs’ and the other unnamed Class members’ privacy

   and resulted in a barrage of unwanted junk mail to their home addresses and e-mail inboxes.

   Defendants’ disclosures are also dangerous because they allow for the targeting of particularly

   vulnerable members of society. For example, as a result of Defendants’ disclosures of Personal

   Viewing Information, any person or entity could buy a list with the names and addresses of all

   women residing in Connecticut who have spent more than $75.00 purchasing DVD or Blu-ray

   movies featuring Burt Lancaster from the Defendants during the past 12 months. Such a list is

   available for sale for approximately $158.00 per thousand customers listed.

           10.     In an era when the collection and monetization of consumer data proliferates on an

   unprecedented scale, it’s important that companies are held accountable for the exploitation of




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   their customers’ sensitive information. Defendants chose to disregard Plaintiffs’ and thousands of

   other consumers’ statutorily protected privacy rights by (a) releasing their Private Viewing

   Information into the data-aggregation and brokerage marketplace and (b) directly disseminating

   such information from their websites to Meta via the Meta Pixel. Accordingly, on behalf of

   themselves and the putative Class members defined below, Plaintiffs bring this Class Action

   Complaint against Defendants for intentionally and unlawfully disclosing their Personal Viewing

   Information.

                                              PARTIES

          I.      Plaintiff Feller

          11.     Plaintiff Feller is, and at all times relevant hereto was, a citizen and resident of

   Indianapolis, Indiana.

          12.     Plaintiff Feller is, and at all times relevant hereto was, a user of Meta with a

   Facebook account which was assigned a unique FID.

          13.     On or about February 21, 2024, Plaintiff Feller purchased prerecorded video

   material from Defendants’ online catalog by requesting and paying for such material on

   Defendants’ website Critic’s Choice (located at ccvideo.com), and by providing his name, email

   address, and home address for shipment of such material. Defendants completed their sales of

   goods to Plaintiff Feller by shipping the prerecorded video material he purchased to the address he

   provided in his order. Accordingly, Plaintiff Feller requested or obtained, and is therefore a

   consumer of, prerecorded video material sold by Defendants on their website.

          14.     At all times relevant hereto, including when purchasing prerecorded video material

   from Defendants on their website, Plaintiff Feller had a Meta account, a Meta profile, and an FID

   associated with such profile.




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          15.     When Plaintiff Feller purchased prerecorded video material from Defendants on

   their website, Defendants disclosed to Meta Plaintiff Feller’s FID coupled with the specific title of

   the video or videos he purchased (as well as the URL where such video is available for purchase),

   among other information concerning Plaintiff Feller and the device on which he used to make the

   purchase.

          16.     Prior to and at the time he purchased prerecorded video material from Defendants,

   Defendants did not notify Plaintiff Feller that they would disclose the Personal Viewing

   Information of their customers generally or of Plaintiff Feller in particular, and Plaintiff Feller has

   never consented, agreed, authorized, or otherwise permitted Defendants to disclose his Personal

   Viewing Information to third parties. Plaintiff Feller has never been provided any written notice

   that Defendants sell, rent, license, exchange, or otherwise disclose their customers’ Personal

   Viewing Information, or any means of opting out of such disclosures of his Personal Viewing

   Information.

          17.     Defendants nonetheless sold, rented, transmitted and/or otherwise disclosed, either

   directly or through an intermediary or intermediaries, Plaintiff Feller’s Personal Viewing

   Information – his FID coupled with the specific title of the video he purchased (as well as the URL

   where such video is available for purchase) to Meta and Plaintiff Feller’s name, postal address, e-

   mail address, gender, age, and income, as well as the particular audio-visual product(s) Plaintiff

   Feller purchased from Defendants (i.e., the titles of the prerecorded video material purchased) and

   the amount of money spent by Plaintiff Feller on those purchases – to data miners, data appenders,

   data aggregators, marketing companies, and/or other third parties, including without limitation

   NextMark, during the relevant time period.




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          18.     Plaintiff Feller has never consented, agreed, authorized, or otherwise permitted

   Defendants to disclose his Personal Viewing Information to Meta or any third party. In fact,

   Defendants never even provided Plaintiff Feller with written notice of their practices of disclosing

   their customers’ Personal Viewing Information to Meta or any other third party.

          19.     Because Defendants disclosed Plaintiff Feller’s Personal Viewing Information

   (including his FID, the title of the prerecorded video material he purchased from Defendants’

   website, and the URL where such video is available for purchase) and to Meta and other third

   parties without prior notice or consent during the applicable statutory period, Defendants violated

   Plaintiff Feller’s rights under the VPPA by invading his statutorily conferred interest in keeping

   such information (which bears on his personal affairs and concerns) private.

          II.     Plaintiff Heise

          20.     Plaintiff Heise is, and at all times relevant hereto was, a citizen and resident of

   Coldwater, Michigan.

          21.     Plaintiff Heise is, and at all times relevant hereto was, a user of Meta with a

   Facebook account which was assigned a unique FID.

          22.     On or about April 4, 2023, Plaintiff Heise purchased prerecorded video material

   from Defendants’ online catalog by requesting and paying for such material on Defendants’

   website, Critics’ Choice, and by providing his name, email address, and home address for shipment

   of such material. Defendants completed their sales of goods to Plaintiff Heise by shipping the

   prerecorded video material he purchased to the address he provided in his order. Accordingly,

   Plaintiff Heise requested or obtained, and is therefore a consumer of, prerecorded video material

   sold by Defendants on their website.




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          23.     At all times relevant hereto, including when purchasing prerecorded video material

   from Defendants on their website, Plaintiff Heise had a Meta account, a Meta profile, and an FID

   associated with such profile.

          24.     When Plaintiff Heise purchased prerecorded video material from Defendants on

   their website, Defendants disclosed to Meta Plaintiff Heise’s FID coupled with the specific title of

   the video he purchased (as well as the URL where such video is available for purchase), among

   other information concerning Plaintiff Heise and the device on which he used to make the

   purchase.

          25.     Prior to and at the time he purchased prerecorded video material from Defendants

   via their catalogs, Defendants did not notify Plaintiff Heise that they would disclose the Personal

   Viewing Information of their customers generally or of Plaintiff Heise in particular, and Plaintiff

   Heise has never consented, agreed, authorized, or otherwise permitted Defendants to disclose his

   Personal Viewing Information to third parties. Plaintiff Heise has never been provided any written

   notice that Defendants sell, rent, license, exchange, or otherwise disclose their customers’ Personal

   Viewing Information, or any means of opting out of such disclosures of his Personal Viewing

   Information.

          26.     Defendants nonetheless sold, rented, transmitted and/or otherwise disclosed, either

   directly or through an intermediary or intermediaries, Plaintiff Heise’s Personal Viewing

   Information – his FID coupled with the specific title of the video or videos he purchased (as well

   as the URL where such video is available for purchase) to Meta and Plaintiff Heise’s name, postal

   address, e-mail address, gender, age, and income, as well as the particular audio-visual product(s)

   Plaintiff Heise purchased from Defendants (i.e., the titles of the prerecorded video material

   purchased) and the amount of money spent by Plaintiff Heise on those purchases – to data miners,




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   data appenders, data aggregators, marketing companies, and/or other third parties, including

   without limitation NextMark, during the relevant time period.

           27.     Plaintiff Heise has never consented, agreed, authorized, or otherwise permitted

   Defendants to disclose his Personal Viewing Information to Meta. In fact, Defendants never even

   provided Plaintiff Heise with written notice of their practices of disclosing their customers’

   Personal Viewing Information to Meta or any other third party.

           28.     Because Defendants disclosed Plaintiff Heise’s Personal Viewing Information

   (including his FID, the title of the prerecorded video material he purchased from Defendants’

   website, and the URL where such video is available for purchase) to Meta and other third parties

   without prior notice or consent during the applicable statutory period, Defendants violated Plaintiff

   Heise’s rights under the VPPA by invading his statutorily conferred interest in keeping such

   information (which bears on his personal affairs and concerns) private.

           III.    Plaintiff Mull

           29.     Plaintiff Mull is, and at all times relevant hereto was, a citizen and resident of

   Arenzville, Illinois.

           30.     Plaintiff Mull is, and at all times relevant hereto was, a user of Meta with a

   Facebook account that was assigned a unique FID

           31.     On or about July 11, 2024, Plaintiff Mull purchased prerecorded video material

   from Defendants’ online catalog by requesting and paying for such material on Defendants’

   Movies Unlimited website (located at moviesunlimited.com) and by providing his name, email

   address, and home address for shipment of such material. Defendants completed their sales of

   goods to Plaintiff Mull by shipping the prerecorded video material he purchased to the address he




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   provided in his order. Accordingly, Plaintiff Mull requested or obtained, and is therefore a

   consumer of, prerecorded video material sold by Defendants on their website.

          32.     At all times relevant hereto, including when purchasing prerecorded video material

   from Defendants on their website, Plaintiff Mull had a Meta account, a Meta profile, and an FID

   associated with such profile.

          33.     When Plaintiff Mull purchased prerecorded video material from Defendants on

   their website, Defendants disclosed to Meta Plaintiff Mull’s FID coupled with the specific title of

   the video or videos he purchased (as well as the URL where such video is available for purchase),

   among other information concerning Plaintiff Mull and the device on which he used to make the

   purchase.

          34.     Prior to and at the time he purchased prerecorded video material from Defendants

   via their catalogs, Defendants did not notify Plaintiff Mull that they would disclose the Personal

   Viewing Information of their customers generally or of Plaintiff Mull in particular, and Plaintiff

   Mull has never consented, agreed, authorized, or otherwise permitted Defendants to disclose his

   Personal Viewing Information to third parties. Plaintiff Mull has never been provided any written

   notice that Defendants sell, rent, license, exchange, or otherwise disclose their customers’ Personal

   Viewing Information, or any means of opting out of such disclosures of his Personal Viewing

   Information.

          35.     Defendants nonetheless sold, rented, transmitted and/or otherwise disclosed, either

   directly or through an intermediary or intermediaries,         Plaintiff Mull’s Personal Viewing

   Information – his FID coupled with the specific title of the video he purchased (as well as the URL

   where such video is available for purchase) to Meta and Plaintiff Mull’s name, postal address, e-

   mail address, gender, age, and income, as well as the particular audio-visual product(s) Plaintiff




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   Mull purchased from Defendants (i.e., the titles of the prerecorded video material purchased) and

   the amount of money spent by Plaintiff Mull on those purchases – to data miners, data appenders,

   data aggregators, marketing companies, and/or other third parties, including without limitation

   NextMark, during the relevant time period.

           36.     Plaintiff Mull has never consented, agreed, authorized, or otherwise permitted

   Defendants to disclose his Personal Viewing Information to Meta. In fact, Defendants never even

   provided Plaintiff Mull with written notice of their practices of disclosing their customers’

   Personal Viewing Information or Private Purchase Information to third parties such as Meta and

   other third parties.

           37.     Because Defendants disclosed Plaintiff Mull’s Personal Viewing Information

   (including his FID, the title of the prerecorded video material he purchased from Defendants’

   website, and the URL where such video is available for purchase) to Meta and other third parties

   without prior notice or consent during the applicable statutory period, Defendants violated Plaintiff

   Mull’s rights under the VPPA by invading his statutorily conferred interest in keeping such

   information (which bears on his personal affairs and concerns) private.

           IV.     Defendants

           38.     Defendant Alliance Entertainment, LLC is a Delaware corporation that maintains

   its headquarters in Plantation, Florida. Defendant Alliance Entertainment, LLC is engaged in the

   business of wholesale, retail, and direct-to-consumer distribution and fulfillment of home

   entertainment products, including music, movies, games, and consumer electronics. Defendant

   Alliance Entertainment, LLC describes itself as the largest wholesale distributor of home

   entertainment audio and video software in the United States and operates as a one-stop shop for

   entertainment products and prerecorded video materials for consumers.




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          39.     Defendant DirectToU, LLC is a Delaware corporation that maintains its

   headquarters in Plantation, Florida. Defendant DirectToU, LLC is a subdivision of Alliance

   Entertainment Holding Corporation, an affiliate of Defendant Alliance Entertainment, LLC, and

   operates as a wholesale distribution and retail sales business involving the sale of entertainment

   products, including music, movies, video games, electronics, toys, and other prerecorded video

   materials. Defendant DirectToU, LLC operates the direct-to-consumer brands Collectors’ Choice

   Music, Critics’ Choice Video, Movies Unlimited, DeepDiscount, and WOW HD.

                                    JURISDICTION AND VENUE

          40.     The Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

   § 1331 and 18 U.S.C. § 2710.

          41.      Personal jurisdiction and venue are proper because Defendants maintain their

   headquarters and principal places of business in Plantation, Florida, within this judicial District.

                               VIDEO PRIVACY PROTECTION ACT

          42.     Generally speaking, the VPPA prohibits companies (like Defendant) from

   knowingly disclosing to third parties (like Meta) information that personally identifies consumers

   (like Plaintiffs) as having viewed particular videos or other audio-visual materials.

          43.     Specifically, subject to certain exceptions that do not apply here, the VPPA

   prohibits “a video tape service provider” from “knowingly disclos[ing], to any person, personally

   identifiable information concerning any consumer of such provider[.]” 18 U.S.C. § 2710(b)(1).

   The statute defines a “video tape service provider” as “any person, engaged in the business…of

   rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual materials,” 18

   U.S.C. § 2710(a)(4), and defines a “consumer” as “a renter, purchaser, or subscriber of goods or

   services from a video tape service provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally identifiable




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   information’ includes information which identifies a person as having requested or obtained

   specific video materials or services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

           44.     Leading up to the VPPA’s enactment in 1988, members of the United States Senate

    warned that “[e]very day Americans are forced to provide to businesses and others personal

    information without having any control over where that information goes.” Id. Senators at the

    time were particularly troubled by disclosures of records that reveal consumers’ purchases and

    rentals of videos and other audiovisual materials because such records offer “a window into our

    loves, likes, and dislikes,” such that “the trail of information generated by every transaction that

    is now recorded and stored in sophisticated record-keeping systems is a new, more subtle and

    pervasive form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens. Simon

    and Leahy, respectively).

           45.     Thus, in proposing the Video and Library Privacy Protection Act (which later

   became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont from 1975 to 2023)

   sought to codify, as a matter of law, that “our right to privacy protects the choice of movies that

   we watch with our family in our own homes.” 134 Cong. Rec. S5399 (May 10, 1988). As Senator

   Leahy explained at the time, the personal nature of such information, and the need to protect it

   from disclosure, is the raison d’être of the statute: “These activities are at the core of any definition

   of personhood. They reveal our likes and dislikes, our interests and our whims. They say a great

   deal about our dreams and ambitions, our fears and our hopes. They reflect our individuality, and

   they describe us as people.” Id.

           46.     While these statements rang true in 1988 when the act was passed, the importance

   of legislation like the VPPA in the modern era of data mining is more pronounced than ever before.

   During a recent Senate Judiciary Committee meeting, “The Video Privacy Protection Act:




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   Protecting Viewer Privacy in the 21st Century,” Senator Leahy emphasized the point by stating:

   “While it is true that technology has changed over the years, we must stay faithful to our

   fundamental right to privacy and freedom. Today, social networking, video streaming, the ‘cloud,’

   mobile apps and other new technologies have revolutionized the availability of Americans’

   information.”1

            47.      Former Senator Al Franken may have said it best: “If someone wants to share what

   they watch, I want them to be able to do so . . . But I want to make sure that consumers have the

   right to easily control who finds out what they watch—and who doesn’t. The Video Privacy

   Protection Act guarantees them that right.”2

            48.      In this case, however, Defendants deprived Plaintiffs and numerous other similarly

   situated persons of that right by systematically (and surreptitiously) disclosing their Personal

   Viewing Information to Meta and other third parties, without providing notice to (let alone

   obtaining consent from) any of them, as explained in detail below.

                                         BACKGROUND FACTS

       I.         Consumers’ Personal Information Has Real Market Value

            49.      In 2001, Federal Trade Commission (“FTC”) Commissioner Orson Swindle

   remarked that “the digital revolution . . . has given an enormous capacity to the acts of collecting




   1       The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
   Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
   senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-
   21stcentury.
   2
           Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
   frank.senate.gov (Jan. 31, 2012).




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   and transmitting and flowing of information, unlike anything we’ve ever seen in our lifetimes . . .

   [and] individuals are concerned about being defined by the existing data on themselves.” 3

          50.     More than a decade later, Commissioner Swindle’s comments ring truer than ever,

   as consumer data feeds an information marketplace that supports a $26 billion dollar per year

   online advertising industry in the United States. 4

          51.     The FTC has also recognized that consumer data possesses inherent monetary value

   within the new information marketplace and publicly stated that:

                  Most consumers cannot begin to comprehend the types and amount
                  of information collected by businesses, or why their information
                  may be commercially valuable. Data is currency. The larger the data
                  set, the greater potential for analysis – and profit.5

          52.     In fact, an entire industry exists while companies known as data aggregators

   purchase, trade, and collect massive databases of information about consumers. Data aggregators

   then profit by selling this “extraordinarily intrusive” information in an open and largely

   unregulated market.6

          53.     The scope of data aggregators’ knowledge about consumers is immense: “If you

   are an American adult, the odds are that [they] know[] things like your age, race, sex, weight,




   3       FCC, The Information Marketplace (Mar. 13, 2001), at 8-11, available at
   https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-
   merging-and-exchanging-consumer-data/transcript.pdf.
   4       See Web’s Hot New Commodity: Privacy, Wall Street Journal (Feb. 28, 2011),
   http://online.wsj.com/article/SB10001424052748703529004576160764037920274.html.
   5       Statement of FTC Cmr. Harbour (Dec. 7, 2009), at 2, available at
   https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-
   privacy-roundtable/091207privacyroundtable.pdf.
   6
           See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
   http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/.




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   height, marital status, education level, politics, buying habits, household health worries, vacation

   dreams—and on and on.”7

          54.     Further, “[a]s use of the Internet has grown, the data broker industry has already

   evolved to take advantage of the increasingly specific pieces of information about consumers that

   are now available.”8

          55.     Recognizing the severe threat the data mining industry poses to consumers’

   privacy, on July 25, 2012, the co-chairmen of the Congressional Bi-Partisan Privacy Caucus sent

   a letter to nine major data brokerage companies seeking information on how those companies

   collect, store, and sell their massive collections of consumer data, stating in pertinent part:

                  By combining data from numerous offline and online sources, data
                  brokers have developed hidden dossiers on every U.S. consumer.
                  This large[-]scale aggregation of the personal information of
                  hundreds of millions of American citizens raises a number of serious
                  privacy concerns.9

          56.     Data aggregation is especially troublesome when consumer information is sold to

   direct-mail advertisers. In addition to causing waste and inconvenience, direct-mail advertisers

   often use consumer information to lure unsuspecting consumers into various scams,10 including


   7      N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June
   16, 2012), available at http://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-
   of- consumer-database-marketing.html.
   8       Letter from Sen. J. Rockefeller IV, Sen. Cmtee. on Commerce, Science, and
   Transportation, to S. Howe, Chief Executive Officer, Acxiom (Oct. 9, 2012) available at
   http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-4157-a97b-
   a658c3c3061c.
   9       See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving
   Consumers’ Personal Information, Website of Sen. Markey (July 24, 2012),
   http://www.markey.senate.gov/news/press-releases/bipartisan-group-of-lawmakers-query-data-
   brokers-about-practices-involving-consumers-personal-information.
   10
           See Prize Scams, Federal Trade Commission, http://www.consumer.ftc.gov/articles/0199-
   prize-scams (last visited July 30, 2021).




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   fraudulent sweepstakes, charities, and buying clubs. Thus, when companies like Defendants share

   information with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

   to the “[v]ast databases” of consumer data that are often “sold to thieves by large publicly traded

   companies,” which “put[s] almost anyone within the reach of fraudulent telemarketers” and other

   criminals.11

          57.     Disclosures like Defendants’ are particularly dangerous to the elderly. “Older

   Americans are perfect telemarketing customers, analysts say, because they are often at home, rely

   on delivery services, and are lonely for the companionship that telephone callers provide.” 12 The

   FTC notes that “[t]she elderly often are the deliberate targets of fraudulent telemarketers who take

   advantage of the fact that many older people have cash reserves or other assets to spend on

   seemingly attractive offers.”13

          58.     Indeed, an entire black market exists while the personal information of vulnerable

   elderly Americans is exchanged. Thus, information disclosures like Defendants’ are particularly

   troublesome because of their cascading nature: “Once marked as receptive to [a specific] type of

   spam, a consumer is often bombarded with similar fraudulent offers from a host of scam artists.” 14




   11     See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times, May 20,
   2007, available at http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
   2021).
   12     Id.
   13      Fraud Against Seniors: Hearing before the Senate Special Committee on Aging (August
   10,      2000)      (prepared        statement     of      the      FTC),      available      at
   https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-statement-federal-
   trade-commission-fraud-against-seniors/agingtestimony.pdf.
   14     Id.



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              59.     Defendants is not alone in violating their customers’ statutory rights and

   jeopardizing their well-being in exchange for increased revenue: disclosing customer and

   subscriber information to data aggregators, data appenders, data cooperatives, direct marketers,

   and other third parties has become a widespread practice. Unfortunately for consumers, however,

   this growth has come at the expense of their most basic privacy rights.

        II.         Consumers Place Monetary Value on Their Privacy and Consider Privacy
                    Practices When Making Purchases

              60.     As the data aggregation industry has grown, so has consumer concerns regarding

   personal information.

              61.     A recent survey conducted by Harris Interactive on behalf of TRUSTe, Inc. showed

   that 89 percent of consumers polled avoid doing business with companies who they believe do not

   protect their privacy online. 15 As a result, 81 percent of smartphone users polled said that they

   avoid using smartphone apps that they don’t believe protect their privacy online. 16

              62.     Thus, as consumer privacy concerns grow, consumers increasingly incorporate

   privacy concerns and values into their purchasing decisions, and companies viewed as having

   weaker privacy protections are forced to offer greater value elsewhere (through better quality

   and/or lower prices) than their privacy-protective competitors.




   15       See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe,
   http://www.theagitator.net/wp-content/uploads/012714_ConsumerConfidenceReport_US1.pdf
   (last visited May 13, 2019).
   16         Id.




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               63.      In fact, consumers’ personal information has become such a valuable commodity

   that companies are beginning to offer individuals the opportunity to sell their personal information

   themselves.17

               64.      These companies’ business models capitalize on a fundamental tenet underlying

   the personal information marketplace: consumers recognize the economic value of their private

   data. Research shows that consumers are willing to pay a premium to purchase services from

   companies that adhere to more stringent policies of protecting their personal data. 18

               65.      Thus, in today’s digital economy, individuals and businesses alike place a real,

   quantifiable value on consumer data and corresponding privacy rights. 19 As such, where a business

   offers customers a product or service that includes statutorily guaranteed privacy protections, yet

   fails to honor these guarantees, the customer receives a product or service of less value than the

   product or service paid for.

        III.         Defendants Unlawfully Sells, Rents, Transmits, And Otherwise Discloses Their
                     Customers’ Personal Viewing Information

               66.      Defendants maintains a vast digital database comprised of their customers’

   Personal Viewing Information, including the names and addresses of each customer and




   17     See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data,
   N.Y. Times (Feb. 12, 2012), available at http://www.nytimes.com/2012/02/13/technology/start-
   ups-aim-to-help-users-put-a-price-on-their-personal-data.html (last visited May 13, 2019).
   18     See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on
   Purchasing Behavior, 22(2) Information Systems Research 254, 254 (2011); see also European
   Network and Information Security Agency, Study on monetising privacy (Feb. 27, 2012), available
   at      https://www.enisa.europa.eu/activities/identity-and-trust/library/deliverables/monetising-
   privacy (last visited May 13, 2019).
   19       See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation
   (Oct.                 2003)             at              2,               available           at
   http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&type=pdf (last
   visited May 13, 2019) (“It is obvious that people value online privacy.”).



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   information reflecting the titles of all video and other audio-visual products that each of their

   customers have purchased.

          67.     During the time period relevant to this action, Defendants has monetized this

   database by renting, selling, or otherwise disclosing their customers’ Personal Viewing

   Information to data aggregators, data miners, data brokers, data appenders, and other third parties.

          68.     These factual allegations are corroborated by publicly available evidence. For

   instance, as shown in the screenshot below, the Personal Viewing Information of 384,538

   American consumers who purchased Defendants’ video products is offered for sale on the website

   of NextMark, Inc. (“NextMark”) – one of many traffickers of this type of Personal Viewing

   Information – at a base price of “$105.00/M [per thousand records]” (10.5 cents each):




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   See Exhibit A hereto.

          69.     The “ALLIANCE ENTERTAINMENT MUSIC & DVD MASTERFILE” list

   offered for sale by NextMark, shown in the screenshot above, contains Personal Viewing

   Information for each of the 384,538 American consumers whose information appears on the list,

   including each person’s name, postal address, e-mail address, gender, age, and income, as well as

   the particular audio-visual product(s) they purchased from Defendants (i.e., the titles of the DVD

   and Blu-ray videos purchased) and the amount of money they spent on those purchases.

          70.     As a result of Defendants’ data compiling and sharing practices, companies have

   obtained and continue to obtain the Personal Viewing Information of Defendants’ customers,

   together with additional sensitive personal information that has been appended thereto by data

   appenders and others.

          71.     Plaintiffs are informed and believe, and thereupon allege, that numerous of the third

   parties to whom Defendants has transmitted and/or otherwise disclosed their customers’ Personal

   Viewing Information, either directly or indirectly through an intermediary or intermediaries, have

   in turn sold, rented, transmitted, or otherwise disclosed that Personal Viewing Information

   (together with other sensitive personal demographic and lifestyle information appended thereto by

   data appenders and other entities) to other third parties, including other data brokers, data miners,

   data appenders, and marketing companies.

          72.     Defendants’ disclosures of Personal Viewing Information have put their customers

   at risk of serious harm from scammers. For example, as a result of Defendants’ disclosures of

   Personal Viewing Information, any person or entity could obtain a list with the names and

   addresses of all women residing in Connecticut who have spent more than $75.00 purchasing DVD




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   or Blu-ray movies featuring Burt Lancaster from the Defendants during the past 12 months. Such

   a list is available for sale for approximately $158.00 per thousand customers listed.

            73.      Defendants did not seek Plaintiffs and other their customers’ prior written consent

   to the disclosure of their Personal Viewing Information (in writing or otherwise) and their

   customers remain unaware that their Personal Viewing Information and other sensitive data is

   being sold, rented and exchanged on the open market.

      IV.         Defendant Knowingly Uses the Meta Pixel to Transmit the Private Viewing
                  Information of its Customers to Meta

            74.      Separately from, and in addition to, transmitting Plaintiffs and the Class members’

   Private Viewing Information to data brokers and data appenders, Defendants violated the VPPA

   by transmitting Plaintiffs’ and the class members’ Private Viewing Information to Meta.

            75.      Defendants sell a wide variety of prerecorded video materials, including movies

   and television shows on DVD and Blu-Ray, to consumers on their network of websites, which

   include websites belonging to the following brands: Collectors’ Choice Music (ccmusic.com),

   Critics’ Choice Video (ccvideo.com), Movies Unlimited (moviesunlimited.com), DeepDiscount

   (deepdiscount.com), and WOW HD (wowhd.co.uk).

            76.      To make a purchase of prerecorded video material from Defendants’ websites, a

   person must provide at least his or her name, email address, billing address, and credit or debit

   card (or other form of payment) information.

            77.      Whenever a person with a Meta account purchases prerecorded video material from

   Defendants on their websites, Defendants use – and have used at all times relevant hereto – the

   Meta Pixel to disclose to Meta the unencrypted FID of the person who made the purchase and the

   specific title of video material that the person purchased (as well as the URL where such video

   material is available for purchase).




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          78.     In order to take advantage of the targeted advertising and other informational and

   analytical services offered by Meta, Defendants intentionally programmed its websites (by

   following step-by-step instructions from Meta’s website) to include the Meta Pixel code, which

   systematically transmits to Meta the FID of each person with a Meta account who purchases

   prerecorded video material on one of Defendants’ websites, along with the specific title of the

   prerecorded video material that the person purchased.

          79.     With only a person’s FID and the title of the prerecorded video material (or URL

   where such material is available for purchase) that the person purchased from Defendants on on

   of their websites—all of which Defendants knowingly and systematically provide to Meta—any

   ordinary person could learn the identity of the person to whom the FID corresponds and the title

   of the specific prerecorded video material that the person purchased (and thus requested and

   obtained). This can be accomplished simply by accessing the URL www.facebook.com/ and

   inserting the person’s FID.

          80.     Defendants’ practices of disclosing the Private Viewing Information of its

   customers to Meta continued unabated for the duration of the two-year period preceding the filing

   of this action. At all times relevant hereto, whenever one of the Plaintiffs or any other person

   purchased prerecorded video material from Defendants on their websites, Defendants disclosed to

   Meta (inter alia) the specific title of the video material that was purchased (including the URL

   where such material is available for purchase), along with the FID of the person who purchased it

   (which, as discussed above, uniquely identified the person).

          81.     At all times relevant hereto, Defendants knew that the Meta Pixel was disclosing

   its customers’ Private Viewing Information to Meta.

          82.     Although Defendants could easily have programmed its website so that none of its




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   customers’ Private Viewing Information is disclosed to Meta, Defendants instead chose to

   program its website so that all of its customers’ Private Viewing Information is disclosed to Meta.

          83.     Before transmitting its customers’ Private Viewing Information to Meta, Defendant

   failed to notify any of them that it would do so, and none of them have ever consented (in writing

   or otherwise) to these practices.

          84.     By intentionally disclosing to Meta each of the Plaintiffs’ and its other customers’

   FIDs together with the specific video material that they each purchased, without any of their

   consent to these practices, Defendant knowingly violated the VPPA on an enormous scale.

                                  CLASS ACTION ALLEGATIONS

          85.     Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(a),

   (b)(2), and (b)(3) on behalf of themselves and seek to represent two classes of similarly situated

   persons (the “Classes”), defined as follows:

                           (a) The Data Brokerage Class: All persons in the
                           United States who, during the two years preceding the filing
                           of this action, purchased prerecorded video material from
                           Defendants and had their Private Viewing Information
                           disclosed to a third-party by Defendant.

                           (b) The Meta Pixel Class: All persons in the United
                           States who, during the two years preceding the filing of this
                           action purchased prerecorded video material from
                           Defendants’ website while maintaining an account with
                           Meta Platforms, Inc. f/k/a Facebook, Inc.

          86.     Excluded from the Classes are any entity in which Defendants have a controlling

   interest, and officers or directors of Defendants.

            87.   Class members are so numerous that their individual joinder herein is

    impracticable. On information and belief, members of the Class number in at least the tens of

    thousands. The precise number of Class members and their identities are unknown to Plaintiffs




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    at this time but may be determined through discovery. Class members may be notified of the

    pendency of this action by mail and/or publication through the membership records of Defendant.

           88.    Common questions of law and fact exist for all Class members and predominate

    over questions affecting only individual class members. Common legal and factual questions

    include but are not limited to (a) whether Defendants knowingly disclosed Plaintiffs’ and Class

    members’ Private Viewing Information to a third party; (b) whether the Defendants embedded

    Meta Pixel on their websites that monitors and tracks actions taken by visitors to their websites;

    (c) whether the Defendants report the actions and information of visitors to Meta; and (d) whether

    Defendant knowingly disclosed Plaintiffs’ and Class members’ Private Viewing Information to

    Meta; (e) whether Defendants’ conduct violates the Video Privacy Protection Act, 18 U.S.C. §

    2710; (f) whether each of the Plaintiffs and Class members is entitled to a statutory damage award

    of $2,500, as provided by the VPPA.

           89.    The named Plaintiffs’ claims are typical of the claims of the Classes in that the

    named Plaintiffs and the Class members suffered invasions of their statutorily protected right to

    privacy (as afforded by the VPPA), as well as intrusions upon their private affairs and concerns

    that would be highly offensive to a reasonable person, as a result of Defendants’ uniform and

    wrongful conduct in intentionally disclosing their Private Purchase Information to third parties.

           90.    Plaintiffs are adequate representatives of the Classes because their interests do not

    conflict with those of the Class members they seek to represent; they have retained competent

    counsel experienced in prosecuting class actions and intend to prosecute this action vigorously.

    Plaintiffs and their counsel will fairly and adequately protect the interests of all Class members.

           91.    The class mechanism is superior to other available means for the fair and efficient

    adjudication of Class members' claims. Each individual member of the Classes may lack the




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    resources to undergo the burden and expense of individual prosecution of the complex and

    extensive litigation necessary to establish Defendants’ liability. Individualized litigation

    increases the delay and expense to all parties and multiplies the burden on the judicial system

    presented by this case's complex legal and factual issues. Individualized litigation also presents

    a potential for inconsistent or contradictory judgments. In contrast, the class action device

    presents far fewer management difficulties and provides the benefit of single adjudication,

    economy of scale, and comprehensive supervision by a single court on the issue of Defendants’

    liability. Class treatment of the liability issues will ensure that all claims and claimants are before

    this Court for consistent adjudication of the liability issues.

                                         CLAIMS FOR RELIEF

                    COUNT I: VIOLATION OF THE VPPA (18 U.S.C. § 2710)

          92.      Plaintiffs repeat the allegations asserted in the preceding paragraphs as if fully set

   forth herein.

          93.      The VPPA prohibits each Defendant, a “video tape service provider,” from

   knowingly disclosing “personally identifying information” concerning any “consumer” to a third

   party without the “informed, written consent (including through an electronic means using the

   Internet) of the consumer.” 18 U.S.C. § 2710.

            94.    As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is “any

    person, engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or

    delivery of prerecorded video cassette tapes or similar audiovisual materials[.]” Defendants are

    “video tape service providers” as defined in 18 U.S.C. § 2710(a)(4) because they engaged in the

    business of selling and delivering prerecorded video materials, similar to prerecorded video

    cassette tapes, to consumers nationwide.




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              95.   As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter, purchaser,

   or consumer of goods or services from a video tape service provider.” As alleged above, Plaintiffs

   and Class members are each a “consumer” within the meaning of the VPPA because they each

   purchased prerecorded video material from Defendants’ websites that was sold and delivered to

   them by Defendants.

              96.   As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable information’

   includes information which identifies a person as having requested or obtained specific video

   materials or services from a video tape service provider.” The Private Viewing Information that

   Defendants transmitted to third parties, including Meta, constitutes “personally identifiable

   information” as defined in 18 U.S.C. § 2710(a)(3) because it identified each of the Plaintiffs and

   Class members as an individual who purchased, and thus “requested or obtained,” specific

   prerecorded video material from Defendants via their websites.

              97.   Defendants knowingly disclosed Plaintiffs’ and the members of the Data Brokerage

   Class’s Private Viewing Information to data aggregators, data brokers, data appenders, and the like

   because Defendants knowingly rented, sold, or otherwise disclosed their customers’ Personal

   Viewing Information to data aggregators, data miners, data brokers, data appenders, and other third

   parties.

              98.   Further, Defendants knowingly disclosed Plaintiffs’ the members of the Meta Pixel

   Class’s Private Viewing Information to Meta via the Meta Pixel technology because Defendants

   intentionally installed and programmed the Meta Pixel code on its website, knowing that such code

   would transmit to Meta the titles of the video materials purchased by its customers coupled with

   its customers’ unique identifiers (including FIDs).

              99.   Defendants failed to obtain informed written consent from any of the Plaintiffs or




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   Class members authorizing them to disclose their Private Viewing Information to Meta or any

   other third party. More specifically, at no time prior to or during the applicable statutory period

   did Defendants obtain from any person who purchased prerecorded video material on its website

   (including any of the Plaintiffs or members of the classes) informed, written consent that was given

   in a form distinct and separate from any form setting forth other legal or financial obligations of

   the consumer, that was given at the time the disclosure is sought or was given in advance for a set

   period of time, not to exceed two years or until consent is withdrawn by the consumer, whichever

   is sooner, or that was given after Defendants provided an opportunity, in a clear and conspicuous

   manner, for the consumer to withdraw consent on a case-by-case basis or to withdraw consent

   from ongoing disclosures, at the consumer’s election. See 18 U.S.C. § 2710(b)(2).

           100. By disclosing Plaintiffs’ and Class members’ Private Viewing Information,

    Defendants violated their statutorily protected right to privacy in their Private Viewing

    Information.

           101. Consequently, Defendants are liable to each of the Plaintiffs and the members of

    the Classes for damages in the statutorily set sum of $2,500. See 18 U.S.C. § 2710(c)(2)(A).

                                       PRAYER FOR RELIEF


          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek

      a judgment against Defendants Alliance Entertainment, LLC and DirectToU, LLC. as follows:

                   A.      For an order certifying the Class under Rule 23 of the Federal Rules
                           of Civil Procedure and naming Plaintiffs as representatives of the
                           Class and Plaintiffs’ attorneys as Class Counsel to represent the Class;

                   B.      For an order declaring that Defendant’s conduct as described herein
                           violated the VPPA;

                   C.      For an order finding in favor of Plaintiffs and the Class and against
                           Defendant on all counts asserted herein;




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                    D.         For an award of $2,500.00 to the Plaintiffs and each Class member,
                               as provided by the VPPA, 18 U.S.C. § 2710(c);

                    E.         For an order permanently enjoining Defendant from disclosing the
                               Private Viewing Information of its subscribers to third parties in
                               violation of the VPPA.

                    F.         For prejudgment interest on all amounts awarded; and

                    G.         For an order awarding punitive damages, reasonable attorneys’ fees,
                               and costs to counsel for Plaintiffs and the Class under Rule 23 and 18
                               U.S.C. § 2710(c).
                                       DEMAND FOR JURY TRIAL

           Plaintiffs, on behalf of themselves and the Class Members, hereby demand a trial by jury

   on all claims so triable.



   Dated: August , 2024                             Respectfully submitted,

                                                    By: /s/ Frank S. Hedin


                                                    HEDIN LLP
                                                    FRANK S. HEDIN (FBN: 109698)
                                                    ARUN G. RAVINDRAN (FBN: 66247)
                                                    ELLIOT O. JACKSON (FBN: 1034536)
                                                    1395 Brickell Ave, Suite 610
                                                    Miami, Florida 33131
                                                    Telephone: (305) 357-2107
                                                    Facsimile: (305) 200-8801
                                                    E-Mail: fhedin@hedinllp.com
                                                            aravindran@hedinllp.com
                                                           ejackson@hedinllp.com



                                                    Counsel for Plaintiffs and the Putative Class




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                             EXHIBIT
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   FT. LAUDERDALE DIVISION

    DOUGLAS FELLER; JEFFRY HEISE; and
    JOSEPH MULL, individually and on behalf of all
    others similarly situated,
                                                              Case No. 0:24-cv-61444
                            Plaintiffs,
            v.
                                                              Hon. Rodolfo A. Ruiz II
    ALLIANCE ENTERTAINMENT, LLC; AND
    DIRECTTOU, LLC D/B/A COLLECTORS’
    CHOICE MUSIC, CRITICS’ CHOICE VIDEO,
    MOVIES UNLIMITED, DEEPDISCOUNT, AND
    WOW HD,

                            Defendants.

       PLAINTIFFS’ MOTION FOR APPOINTMENT OF INTERIM CLASS COUNSEL
           Pursuant to Federal Rule of Civil Procedure 23(g), Plaintiffs Douglas Feller, Jeffry Heise,
   and Joseph Mull respectfully submit this motion for appointment of their counsel at Hedin LLP
   as interim counsel on behalf of the putative classes in this action.
                                           INTRODUCTION
           Appointment of interim class counsel is necessary at this juncture to protect the interests
   of members of the putative classes. Following Plaintiffs’ filing of this putative class action for
   violation of the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710 – the product of years
   of investigatory work by Plaintiffs’ counsel – Plaintiffs and their counsel expended considerable
   time and resources litigating this case and exploring settlement with Defendants. A mediation
   was held on October 10, 2024 before a well-respected JAMS mediator (and former federal district
   court judge) but the parties were unable to reach a settlement.
           Approximately a week ago, Defendants decided that they were unwilling to settle the case
   on the fair, reasonable, and adequate terms set forth in Plaintiffs’ settlement demands (the latest
   of which was made on October 18, 2024), and so they instead orchestrated a reverse-auction sale
   of the classes’ claims to the plaintiff’s counsel in a duplicative, copy-cat case filed in the Northern
   District of California (on behalf of putative classes that are much narrower than, and totally
   subsumed by, the proposed classes here). Plaintiffs’ counsel first learned of this on a call with
   Defendants’ counsel on October 24, 2024 – two weeks after the mediation between the parties in
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   this first-filed action, a week after Defendants had made their most recent post-mediation
   settlement offer to Plaintiffs, and just as Plaintiffs’ counsel was on the verge of filing the instant
   motion for interim appointment of class counsel. On that call, Defendants’ counsel advised
   Plaintiffs’ counsel that a class-wide settlement agreement had been signed the day before by the
   parties to the second-filed case, and that the settlement agreement purports to release the claims
   of all members of the far-more-expansive classes in this case.
          Plaintiff’s counsel in the second-filed case has conducted no discovery, engaged in no
   meaningful litigation, and does not appear to have participated in a mediation or engaged in any
   other arm’s-length settlement negotiations with the Defendants. Rather, based on how quickly
   this reverse auction transpired, it appears the plaintiff and his counsel in the second-filed case
   simply signed on the dotted lines of whatever settlement agreement was presented to them.
          Under the circumstances – which bear all the hallmarks of a collusive, reverse auction –
   the Court should appoint Hedin LPP as interim class counsel to protect the classes’ interests
   pursuant to Rule 23(g).
                                            BACKGROUND
          Beginning in 2019, Plaintiffs’ counsel began investigating Defendants’ practices of
   renting, selling, and otherwise disclosing its customer lists, which included names, addresses,
   titles of videos purchased by, and various demographic and other personal information about each
   of their customers who made purchases on their websites. (See Declaration of Frank S. Hedin in
   Support of Motion to Appoint Interim Class Counsel (the “Hedin Declaration” or “Hedin Decl.”)
   ¶ 10). Part of this investigation included reviewing, saving, and consulting with industry experts
   about the “data cards” posted by Defendants on Nextmark.com, data-axle.com, and other data-
   brokerage websites where consumers’ personal information is advertised for sale. Id. Over the
   course of this extensive investigation, Plaintiffs’ counsel also studied Defendants’ practices of
   transmitting personally identifying information and video-purchase information to Facebook,
   now known as Meta, via “Meta Pixel” technology installed on their websites. Id. Although their
   pre-filing investigatory work dated back to 2019, Plaintiffs’ counsel were not retained by clients
   to prosecute claims against Defendants until late July of this year. Id.
          On August 8, 2024, Plaintiffs initiated this action by filing the Class Action Complaint
   against Defendants in this judicial district, where Defendants maintain their corporate
   headquarters. ECF No. 1 (the “Complaint” or “Compl.”). The Complaint alleges that Defendants



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   disclosed to third parties, without consent, Plaintiffs’ and their other customers’ personally
   identifiable information, including information revealing the particular prerecorded video
   materials they purchased on any of the numerous direct-to-consumer websites operated by
   Defendants1, in violation of the VPPA, and seeks statutory damages on behalf of Plaintiffs and
   the members of the proposed classes.
          The Complaint alleges that Defendants violated the VPPA in two ways: (1) by using the
   Meta Pixel technology, a snippet of programming code embedded on each of Defendants’ direct-
   to-consumer websites, to systematically send their customers’ personally identifiable information
   and information revealing the prerecorded video materials they purchased to Meta; and (2) by
   renting, selling, exchanging, or otherwise disclosing customer lists and purchase records
   containing this same type of personally identifying video-purchase information, pertaining to all
   of the purchases made by their customers on all of their websites, to data aggregators, data miners,
   data brokers, data appenders, aggressive marketing companies, and others. See Compl. ¶¶ 3–4,
   67, 74–80. Thus, in the Complaint, Plaintiffs seek to represent the following two classes:
          The Data Brokerage Class: All persons in the United States who, during the two
          years preceding the filing of this action, purchased prerecorded video material from
          Defendants and had their Private Viewing Information disclosed to a third-party by
          Defendant.

          The Meta Pixel Class: All persons in the United States who, during the two years
          preceding the filing of this action purchased prerecorded video material from
          Defendants’ website[s] while maintaining an account with Meta Platforms, Inc.
          f/k/a Facebook, Inc.
   Compl. ¶ 85.
          On August 12, 2024, a putative class action entitled Hoang To2 v. Directtou, LLC was
   filed in state court in California, alleging a VPPA claim and two California state-law claims
   against DirectToU, LLC (but not Alliance Entertainment, LLC) on behalf of a putative class


   1
          Defendant Alliance Entertainment, LLC (“Alliance”) sells DVDs and Blu-Ray discs to
   consumers via a network of websites operated by its affiliate DirectToU, LLC (“DirectToU”).
   These websites include Collectors’ Choice, Critics’ Choice, Movies Unlimited, DeepDiscount, and
   WowHD. ECF No. 1, ¶ 39.
   2
           The Plaintiff in the Hoang To action is listed in the caption as Jonathan Hoang To but is
   referred to within the body of the operative first amended complaint as Jonathan Huang To
   (compare Hoang To, ECF No. 10 at 1 (case caption) with id., ECF No. 10 at 3 (paragraph 6)), and
   it remains unclear which version is correct.

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   comprised of all Californians who purchased videos on deepdiscount.com – one of many of the
   direct-to-consumer websites operated by Defendants – based upon DirectToU’s alleged
   disclosure of information pertaining to its customers’ purchases on that website to Meta by way
   of the Meta Pixel technology. See Hoang To v. Directtou, LLC, 24-cv-06447, ECF No. 1 (N.D.
   Cal.) (the “Hoang To action”).3 The defendant in the second-filed Hoang To action, DirectToU,
   LLC, subsequently removed the action to the Northern District of California pursuant to the Class
   Action Fairness Act. The defendant did not disclose the existence of the instant, earlier-filed
   related action in the notice of removal (Hoang To, ECF No. 1), and neither of the parties in the
   Hoang To action disclosed the existence of this earlier-filed related action in either of the two
   civil cover sheets filed in that action (Hoang To, ECF Nos. 2, 6). Additionally, despite both
   parties being aware of this case and the overlapping claims, at no time since the removal of the
   Hoang To action has either party filed a Notice of Pendency of Other Action or Proceeding to put
   the court on notice of the existence of this first-filed case, as N.D. Cal. Local Rule 3-13 has plainly
   required.
           On August 30, 2024, the parties in this case held a Rule 26(f) conference and, on
   September 9, 2024, they filed their report. ECF No. 26. On September 10, 2024, the Court issued
   a scheduling order. ECF No. 27. On September 12, 2024, Plaintiffs’ counsel served Plaintiffs’
   first sets of requests for production of documents and interrogatories on Defendant, seeking razor-
   focused categories of information, documents, communications, and electronically stored
   information concerning each of the factual and legal issues relevant to their claim for violation
   of the VPPA, Defendants’ likely defenses thereto, and the certification of the proposed classes
   pursuant to Rule 23. Hedin Decl. ¶ 13.
           On September 13, 2024, Plaintiffs’ counsel served notices of deposition of Defendants’
   corporate representatives for November 15, 2024. Hedin Decl. ¶ 13.
           On October 1, 2024, the plaintiff in the Hoang To action filed a first amended complaint4,
   alleging a VPPA claim on behalf of a proposed nationwide class of persons who purchased videos
   on deepdiscount.com, and two state-law claims for violation of California law on behalf of a



   3
           A copy of the complaint in the Hoang To action is attached hereto as Exhibit A.
   4
           A copy of the operative first amended complaint in the Hoang To action is attached
   hereto as Exhibit B.

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   subclass of California residents. See Hoang To, ECF No. 10.5 Notably, because both of the
   classes proposed in the operative complaint in Hoang To are defined to only include persons who,


   5
            Although the Hoang To action purports to allege two California state-law claims – for
   violation of California Civil Code § 1799.3 and California Business and Professions Code § 17200
   – these claims are barred by the applicable limitation period and are otherwise duplicative and
   unnecessary (given that they are both predicated on the same factual allegations giving rise to the
   plaintiff’s federal VPPA claim). First, the Hoang To plaintiff’s claim for violation of § 1799.3 –
   filed in August 2024, and purportedly arising from video purchases made in May 2023 (see Hoang
   To, First Amended Complaint, ECF No. 10 at ¶ 6) – is barred by the one-year limitation period
   applicable to a § 1799.3 claim for statutory penalties. See Cal. Civ. Code § 340(a) (specifying one-
   year limitation period for “[a]n action upon a statute for a penalty or forfeiture, if the action is
   given to an individual, or to an individual and the state, except if the statute imposing it prescribes
   a different limitation.”); id. § 1799.3(c) (“Any willful violation of this section shall be subject to a
   civil penalty not to exceed five hundred dollars ($500) for each violation, which may be recovered
   in a civil action brought by the person who is the subject of the records.”). And his § 17200 claim
   likewise fails because it is predicated on violations of § 1799.3. See Guzman v. Polaris Industries
   Inc., 49 F.4th 1308, 1312 (9th Cir. 2022). Having failed to allege cognizable claims for violations
   of these state statutes on his own behalf, the plaintiff in Hoang To cannot prosecute such claims
   on behalf of unnamed members of his proposed California subclass.
            Second, even if these claims were not time barred, the California state-law claims alleged
   by the plaintiff in Hoang To would still be duplicative and unnecessary because a federal VPPA
   claim is capable of redressing all disclosures of video purchase-related information of all class
   members nationwide. See Belmonte v. Creative Properties, Inc., No. 19-61438-CIV, 2019 WL
   5063832, at *1–2 (S.D. Fla. Oct. 8, 2019) (Moreno, J.) (dismissing with prejudice state-law claim
   “premised on the exact same factual allegations as [plaintiff’s] federal claim”); J & J Sports Prods.,
   Inc. v. Bou, No. 15-CV-30004-MGM, 2015 WL 8022009, at *3 (D. Mass. Oct. 1, 2015), report
   and recommendation adopted sub nom. J & J Sports Prods., Inc. v. Jose Bou & Salsarengue, Inc.,
   No. CV 15-30004-MGM, 2015 WL 8082433 (D. Mass. Dec. 7, 2015) (declining to award damages
   to a plaintiff who prevailed on state claims predicated on the same underlying facts as the plaintiff’s
   federal claims, explaining that damages for the overlapping state claims would be duplicative of
   the damages the plaintiff was awarded for prevailing on the federal claims); Syntex (U.S.A.), Inc.
   v. Interpharm, Inc., No. CIV.A.1:92-CV-03HTW, 1993 WL 643372, at *13 (N.D. Ga. Mar. 19,
   1993) (“The court notes . . . plaintiffs are seeking redress for unfair competition and trademark
   infringement under applicable federal and state law, and these remaining state law claims, while
   perhaps actionable, are superfluous.”). This is especially true because § 1799.3’s provisions
   prohibiting disclosures of video-purchase information are far narrower in scope than those found
   in the federal VPPA, see Martin v. Meredith Corp., 657 F. Supp. 3d 277, 285 (S.D.N.Y. 2023),
   appeal withdrawn, No. 23-412, 2023 WL 4013900 (2d Cir. May 24, 2023) (“The language of
   § 1799.3 is similar to that of the VPPA, but notably narrower in certain respects.”), because the
   Hoang To plaintiff has not alleged facts plausibly establishing any economic injury as required to
   state a claim for violation of § 17200, see id. at 287, and in any event because the injunctive relief
   sought by the Hoang To plaintiff’s § 17200 claim can be obtained nationwide with a VPPA claim.
   See 18 U.S.C. § 2710(c)(2)(B) (providing that a court may award any “preliminary and equitable
   relief as the court determines to be appropriate”).

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   while enrolled in Facebook, purchased videos on deepdiscount.com while Meta Pixel technology
   was operational on the site, both putative classes are subsumed by the Meta Pixel Class in this
   earlier-filed action, as reflected in the table below:
        The “Meta Pixel Class” Proposed by                The Classes Proposed by the Plaintiff in
       Plaintiffs in This First-Filed Matter              the Second-Filed Hoang Matter
       All persons in the United States who, during       All natural persons residing in the
       the two years preceding the filing of this         United States who while having a
       action, purchased prerecorded video material       Facebook account, ordered Blu-ray or
       from      Defendants’      website[s]  while       DVD             videos            on
       maintaining an account with Meta Platforms,        www.deepdiscount.com during the
       Inc. f/k/a Facebook, Inc.6                         time the Meta Pixel was active on
                                                          www.deepdiscount.com; and

                                                          All natural persons residing in
                                                          California who while having a
                                                          Facebook account, ordered Blu-ray or
                                                          DVD            videos             on
                                                          www.deepdiscount.com during the
                                                          time the Meta Pixel was active on
                                                          www.deepdiscount.com.
             Meanwhile, on September 6, 2024, Plaintiffs and Defendants agreed to attend a mediation
   to explore early class-wide resolution of this action before the Honorable James F. Holderman
   (Ret.) (JAMS, Chicago), formerly a district judge in the Northern District of Illinois, on the
   condition (negotiated by Plaintiffs’ counsel) that Defendants would agree to provide various
   information and materials to them in advance of the mediation that were necessary for counsel and
   the Plaintiffs to intelligently negotiate on behalf of members of the putative classes. Hedin Decl.
   ¶ 14. This information and material included the precise sizes of the two classes, the form and



   6
           As explained above, Plaintiffs’ counsel performed an exhaustive, years-long investigation
   into Defendants’ disclosure practices prior to filing this case, and those investigative efforts
   revealed that, during the two-year period preceding the filing of this case, the Meta Pixel
   technology was operational on each website maintained by Defendants on which prerecorded
   video materials were sold to consumers, and that Defendants systematically transmitted to Meta
   the Facebook ID along with the titles of the video materials purchased by each of its customers on
   each of those websites over that two-year period of time. Thus, the Meta Pixel-related criterion for
   membership in the classes proposed in the Hoang To action – i.e., that a would-be class member’s
   purchase was made “during the time the Meta Pixel was active” – is unnecessary and, for that
   reason, is not included as a criterion for membership in the Meta Pixel Class proposed in Plaintiffs’
   complaint in this case.

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   contents of the personally identifying and video purchase-related information pertaining to
   Plaintiffs and class members that Defendants transmitted to the various third-party recipients of
   the information during the applicable statutory period, and all applicable or potentially applicable
   policies of insurance. Id.
          On September 18, 2024, the defendant’s counsel first apprised the court in Hoang To of
   the existence of this action, in an administrative motion to enlarge time to respond to the Hoang
   To complaint; in that filing, defendant’s counsel advised the court that it had asked the plaintiff’s
   counsel in Hoang To to voluntarily dismiss the Hoang To action because of the pendency of the
   instant earlier-filed action, brought on behalf of classes that entirely overlap the putative classes
   proposed in Hoang To, but that the plaintiff’s counsel had refused. Hoang To, ECF No. 8.
          Ahead of the parties’ mediation scheduled for October 10, 2024 before Judge Holderman,
   Plaintiffs’ counsel prepared and exchanged with Defendants’ counsel and Judge Holderman a
   comprehensive mediation statement outlining Plaintiffs’ positions on various legal and factual
   issues relevant to the merits of the claims and defenses and issues of class certification. Hedin
   Decl. ¶ 15. Plaintiffs’ counsel and Defendant’s counsel also participated in a lengthy pre-
   mediation conference with Judge Holderman. Id. During that conference, Defendants’ counsel
   informed Plaintiffs’ counsel that no settlement discussions had occurred between Defendants and
   the plaintiff in Hoang To. Id.
          On October 10, 2024, following Plaintiffs’ counsels’ receipt of information and materials
   from Defendants bearing on, inter alia, issues of class size and insurance, the parties participated
   in nearly a full day of mediation before Judge Holderman. Hedin Decl. ¶ 16. The parties were
   unable to reach a proposed class-wide settlement at the mediation, and Judge Holderman declared
   an impasse. Id.
          For over more than a week following the mediation, Plaintiffs’ counsel and Defendants’
   counsel, with the continued assistance of Judge Holderman, continued to engage in what
   Plaintiffs’ counsel (and Judge Holderman) believed at the time to be good-faith negotiations.
   Hedin Decl. ¶ 17. Specifically, on October 16, 2024, Plaintiffs’ counsel exchanged e-mail
   correspondence and then spoke by telephone with Judge Holderman, during which Plaintiffs’
   counsel asked Judge Holderman to convey a settlement demand to Defendants’ counsel, which
   Plaintiffs’ counsel believed would meaningfully advance the parties’ progress towards a proposed
   resolution on behalf of the classes. Id. Later that same day, after presenting Plaintiffs’ demand



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   to Defendants’ counsel by phone, Judge Holderman telephoned Plaintiffs’ counsel to convey a
   counter settlement offer that Defendants had authorized him to convey to Plaintiffs’ counsel. Id.
   Over the next two days, Plaintiffs’ counsel spoke by phone and exchanged e-mail correspondence
   with Judge Holderman on multiple occasions concerning Defendants’ latest settlement offer, and
   on October 18, 2024, Plaintiffs’ counsel conveyed another counter settlement demand to Judge
   Holderman and asked that he present it to the Defendants’ counsel. Later that same day, Judge
   Holderman sent Plaintiffs’ counsel an e-mail confirming that he had presented Plaintiffs’ latest
   demand to Defendants’ counsel by phone. Id. Plaintiffs’ counsel followed up with Judge
   Holderman on October 22, 2024, and yet again on October 23, 2024, to see whether he had
   received any response from Defendants’ counsel, and on both occasions Judge Holderman
   advised Plaintiffs’ counsel that he had telephoned Defendants’ counsel but had received no
   answer, that he had left voicemails for them but had still not heard back from them, and that he
   would try to contact Defendants’ counsel yet again on October 24, 2024. Id.
          At the same time as these settlement discussions overseen by Judge Holderman were
   occurring, Plaintiffs’ counsel also continued to push this case forward on multiple fronts.
   Immediately following the conclusion of the mediation on October 10, 2024, Plaintiffs’ counsel
   confirmed with Defendant that the agreed-upon discovery stay (which had been in effect since
   the date the parties agreed to mediate) had ended. Hedin Decl. ¶ 18. On October 14, 2024,
   Plaintiffs’ counsel served a third-party subpoena for documents and deposition testimony to Meta
   on Defendants’ counsel by e-mail, and then promptly arranged for the subpoena to be formally
   served on Meta. Id. On October 16, 2024, Meta served Plaintiffs with its initial responses and
   objections to the subpoena and, later that same day, Plaintiffs’ counsel initiated a meet and confer
   process with Meta’s counsel to discuss Meta’s responses and objections to the subpoena. Id. On
   October 19, 2024, Plaintiffs’ counsel conferred further with Meta’s counsel concerning the timing
   of its deposition in this matter. Id. On October 17, 2024, Plaintiffs’ counsel served a third-party
   subpoena for documents to Data-Axle Inc., a data company that, as Plaintiffs’ ongoing
   investigation had revealed, served as one of Defendant’s list managers and/or brokers during the
   relevant statutory period, on Defendants’ counsel by e-mail, and then promptly arranged for
   formal service of the subpoena on Data-Axle, setting a deadline for Data-Axle to respond of
   November 18, 2024. Id. On October 25, 2024, Plaintiffs’ counsel exchanged correspondence




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  with counsel for Data Axle regarding Data Axle’s response to the subpoena and production of
  documents. Id.
         Additionally, over the course of ten days from October 14, 2024 through October 24,
  2024, Plaintiffs’ counsel repeatedly attempted to schedule meet and confer conferences with
  Defendants’ counsel concerning deposition scheduling as well as: (1) Defendants’ position on a
  motion for appointment of interim counsel that Plaintiffs’ counsel had advised Defendants’
  counsel it intended to file; (2) Defendants’ intentions with respect to the Hoang To matter,
  including the nature of the responsive pleading it intended to file in that case and whether it would
  seek to dismiss, stay, or transfer the case on the grounds that Defendants had previously
  articulated (namely, that Hoang To was duplicative of this earlier-filed case); and, relatedly, (3)
  Defendants’ position on a motion to intervene and to stay or dismiss the Hoang To matter that
  Plaintiffs’ counsel had indicated it would file to protect the interests of class members in the event
  DirectToU, LLC, the defendant in that case, did not intend to seek such relief in response to the
  plaintiff’s complaint. Hedin Decl. ¶ 19.
         On October 14, 2024, Plaintiffs made the first of several requests to confer on
  Defendants’ position regarding the Hoang To case. Hedin Decl. ¶ 20. Having received no
  response, on October 15, 2024, Plaintiffs’ counsel again requested to meet and confer with
  Defendants’ counsel that week (e.g., the week ending October 18, 2024), both with respect to
  Defendants’ intentions with respect to the duplicative Hoang-To matter and on Defendants’
  position on Plaintiffs’ forthcoming motion to be appointed interim class counsel in this case. Id.
  Later on October 15, 2024, Defendants’ counsel inexplicably responded to Plaintiffs’ counsel by
  asking for “a description of the substance” of the conference being requested. Id. Plaintiffs’
  counsel immediately responded, stating:
     1. Defendants’ position on Plaintiffs’ forthcoming motion seeking interim
        appointment as class counsel.
     2. Defendants’ intent with respect to the Hoang matter. Specifically, Plaintiff wants
        to discuss whether Defendant intends to dismiss Hoang under the first-filed
        doctrine or to move to transfer Hoang to the SDFL. Alternatively, we’d like to
        discuss Defendants’ position on a motion by Plaintiffs to intervene in
        the Hoang matter and a potential motion by Plaintiffs to dismiss the Hoang case on
        first filed grounds.
  Id. On October 16, 2024, Defendants’ counsel responded by stating that she would confer with
  her client. Hedin Decl. ¶ 21. Later that day, Plaintiffs’ counsel followed up with Defendants’


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   counsel once more – again, simply to propose a date to have a meet and confer conference on these
   matters. Id. Again, Defendants’ counsel refused to provide her clients’ position. Id.
          On October 21, 2024, having still not received Defendants’ positions on these issues or
   their availability for a meet and confer call, Plaintiffs’ counsel advised Defendants’ counsel that
   Plaintiffs would file a motion seeking interim appointment as class counsel without waiting any
   further, likely on Wednesday October 23, 2024, and that they would also file a motion to intervene
   in the Hoang To matter and move to dismiss that case under the first filed doctrine. Hedin Decl.
   ¶ 22. Defendants’ counsel did not respond to that communication and, later that day, Plaintiffs’
   counsel sent another e-mail to Defendants’ counsel regarding Defendants’ incomplete initial
   disclosures, and again sought to confer telephonically on October 22, 2024. Hedin Decl. ¶ 23.
   Once more, Defendants’ counsel refused to schedule a conferral and punted, stating again they
   would need to discuss with their clients. Id.
          On October 23, 2024, Plaintiffs’ counsel sent Defendants’ counsel a summary of their
   attempts to meet and confer by email, and then placed telephone calls and left voicemails to each
   of Defendants’ counsel of record, all of which went unreturned. Hedin Decl. ¶ 24. The next day,
   Defendants’ counsel responded by stating: “Let’s get a call on the calendar early next week to
   discuss the issues you’ve laid out. We are pretty open on Tuesday, 10/29, so let us know a time
   that works for you.” Hedin Decl. ¶ 25. Contemporaneously, Plaintiffs’ counsel advised as follows:
          Bonnie: We will be filing our motion for interim appointment today. And in the
          motion, we will advise the court that you have refused to meet and confer with us or
          provide us with your position on our request for interim appointment after numerous
          e-mails and attempted phone calls over the past week+. If your client is willing to
          meet and confer with us today before we file, please let us know immediately. Thank
          you.
   Id. Finally, after 10 days of ignoring Plaintiffs’ counsel’s repeated efforts to communicate with
   them concerning each of these important issues, and after five days of also ignoring Judge
   Holderman’s repeated efforts to communicate with them as well (as recounted above), Defendants’
   counsel agreed to meet and confer on these issues with Plaintiffs’ counsel by phone later that
   afternoon. Hedin Decl. ¶ 26.
          During this October 24, 2024 phone call, Defendants’ counsel informed Plaintiffs’
   counsel that Defendants had executed a class-wide settlement agreement with the counsel for the
   Hoang To plaintiff the day before (October 23, 2024), that the proposed settlement memorialized
   in that signed agreement purports to release the claims of all putative class members in the instant


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   action (even though only the proposed classes in the Hoang To action are only a small subset of
   the proposed classes here), that those releases will cover both of the Defendants in this action
   (even though only one of the Defendants here is named in the Hoang To action), that the plaintiff
   in the Hoang To action would be filing a motion for preliminary approval on or about Monday,
   October 28, 2024, and that Defendants would be filing a motion to stay the instant action pending
   resolution of the motion for preliminary approval in the Hoang To action. Hedin Decl. ¶ 26. At
   no time on the call or otherwise did Defendants’ counsel ever request Plaintiffs’ position on
   Defendants’ forthcoming motion to stay this action. Id. And when Plaintiffs’ counsel asked
   Defendants’ counsel to provide them with a copy of, or to at least disclose the terms of, the signed
   class-wide settlement agreement – information obviously necessary for Plaintiffs and their
   counsel to assess whether the settlement agreement provides fair, reasonable, and adequate relief
   to class members, and thus to determine whether they would oppose Defendants’ forthcoming
   motion to stay this matter or not – Defendants’ counsel flatly refused without explanation. Id.
   Plaintiffs’ counsel also indicated that they would be filing the instant motion for appointment of
   interim counsel as well as a motion to intervene and to stay or dismiss the Hoang To action on
   first-filed doctrine grounds, and Defendants’ counsel stated that Defendants would oppose both
   motions. Id.
          Almost immediately after counsel for the parties spoke by telephone on October 24, 2024,
   Defendants filed their motion to stay this action pending resolution of the motion for preliminary
   approval of a class-wide settlement agreement that the plaintiffs would be filing in the Hoang To
   action. Hedin Decl. ¶ 26. The motion to stay states, in pertinent part, that the parties in the Hoang
   To action signed a class-wide settlement agreement “on October 23, 2024” (ECF No. 36 at 2),
   that the “[t]he settlement reached in the Hoang To action would, if approved by the Court, cover
   all claims asserted in this [Feller] case” (id. at 1), that “the Hoang To settlement is expected to
   release the claims of all putative class members in this [Feller] case” (id. at 4), and that “a motion
   for preliminary approval of the proposed settlement will be filed early next week” in the Hoang
   To case (id. at 2). Plaintiffs will file a response in opposition to Defendants’ motion to stay by
   the deadline set by the Court of October 28, 2024.
          Later on October 24, 2024, shortly after Defendants filed their motion to stay, Plaintiffs’
   counsel spoke with Judge Holderman by phone, who indicated that he had just finally gotten




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   ahold of Defendants’ counsel and that Defendants’ counsel had just then advised him of the
   settlement agreement they had signed with the Hoang To plaintiff’s counsel. Hedin Decl. ¶ 26.
          The reverse auction that Defendants orchestrated of the classes’ claims, and the
   willingness with which the plaintiff’s counsel in Hoang To appears to have gone along with it, as
   described above, is the most underhanded conduct that Plaintiffs’ counsel has experienced in his
   10-year career as a lawyer practicing in this area of law. Hedin Decl. ¶ 27. The post-mediation
   chain of events speaks for itself: as Plaintiffs’ counsel was repeatedly attempting to meet and
   confer in good faith with Defendants’ counsel on the instant interim appointment motion and on
   a motion to intervene and to dismiss the Hoang To matter (only to be ignored), as Judge
   Holderman was also repeatedly attempting to reach Defendants’ counsel to continue facilitating
   the ongoing post-mediation settlement negotiations between the parties (only to be ignored as
   well), and as Defendants and multiple third parties were set to provide important testimony and
   documents to Plaintiffs, Defendants’ counsel was busy conducting a reverse auction of the
   classes’ claims to the plaintiff’s counsel in the Hoang To matter. In other words, Defendants set
   out to get a deal done on the terms of their liking with the plaintiff’s counsel in the Hoang To
   matter (who as it turned out was more than happy to oblige) before Plaintiffs could move for
   interim appointment in this case or move to dismiss the Hoang To action on first-filed grounds,
   for the transparent purpose of avoiding an arm’s-length negotiation with experienced plaintiffs’
   counsel intent on negotiating a good deal for class members – which is what they had already
   come to expect from Plaintiffs’ counsel – and to prevent Plaintiffs from uncovering the depth of
   Defendants’ wrongdoing in discovery. When the settlement agreement signed by the Hoang To
   plaintiff and Defendants is eventually submitted for approval, Plaintiffs and their counsel fully
   expect that its terms will be the same (or worse) than the terms of one of Defendant’s prior
   settlement offers that Plaintiffs in this case had previously rejected.
          After the filing of this motion, Plaintiffs intend to file a motion in the Northern District of
   California to intervene and to dismiss, or alternative stay or transfer, the Hoang To action.
                                              ARGUMENT
          What transpired here is offensive to the adversarial system and threatens to prejudice
   hundreds of thousands of affected class members. This Court need not go along. The Court should
   appoint Hedin LLP as interim counsel to protect the interests of the classes in this litigation.




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          Federal Rule of Civil Procedure 23(g)(3) provides: “The court may designate interim
   counsel to act on behalf of a putative class before determining whether to certify the action as a
   class action.” In cases where multiple overlapping and duplicative cases have been filed,
   “designation of interim class counsel is encouraged, and indeed is essential for efficient case
   management.” Morrison v. Fam. Dollar Stores, Inc., No. 24-cv-60294, 2024 WL 3312055, at *1
   (S.D. Fla. June 11, 2024) (citing MANUAL FOR COMPLEX LITIGATION §21.11 (4th ed.
   2004)). Federal Rule of Civil Procedure 23(g)(1)(A) provides criteria for courts to consider in
   deciding whether to appoint interim class counsel:
          (a)     the work counsel has done in identifying or investigating potential claims
                  in the action;

          (b)     counsel’s experience in handling class actions, other complex litigation, and
                  the types of claims asserted in the action;

          (c)     counsel’s knowledge of the applicable law; and

          (d)     the resources that counsel will commit to representing the class.

   Id. The Court may also “consider other matters pertinent to counsel’s ability to fairly and
   adequately represent the interests of the class.” Fed. R. Civ. P. 23(g)(1)(B).
          Each of these factors weighs in favor of appointing Hedin LLP to represent the proposed
   classes on an interim basis in this matter.
          I.      Hedin LLP Has Thoroughly Identified and Investigated the Claims in This
                  Litigation.
          While no one factor under Federal Rule of Civil Procedure 23(g)(1) “should necessarily
   be determinative,” Advisory Committee Notes (2003), the investigative and analytical efforts of
   counsel can be a deciding factor:
          In a case with a plaintiff class, the process of drafting the complaint requires some
          investigatory and analytical effort, tasks that strangers to the action most likely will
          not have undertaken. All other things being equal, when an attorney has performed
          these or other investigative and analytical tasks before making the application for
          appointment, he or she is in a better position to represent the class fairly and
          adequately than attorneys who did not undertake those tasks.
   MOORE’S FEDERAL PRACTICE §23.120(3)(a) (3d. Ed. 2007).
          Prior to filing suit, Hedin LLP performed an extensive and time-consuming investigation
   into the conduct underlying Plaintiffs’ claims over a period of several years (dating back to 2019),
   demonstrating the firm’s commitment to fairly and adequately representing the proposed classes.


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   Hedin Decl. ¶ 12. Specifically, the attorneys at Hedin LLP (i) thoroughly investigated and
   reviewed current and historical versions of Defendants’ data cards publicly accessible on
   Nextmark.com and other data-brokerage websites, over a period of several years dating back to
   2019; (ii) researched numerous online trackers created by different technology companies,
   including learning how they operate, how to find them in website source code, and how to identify
   what information is being tracked and transmitted; (iii) consulted with a digital forensics expert
   to investigate Defendants’ numerous websites and their use of tracking technologies on those
   website, including parsing through Defendants’ websites’ source code; (iv) researched whether
   Defendants’ use of tracking pixels violated the VPPA; (v) communicated with and reviewed
   materials provided by numerous potential clients who interacted with and made purchases on
   Defendants’ websites, in order to determine whether they were capable of adequately
   representing the interests of the proposed classes; (vi) investigated the adequacy of the named
   Plaintiffs to represent the putative classes and executed engagement agreements to represent them
   in this matter; and (vii) prepared the Class Action Complaint on behalf of the proposed classes.
   Hedin Decl. ¶ 12. These measures are precisely the type of work that the Advisory Committee
   Notes to Rule 23 state the courts should consider in appointing interim class counsel.
          Moreover, since the filing of this action, Plaintiffs’ counsel at Hedin LLP have vigorously
   litigated this action on behalf of the proposed classes, including by serving comprehensive written
   discovery requests to Defendants, serving notices of deposition on each of Defendants’ corporate
   representatives, serving third-party subpoenas for documents and deposition testimony to
   relevant third parties, consulting with potential experts, and preparing motions and other filings
   on behalf of the proposed classes. Hedin Decl. ¶ 13. At the same time, Plaintiffs’ counsel
   engaged in extensive settlement discussions with Defendants’ counsel, including at an all-day
   mediation before Judge Holderman of JAMS. Hedin Decl. ¶¶ 15–17. Prior to the mediation,
   Plaintiffs’ counsel obtained and thoroughly reviewed materials provided by Defendants’ counsel
   concerning the size of the putative classes and any applicable policies of insurance. Hedin Decl.
   ¶ 14. Plaintiffs’ counsel prepared and exchanged with Judge Holderman and Defendants’ counsel
   a comprehensive mediation statement in advance of the mediation. Hedin Decl. ¶ 15. Although
   a settlement was not reached at the mediation, negotiations overseen by Judge Holderman
   continued after the mediation, right up until the point when Defendants decided to find a
   negotiating partner more to their liking. Hedin Decl. ¶ 17. Appointing Hedin LLP as interim



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   class counsel at this juncture will put counsel experienced in prosecuting data privacy class
   actions at the helm of this litigation, and will enable any future settlement negotiations to proceed
   in an arm’s-length, non-collusive manner going forward. Hedin Decl. ¶ 30.
           The Advisory Committee Notes also contemplate that an appointment of interim class
   counsel may be necessary to conduct discovery prior to a determination on class certification
   pursuant to Rule 23(c)(1). See Fed. R. Civ. P. 23, Advisory Committee Notes (2003). The
   Advisory Committee Notes further state, “[o]rdinarily such work is handled by the lawyer who
   filed the action.” Id. Here, a significant amount of discovery must occur (and related motion
   practice will likely be necessary) prior to class certification and trial. See id. Discovery in this
   matter will be complex, nuanced, and require substantial specialized knowledge and experience
   to perform effectively and efficiently. Hedin Decl. ¶ 30. Hedin LLP’s thorough investigation into
   the claims, as well as the firm’s experience prosecuting prior similar matters (discussed further
   below), will enable it to effectively build and prosecute this case on behalf of the Classes,
   including in discovery and related motion practice. Id.
           Accordingly, the first Rule 23(g) factor weighs heavily in favor of appointing Hedin LLP
   as interim class counsel on behalf of the putative Classes in this matter.
           II.     Hedin LLP’s Has a Proven Track Record and Substantial Knowledge of the
                   Applicable Law.
           Hedin LLP has significant experience successfully prosecuting complex class actions,
   including for violation of similar data privacy statutes, and brings substantial knowledge of the
   relevant legal and factual issues to bear for the classes’ benefit in this action.
           Since the firm’s founding in 2018, courts have recognized Hedin LLP’s “extensive
   experience in class actions,” Luczak v. Nat’l Beverage Corp., 2018 WL 9847842, at *2 (S.D. Fla.
   Oct. 12, 2018) (Moore, J.), and have regularly noted the quality of the firm’s work on behalf of
   its clients. See, e.g., Groover v. Prisoner Transp. Servs., LLC, 2019 WL 3974143, at *2 (S.D.
   Fla. Aug. 22, 2019) (Bloom, J.) (noting that the firm “provided excellent and thorough
   representation in a case that was exceptionally time-consuming”).7 Hedin LLP’s firm resume is
   attached as Exhibit 1 to the Hedin Declaration.




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          The firm’s representation in this matter was pro bono and counsel was appointed by the
   Court pursuant to the Southern District of Florida’s Pro Bono Assistance Program.

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          Hedin LLP focuses on consumer and data privacy class actions and its lawyers have
   successfully prosecuted dozens of such matters in state and federal courts as court-appointed class
   counsel. See e.g., Rivera et al. v. Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Ill.,
   Apr. 5, 2022) (class counsel in action alleging violations of Illinois’s Biometric Information
   Privacy Act (“BIPA”), obtained $100 million non-reversionary class settlement); Schreiber et al.
   v. Mayo Foundation for Medical Education & Research, No. 22-cv-00188 (W.D. Mich.) (counsel
   for class of consumers alleging defendant’s sale, rental, and disclosure of mailing containing its
   subscribers’ personal information in violation of Michigan’s Preservation of Personal Privacy
   Action (“PPPA”), obtained $52.5 million non-reversionary class settlement with automatic
   payments (without the need to submit claim forms) to each of the approximately 67,000 class
   members); Edwards v. Hearst Communications, Inc., 1:15-cv-09279-AT-JLC (S.D.N.Y.) (same,
   $50 million non-reversionary class settlement); Kokoszki v. Playboy Enters., Inc., No. 19-cv-
   10302 (E.D. Mich.) (same, $3.8 million non-reversionary class settlement with automatic
   payments to all class members); Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404
   (E.D. Mich.) (same, $9.5 non-reversionary class settlement with automatic payments to all class
   members); Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (same,
   $9.5 million non-reversionary class settlement with automatic payments to all class members);
   Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (same, $6.8 million
   non-reversionary class settlement with automatic payments to all class members); Moeller v. The
   Week Publications, Inc., No. 22-cv-10666 (E.D. Mich.) (same, $5 million non-reversionary class
   settlement with automatic payments to all class members); Olsen, et al. v. ContextLogic Inc., No.
   19CH06737 (Cir. Ct. Cook Cnty. Ill., Jan 7, 2020) (class counsel in action alleging violations of
   the of the federal Telephone Consumer Protection Act (“TCPA”), obtained $16 million non-
   reversionary class settlement); Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120 (S.D. Fla.)
   (same, $10 million non-reversionary class settlement); Farnham v. Caribou Coffee Co., Inc., No.
   16-cv-295 (W.D. Wisc.) (same, $8.5 million non-reversionary class settlement); Benbow v.
   SmileDirectClub, Inc., No. 2020-CH-07269 (Cir. Ct. Cook Cnty.) (same, $11.5 million class
   settlement); Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook Cnty., Ill. Cir.
   Ct.) (class counsel in action alleging disclosure of consumers’ credit and debit card information
   on printed transaction receipts in violation of the federal Fair and Accurate Credit Transactions
   Act, obtained $14 million non-reversionary class settlement); Owens, et al. v. Bank of America,



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   N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel in action alleging improper overdraft fees
   in violation of state law, obtained $4.95 million non-reversionary class settlement with automatic
   payments to all class members); Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D.
   Va.) (same, $2.7 million non-reversionary class settlement); In re Maxar Technologies Inc.
   Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct., Santa Clara Cnty.) (class counsel in
   action alleging false and misleading statements to investors in violation of federal securities laws,
   obtained $36.5 million non-reversionary settlement for class); Plymouth County Retirement
   System v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Sup. Ct., N.Y. Cnty.) (same, obtained $20
   million non-reversionary class settlement). Hedin Decl. ¶¶ 4-6.8
          Notably, Hedin LLP has significant experience litigating data-privacy class actions
   arising from the same sort of conduct at issue here: the rental, sale, and exchange of consumers’
   private information in the data-brokerage marketplace, as evidenced by “data cards” (posted
   publicly on Nextmark and other such websites) in which companies advertise the availability of
   such data about their customers. Hedin Decl. ¶ 9; see e.g., Horton, 380 F. Supp. 3d 679; Lin, No.
   19-11889; Schreiber, No. 22-cv-00188; Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-
   11404 (E.D. Mich.) (class counsel in action alleging unauthorized disclosure of consumers’
   purchase information in violation of PPPA, where firm negotiated $9.5 million all-cash non-
   reversionary settlement for class); Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807
   (E.D. Mich.) (class counsel in action alleging unauthorized disclosure of consumers’ purchase
   information in violation of PPPA, where firm negotiated $9.5 million all-cash non-reversionary
   settlement for class); Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D.
   Mich.) (class counsel in action alleging unauthorized disclosure of consumers’ purchase
   information in violation of PPPA, where firm negotiated $6.8 million all-cash non-reversionary
   settlement for class).
          Hedin LLP is well-suited to continue representing the affected members of the putative
   classes in this matter given the significant amount of work the firm has performed on this matter
   to date, as well as the firm’s extensive experience prosecuting the other similar consumer data-
   privacy matters outlined above. See Hedin Decl. ¶¶ 4-7, ¶¶ 10-26.


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           The firm has also served as class counsel in securities class actions in state and federal
   courts throughout the country, as well as regularly represented indigent litigants on a pro bono
   basis. Hedin Decl. ¶¶ 7-8.

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          Accordingly, the second and third Rule 23(g) factors weigh heavily in favor of appointing
   Hedin LLP as interim class counsel on behalf of the putative classes in this matter.
          III.    Hedin LLP Has Committed and Will Continue to Commit all Resources
                  Necessary to Effectively Prosecute this Action on Behalf of the Classes.
          Hedin LLP is a well-established and successful firm and has the resources and personnel
   necessary to pursue a case of this magnitude, as it has demonstrated in numerous similar class
   actions. As a result, the firm can fully utilize its resources and knowledge of local practice. See
   Hedin Decl. ¶¶ 4-9, 32-33. The firm has already demonstrated the will and ability to commit all
   resources necessary (monetary and otherwise) to investigate, develop, and prosecute a strong and
   well-supported case on behalf of members of the proposed classes, and to begin responsibly
   exploring potential resolutions on their behalf. See Hedin Decl. ¶¶ 13-18. The firm’s resources
   are not merely financial, but also include substantial expertise and work-product developed in
   other similar cases, which will allow it to streamline and effectively prosecute the litigation and
   thus, be of great value to the putative classes. Hedin Decl. ¶¶ 32-33.
          Hedin LLP draws from a team of highly experienced attorneys, including those with the
   trial experience necessary to present this case to a jury at trial, who are dedicated to representing
   the classes’ interest in this litigation, as well as supporting non-lawyer professionals and staff.
   Id. As such, courts and mediators have lauded the resources and commitment of the firm in
   representing clients in class action cases. For instance, United States District Judge Beth Bloom
   of the Southern District of Florida, has recognized the “excellent and thorough representation”
   provided by Hedin LLP, including in “exceptionally time-consuming” cases. Groover, 2019 WL
   3974143, at *2. The same is true with respect to this action. If appointed to represent the classes,
   Hedin LLP will continue to commit the same resources and effort to this case as it has committed
   to its other, successful class action matters. Hedin Decl. ¶¶ 32-33.
          Accordingly, the fourth and final Rule 23(g) factor weighs heavily in favor of appointing
   Hedin LLP as interim class counsel on behalf of the putative classes in this matter.
          IV.     Additional Factors Favor Appointing Hedin LLP.
          In addition to the Rule 23(g)(1)(A) factors, the Court “may consider any other matter
   pertinent to counsel's ability to fairly and adequately represent the interests of the class.” Fed. R.
   Civ. P. 23(g)(1)(B). Several additional factors support appointment of Hedin LLP as interim
   class counsel. First, appointing the firm as interim class counsel would give members of the



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   proposed classes the benefit of sophisticated and experienced counsel who, as discussed above,
   has a track record of achieving landmark results in data privacy class actions. Second, through its
   significant experience prosecuting complex class actions, Hedin LLP has developed significant
   relationships with industry experts, regulatory personnel, and settlement administration experts.
   Hedin Decl. ¶ 32. Third, Hedin LLP employs attorneys with extensive trial experience, and thus
   has the ability to take this case to trial on behalf of the classes if necessary. Id.
           Additionally, a significant amount of the discovery critical to the classes’ claims in this
   case is in the possession of third parties, including Meta and Data Axle, both of which Plaintiffs’
   counsel recently subpoenaed. Hedin Decl. ¶ 31. As Plaintiffs’ counsel is keenly aware from
   prior experience in similar data-privacy matters, it is critically important that these third parties,
   and any others with materials relevant to this litigation, continue to preserve all such materials in
   their possession, custody, or control, and that Defendants’ filing of the motion to stay in this
   action and the Hoang To plaintiff’s filing of motions in support of approval of his proposed class-
   wide settlement in the Northern District of California do not result in these third parties
   disregarding their preservation obligations with respect to such materials. Id. If appointed interim
   counsel, Hedin LLP will ensure such materials are fully preserved and promptly produced. Id.
           Finally, the bench and bar have recognized the importance of considering diversity as a
   relevant factor in selecting interim class counsel. See e.g., In re Data Breach Sec. Litig. Against
   Caesars Ent., Inc., No. 2:23-CV-01447-ART-BNW, 2024 WL 2959279, at *5 (D. Nev. June 12,
   2024) (“A proposed team’s diversity is a factor the Court can consider in appointing
   interim class counsel.”); see also In re Stubhub Refund Litig., No. 20-MD-02951-HSG, 2020
   WL 8669823, at *1 (N.D. Cal. Nov. 18, 2020) (appointing as co-lead interim counsel applicants
   who “demonstrated careful attention to creating a diverse team”); In re Robinhood Outage
   Litigation, No. 20-CV-01626-JD, 2020 WL 7330596, at *2 (N.D. Cal. July 14, 2020) (noting the
   need for diversity and how “the attorneys running this litigation should reflect the diversity of the
   proposed national class”); City of Providence, R.I. v. AbbVie Inc., 2020 WL 6049139, at *6
   (S.D.N.Y. Oct. 13, 2020). Several of the attorneys at Hedin LLP are members of underrepresented
   groups, and the firm is committed to ensuring that a diverse set of attorneys work on each of the
   firm’s matters, including this matter. See Hedin Decl. ¶ 32 & id., Ex. 1 (firm resume, biographies
   of each of the firm’s attorneys).




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                                            CONCLUSION
          For the foregoing reasons, Plaintiffs respectfully request that the Court appoint Hedin
   LLP to serve as interim class counsel on behalf of the putative classes in this matter pursuant to
   Rule 23(g).
          As noted above, pursuant to Local Rule 7.1(a)(3), undersigned counsel conferred on
   October 24, 2024 with Defendants’ counsel, who indicated that Defendants oppose this motion.
   Also on October 24, 2024, Plaintiffs’ counsel attempted to contact by telephone, and then
   emailed, counsel of record for the plaintiff in the Hoang To action to ascertain their client’s
   position on this motion. One of the plaintiff’s counsel of record in that matter, Adrian Barnes,
   responded by stating that he could not provide a position on the motion because he was not
   sufficiently familiar with the litigation and that all of the other counsel of record for his client
   were unavailable until October 28, 2024, the day Defendants’ counsel has indicated that the
   plaintiff in Hoang To intends to move for preliminary approval of the proposed settlement that
   threatens to prejudice members of the classes. 9 Hedin Decl. ¶ 28.
   Date: October 27, 2024                                Respectfully submitted,

                                                         HEDIN LLP

                                                         /s/ Frank S. Hedin         .

                                                         Frank S. Hedin (FBN: 109698)
                                                         Arun G. Ravindran (FBN: 66247)
                                                         Julie Holt (FBN: 95997)
                                                         1395 Brickell Ave, Suite 610
                                                         Miami, Florida 33131
                                                         Telephone: (305) 357-2107
                                                         Facsimile: (305) 200-8801
                                                         E-Mail: fhedin@hedinllp.com
                                                                  aravindran@hedinllp.com
                                                                  jholt@hedinllp.com




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          Upon the filing of this motion, undersigned counsel will immediately serve counsel in the
   Hoang To action with a copy of the motion, its exhibits, and the accompanying Hedin Declaration
   and exhibits thereto.

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                                   CERTIFICATE OF SERVICE
          I hereby certify that on October 27, 2024, I electronically filed the foregoing with the Clerk
   of Court using the CM/ECF system which will provide electronic notification of such filing to all
   parties of record.
                                                                /s/ Frank S. Hedin         .




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION

   DOUGLAS FELLER; JEFFRY HEISE; and
   JOSEPH MULL, individually and on behalf of all
   others similarly situated,
                                                            Case No. 0:24-cv-61444
                          Plaintiffs,
           v.
                                                            Hon. Rodolfo A. Ruiz II
   ALLIANCE ENTERTAINMENT, LLC; AND
   DIRECTTOU, LLC D/B/A COLLECTORS’
   CHOICE MUSIC, CRITICS’ CHOICE VIDEO,
   MOVIES UNLIMITED, DEEPDISCOUNT, AND
   WOW HD,

                          Defendants.


     DECLARATION OF FRANK S. HEDIN IN SUPPORT OF PLAINTIFFS’ MOTION
              FOR APPOINTMENT OF INTERIM CLASS COUNSEL

         I, Frank S. Hedin, declare under penalty of perjury, pursuant to 28 U.S.C. §1746 and based

  on my own personal knowledge, that the following statements are true:

         1.      I am the founding partner at the law firm Hedin LLP and a member in good

  standing of the Florida Bar and the State Bar of California, and I submit this declaration in support

  of Plaintiffs’ motion for appointment of interim class counsel.

         3.      From 2012 to 2013, I served as law clerk to the Honorable William Q. Hayes, U.S.

  District Judge for the Southern District of California. I then worked for four years at a law firm

  in Miami, Florida, where I represented plaintiffs and defendants in general commercial litigation

  and intellectual property matters.

         4.      I co-founded Hedin LLP, previously known as Hedin Hall LLP, in 2018. Based

  in Miami, Florida, with offices in San Francisco, California, and Washington D.C., Hedin LLP

  focuses on consumer and data privacy class actions and has successfully prosecuted dozens of
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  such matters in state and federal courts as court-appointed class counsel. See e.g., Rivera et al. v.

  Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Ill., Apr. 5, 2022) (class counsel in action

  alleging violations of Illinois’s Biometric Information Privacy Act (“BIPA”), obtained $100

  million non-reversionary class settlement); Schreiber et al. v. Mayo Foundation for Medical

  Education & Research, No. 22-cv-00188 (W.D. Mich.) (counsel for class of consumers alleging

  defendant’s sale, rental, and disclosure of mailing containing its subscribers’ personal

  information in violation of Michigan’s Preservation of Personal Privacy Action (“PPPA”),

  obtained $52.5 million non-reversionary class settlement with automatic payments (without the

  need to submit claim forms) to each of the approximately 67,000 class members); Edwards v.

  Hearst Communications, Inc., 1:15-cv-09279-AT-JLC (S.D.N.Y.) (same, $50 million non-

  reversionary class settlement); Kokoszki v. Playboy Enters., Inc., No. 19-cv-10302 (E.D. Mich.)

  (same, $3.8 million non-reversionary class settlement with automatic payments to all class

  members); Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D. Mich.) (same, $9.5

  non-reversionary class settlement with automatic payments to all class members); Kain v. The

  Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (same, $9.5 million non-

  reversionary class settlement with automatic payments to all class members); Strano v. Kiplinger

  Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (same, $6.8 million non-reversionary

  class settlement with automatic payments to all class members); Moeller v. The Week

  Publications, Inc., No. 22-cv-10666 (E.D. Mich.) (same, $5 million non-reversionary class

  settlement with automatic payments to all class members); Olsen, et al. v. ContextLogic Inc., No.

  19CH06737 (Cir. Ct. Cook Cnty. Ill., Jan 7, 2020) (class counsel in action alleging violations of

  the of the federal Telephone Consumer Protection Act (“TCPA”), obtained $16 million non-

  reversionary class settlement); Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120 (S.D. Fla.)




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  (same, $10 million non-reversionary class settlement); Farnham v. Caribou Coffee Co., Inc., No.

  16-cv-295 (W.D. Wisc.) (same, $8.5 million non-reversionary class settlement); Benbow v.

  SmileDirectClub, Inc., No. 2020-CH-07269 (Cir. Ct. Cook Cnty.) (same, $11.5 million class

  settlement); Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook Cnty., Ill. Cir.

  Ct.) (class counsel in action alleging disclosure of consumers’ credit and debit card information

  on printed transaction receipts in violation of the federal Fair and Accurate Credit Transactions

  Act, obtained $14 million non-reversionary class settlement); Owens, et al. v. Bank of America,

  N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel in action alleging improper overdraft fees

  in violation of state law, obtained $4.95 million non-reversionary class settlement with automatic

  payments to all class members); Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D.

  Va.) (same, $2.7 million non-reversionary class settlement); In re Maxar Technologies Inc.

  Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct., Santa Clara Cnty.) (class counsel in

  action alleging false and misleading statements to investors in violation of federal securities laws,

  obtained $36.5 million non-reversionary settlement for class); Plymouth County Retirement

  System v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Sup. Ct., N.Y. Cnty.) (same, obtained $20

  million non-reversionary class settlement). Over the past five years alone, the firm has recovered

  over $400 million in all-cash relief for the classes it has represented. See Exhibit 1 hereto.

         5.      Hedin LLP also regularly serves as class counsel or lead plaintiffs’ counsel in

  matters that turn on novel questions of first impression pertaining to the rights of consumers under

  state statutes, as well as the constitutional issues (standing and otherwise) that often arise during

  the prosecution of such matters in federal court. For example, in data-privacy class actions against

  publishers for violation of Michigan’s Preservation of Personal Privacy Act (“PPPA”), Mich.

  Comp. Laws § 445.771 et. Seq., based on their alleged disclosure of subscribers’ information to




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  third parties, Hedin LLP obtained groundbreaking decisions on two important issues that

  dramatically expanded the scope of the statute and led to the recovery of meaningful relief for

  consumers throughout Michigan. See id. (citing Horton v. GameStop Corp., 380 F. Supp. 3d 679

  (W.D. Mich. 2018) (holding, despite prior district court decision to the contrary on the same issue,

  that the version of the PPPA in effect prior to its July 2016 amendment applied to claims filed

  after the amendment’s effective date); Lin v. Crain Commc’ns Inc., No. 19-11889, 2020 WL

  248445, at *4 (E.D. Mich. Jan. 16, 2020) (holding that Michigan-based publishers may be held

  liable for disclosing the data of all of their subscribers, even those outside Michigan)).

         6.      Additionally, our attorneys have obtained multiple noteworthy victories for

  consumers on issues of first impression in litigation against Google and Shutterfly under an

  Illinois statute, the Biometric Information Privacy Act (“BIPA”), which opened doors for

  consumers throughout the state to recover relief under that statute. See e.g., Norberg v. Shutterfly,

  Inc., 152 F. Supp. 3d 1103 (N.D. Ill. 2015) (holding that scans of face geometry collected from

  photographs constitute “biometric identifiers” within the meaning of BIPA); Rivera v. Google

  Inc., 238 F. Supp. 3d 1088 (N.D. Ill. 2017) (holding that neither the presumption against

  extraterritoriality nor the dormant commerce clause bars BIPA’s application to the collection of

  Illinoisans’ biometrics from devices within Illinois); Monroy v. Shutterfly, Inc., 2017 WL

  4099846, at *8 n.5 (N.D. Ill. Sept. 15, 2017) (holding that the nonconsensual collection of a scan

  of face geometry, a bare violation of BIPA, is a concrete and particularized injury sufficient to

  confer Article III standing)).

         7.      My firm has also served as class counsel or plaintiffs’ counsel in securities class

  actions in state and federal courts throughout the country. E.g., In re Menlo Therapeutics Inc.

  Sec. Litig., No. 18CIV06049 (Cal. Super. Ct., San Mateo Cty.) (class settlement on behalf of IPO




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  investors finally approved); In re EverQuote, Inc. Secs. Litig., No. 651177/2019 (N.Y. Supreme,

  N.Y. Cty.) (class settlement on behalf of IPO investors finally approved); Plymouth Cty. Ret. Sys.

  v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Super. Ct., N.Y. Cty.) (co-lead counsel for plaintiff

  class of investors asserting Securities Act claims arising from initial and secondary public

  offerings).

         8.      We also frequently represent indigent litigants on a pro bono basis. E.g., Groover

  v. U.S. Corrections, LLC, et al., No. 15-cv-61902-BB (S.D. Fla.) (representing plaintiff and

  putative class against country’s largest private prisoner extradition companies in Section 1983

  civil rights action alleging violations of the Eighth Amendment).

         9.      Notably, my firm has substantial experience litigating data-privacy class actions

  arising from the same sort of conduct at issue here: the rental, sale, and exchange of consumers’

  private information in the data-brokerage marketplace, as evidenced by “data cards” (posted

  publicly on Nextmark and other such websites) in which companies advertise the availability of

  such data about their customers. See e.g., Horton, 380 F. Supp. 3d 679; Lin, No. 19-11889;

  Schreiber, No. 22-cv-00188; Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D.

  Mich.) (class counsel in action alleging unauthorized disclosure of consumers’ purchase

  information in violation of PPPA, where firm negotiated $9.5 million all-cash non-reversionary

  settlement for class); Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.)

  (class counsel in action alleging unauthorized disclosure of consumers’ purchase information in

  violation of PPPA, where firm negotiated $9.5 million all-cash non-reversionary settlement for

  class); Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (class

  counsel in action alleging unauthorized disclosure of consumers’ purchase information in




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  violation of PPPA, where firm negotiated $6.8 million all-cash non-reversionary settlement for

  class).

            10.   My firm has devoted significant time developing, investigating, and commencing

  the instant action against Defendant for violation of the Video Privacy Protection Act (“VPPA”),

  18 U.S.C. § 2710. Beginning in 2019, my firm began investigating Defendants’ practices of

  renting, selling, and otherwise disclosing its customer lists, which included names, addresses,

  titles of videos purchased by, and various demographic and other personal information about each

  of the persons who made purchases on their websites, and by studying Defendants’ practices of

  transmitting personally identifying information and video-purchase information to Facebook,

  now known as Meta, via the “Meta Pixel” technology they had installed on their websites.

            11.   Specifically, prior to filing this action, my firm: (i) thoroughly investigated and

  reviewed current and historical versions of Defendants’ data cards publicly accessible on

  Nextmark.com and other data-brokerage websites, over a period of several years dating back to

  2019; (ii) researched numerous online trackers created by different technology companies,

  including learning how they operate, how to find them in website source code, and how to identify

  what information is being tracked and transmitted; (iii) consulted with experts to investigate

  Defendants’ numerous websites and their use of tracking technologies, including the Meta Pixel

  technology, on those website, including parsing through Defendants’ websites’ source code; (iv)

  researched whether Defendants’ use of such tracking pixels violated the VPPA; and (v)

  communicated with and reviewed materials provided by numerous potential clients who

  interacted with and made purchases on Defendants’ websites, in order to determine whether they

  were capable of adequately representing the interests of the proposed classes.




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         12.     After performing this time-consuming pre-filing work, my firm was retained in

  July 2024 by Douglas Feller, Jeffry Heise, and Joseph Mull to prosecute claims against

  Defendants for violation of the VPPA on behalf of themselves and others similarly situated, and

  shortly thereafter prepared and filed the Class Action Complaint on behalf of the proposed

  classes.

         13.     Since the very outset, my firm has vigorously litigated this action on behalf of

  Plaintiffs and the putative classes, including by serving comprehensive written discovery requests

  to Defendants, serving notices of deposition to Defendants’ corporate representatives, serving

  third-party subpoenas for documents and deposition testimony to relevant third parties,

  consulting with potential experts, and preparing motions and other filings. The parties’ Rule 26

  conference occurred on August 30, 2024, the Rule 26 conference report was field on September

  9, 2024, and the Court entered its first Order Setting Jury Trial on September 10, 2024. On

  September 12, 2024, Plaintiffs’ counsel served Plaintiffs’ first sets of requests for production of

  documents and interrogatories on Defendant, seeking razor-focused categories of information,

  documents, communications, and electronically-stored information concerning each of the

  factual and legal issues relevant to their claim for violation of the VPPA, Defendants’ likely

  defenses thereto, and the certification of the proposed classes pursuant to Rule 23. On September

  13, 2024, Plaintiffs’ counsel served notices of deposition of Defendants’ corporate

  representatives for November 15, 2024.

         14.     On September 6, 2024, Plaintiffs and Defendants agreed to attend a mediation to

  explore early class-wide resolution of this action before the Honorable James F. Holderman (Ret.)

  (JAMS, Chicago), formerly a district judge in the Northern District of Illinois, on the condition

  (negotiated by Hedin LLP) that Defendants would agree to provide various information and




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  materials to them in advance of the mediation that were necessary for us to intelligently negotiate

  on behalf of members of the putative classes. This information and material included the precise

  sizes of the two classes, the form and contents of the personally identifying and video purchase-

  related information pertaining to Plaintiffs and class members that Defendants transmitted to the

  various third-party recipients of the information during the applicable statutory period, and all

  applicable or potentially applicable policies of insurance.

         15.     Ahead of the parties’ mediation scheduled for October 10 before Judge

  Holderman, my firm prepared and exchanged with Defendants’ counsel and Judge Holderman a

  comprehensive mediation statement outlining Plaintiffs’ positions on various legal and factual

  issues relevant to the merits of the claims and defenses and issues of class certification. My firm

  and Defendants’ counsel also participated in a lengthy pre-mediation conference with Judge

  Holderman. During that conference, Defendants’ counsel informed Plaintiffs’ counsel that no

  settlement discussions had occurred between Defendants and the plaintiff in the second-filed

  Hoang To action pending in the Northern District of California.

         16.     On October 10, 2024, following our receipt of information and materials from

  Defendants bearing, inter alia, on issues of class size and insurance, the parties participated in a

  full day of mediation before Judge Holderman. Although we mediated for nearly a full day, we

  were unable to reach a proposed class-wide settlement at the mediation and Judge Holderman

  declared an impasse.

         17.     For over more than a week following the mediation, the parties, with the continued

  assistance of Judge Holderman, continued to engage in what my colleagues and I (and Judge

  Holderman) believed at the time to be good-faith settlement negotiations. Specifically, on

  October 16, 2024, six days after the parties’ mediation, I exchanged e-mail correspondence and




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  then spoke by telephone with Judge Holderman, during which I asked Judge Holderman to

  convey a settlement demand to Defendants’ counsel, which I believed would meaningfully

  advance the parties’ progress towards a proposed resolution on behalf of the classes. Later that

  same day, after presenting Plaintiffs’ demand to Defendants’ counsel by phone, Judge Holderman

  telephoned me to convey a counter settlement offer that Defendants had authorized him to

  convey. Over the next two days, I spoke by phone and exchanged e-mail correspondence with

  Judge Holderman on multiple occasions concerning Defendants’ latest settlement offer, and on

  October 18, 2024, I conveyed another counter settlement demand to Judge Holderman and asked

  that he present it to the Defendants’ counsel. Later that same day, Judge Holderman sent me an

  e-mail confirming that he had presented Plaintiffs’ latest demand to Defendants’ counsel by

  phone. I followed up with Judge Holderman on October 22, 2024, and yet again on October 23,

  2024, to see whether he had received any response from Defendants’ counsel, and on both

  occasions Judge Holderman advised me that he had telephoned Defendants’ counsel but had

  received no answer, that he had left voicemails for them but had still not heard back from them,

  and that he would try to contact Defendants’ counsel yet again on October 24, 2024.

         18.    At the same time as these settlement discussions overseen by Judge Holderman

  were occurring, my colleagues and I also continued to push this case forward on multiple fronts.

  Immediately following the conclusion of the mediation on October 10, 2024, Arun G. Ravindran

  of my firm confirmed with Defendant that the agreed-upon discovery stay (which had been in

  effect since the date the parties agreed to mediate) had ended. On October 14, 2024, Mr.

  Ravindran counsel served a third-party subpoena for documents and deposition testimony to Meta

  on Defendants’ counsel by e-mail, and then promptly arranged for the subpoena to be formally

  served on Meta. On October 16, 2024, Meta served its initial responses and objections to the




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   subpoena and, later that same day, I initiated a meet and confer process with Meta’s counsel to

   discuss Meta’s responses and objections to the subpoena. On October 19, 2024, I conferred

   further with Meta’s counsel concerning the timing of its deposition in this matter. On October 17,

   2024, I served a third-party subpoena for documents to Data-Axle Inc. (a data company that, as

   our investigation had revealed, served as one of Defendant’s list managers and/or brokers during

   the relevant statutory period) on Defendants’ counsel by e-mail, and then promptly arranged for

   formal service of the subpoena on Data-Axle, setting a deadline for Data-Axle to respond of

   November 18, 2024. On October 25, 2024, Mr. Ravindran exchanged correspondence with

   counsel for Data Axle regarding Data Axle’s response to the subpoena and production of

   documents.

          19.     Additionally, over the course of a 10-day period beginning on October 14, 2024,

   continuing through October 24, 2024, my colleagues and I repeatedly attempted to schedule a

   meet and confer conference with Defendants’ counsel concerning, inter alia: (1) Defendants’

   position on a motion for appointment of interim counsel that Plaintiffs’ counsel had advised

   Defendants’ counsel it intended to file; (2) Defendants’ intentions with respect to the Hoang To

   matter, including the nature of the responsive pleading it intended to file in that case and whether

   it would seek to dismiss, stay, or transfer the case on the grounds that it had previously articulated

   (namely, that it was duplicative of this earlier-filed case); and, relatedly, (3) Defendants’ position

   on a motion to intervene and to stay or dismiss the Hoang To matter that Plaintiffs’ counsel had

   indicated it would file to protect the interests of class members in the event DirectToU, LLC, the

   defendant in that case, did not intend to seek such relief in response to the plaintiff’s complaint.

          20.     First, on October 14, 2024, Mr. Ravindran of my firm made the first of several

   requests to confer on Defendants’ position regarding the Hoang To case. Exhibit 2 hereto, at 9;




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   Exhibit 3 hereto, at 1. Having received no response, on October 14, 2024, Mr. Ravindran again

   requested to confer on the Hoang To case with Defendants’ counsel. Still having received no

   response, on October 15, 2024, Mr. Ravindran again requested to meet and confer with

   Defendants’ counsel that week (e.g., the week ending October 18, 2024), both with respect to

   Defendants’ intentions with respect to the duplicative Hoang-To matter and on Defendants’

   position on Plaintiffs’ forthcoming motion to be appointed interim class counsel in this case. Ex.

   2 at 5. Plaintiffs’ counsel followed up that same day seeking to meet and confer on Defendants’

   position on Plaintiffs’ forthcoming motion to be appointed interim class counsel. Exhibit 4

   hereto, at 1. Later on October 15, 2024, Defendants’ counsel inexplicably responded to Plaintiffs’

   counsel by asking for “a description of the substance” of the conference being requested. Ex. 2

   at 4–5. Plaintiffs’ counsel immediately responded, stating:

       1. Defendants’ position on Plaintiffs’ forthcoming motion seeking interim
          appointment as class counsel.

       2. Defendants’ intent with respect to the Hoang matter. Specifically, Plaintiff wants
          to discuss whether Defendant intends to dismiss Hoang under the first-filed
          doctrine or to move to transfer Hoang to the SDFL. Alternatively, we’d like to
          discuss Defendants’ position on a motion by Plaintiffs to intervene in
          the Hoang matter and a potential motion by Plaintiffs to dismiss the Hoang case on
          first filed grounds.
   Ex. 2 at 4.

           21.    On October 16, 2024, Defendants’ counsel responded to our e-mail

   correspondence by stating that she would confer with her client. Ex. 2 at 3. Later that day,

   Plaintiffs’ counsel followed up with Defendants’ counsel once more – again, simply to propose

   a date to have a meet and confer conference on these issues. Exhibit 6 hereto, at 1. Again,

   Defendants’ counsel responded that she would reply with her clients’ position at some

   unspecified future date.

           22.    On October 21, 2024, having still not received Defendants’ positions on these


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   issues or their availability for a meet and confer call, Plaintiffs’ counsel advised Defendants’

   counsel that Plaintiffs would file a motion seeking interim appointment as class counsel without

   waiting any further, likely on Wednesday October 23, 2024, and that they would also file a motion

   to intervene in the Hoang To matter and move to dismiss that case under the first filed doctrine.

   Ex. 2 at 3.

           23.    Defendants’ counsel did not respond to that communication and, later that day,

   Plaintiffs’ counsel sent another e-mail to Defendants’ counsel regarding Defendants’ incomplete

   initial disclosures, and again sought to confer telephonically on October 22, 2024. Exhibit 5

   hereto, at 2. Once more, Defendants’ counsel refused to schedule a conferral and punted, stating

   again they would need to discuss with their clients.

           24.    On October 23, 2024, Plaintiffs’ counsel sent Defendants’ counsel a summary of

   their attempts to meet and confer by email. Ex. 5 at 1-2. Plaintiffs’ counsel also left voicemails

   to each of Defendants’ counsel of record, all of which went unreturned.

           25.    The next day, Defendants’ counsel responded by stating: “Let’s get a call on the

   calendar early next week to discuss the issues you’ve laid out. We are pretty open on Tuesday,

   10/29, so let us know a time that works for you.” Ex. 5 at 1. I then sent an e-mail to Defendants’

   counsel, stating as follows:

           Bonnie: We will be filing our motion for interim appointment today. And in the
           motion we will advise the court that you have refused to meet and confer with us
           or provide us with your position on our request for interim appointment after
           numerous e-mails and attempted phone calls over the past week+. If your client is
           willing to meet and confer with us today before we file, please let us know
           immediately. Thank you.

   Ex. 2 at 2.

           26.    In response to my e-mail – which, again, came after 10 days of Defendants’

   counsel ignoring Plaintiffs’ counsel’s repeated efforts to communicate with them concerning each



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   of these important issues, and after five days of also ignoring Judge Holderman’s repeated efforts

   to communicate with them as well (as recounted above) – Defendants’ counsel finally agreed to

   meet and confer on these issues with Plaintiffs’ counsel by phone later that afternoon. During

   this October 24 2024, phone call, Defendants’ counsel informed Plaintiffs’ counsel that

   Defendants had executed a class-wide settlement agreement with the counsel for the Hoang To

   plaintiff the day before (October 23, 2024), that the proposed settlement memorialized in that

   signed agreement purports to release the claims of all putative class members in the instant action

   (even though only the proposed classes in the Hoang To action are only a small subset of the

   proposed classes here), that those releases will cover both of the Defendants in this action (even

   though only one of the Defendants here is named in the Hoang To action), that the plaintiff in the

   Hoang To action would be filing a motion for preliminary approval on or about Monday, October

   28, 2024, and that Defendants would be filing a motion to stay the instant action pending

   resolution of the motion for preliminary approval in the Hoang To action. At no time on the call

   or otherwise did Defendants’ counsel ever request Plaintiffs’ position on Defendants’

   forthcoming motion to stay this action. And when Plaintiffs’ counsel asked Defendants’ counsel

   to provide them with a copy of, or to at least disclose the terms of, the class-wide settlement

   agreement that had been signed between Defendants and the Hoang To plaintiff and his counsel

   – information obviously necessary for Plaintiffs and their counsel to assess whether the settlement

   agreement provides fair, reasonable, and adequate relief to class members, and thus to determine

   whether they would oppose Defendants’ forthcoming motion to stay this matter or not –

   Defendants’ counsel flatly refused without explanation. Plaintiffs’ counsel also indicated that

   they would nonetheless be filing the instant motion for appointment of interim counsel as well as

   a motion to intervene and to stay or dismiss the Hoang To action on first-filed doctrine grounds,




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   and Defendants’ counsel stated that Defendants would oppose both motions. Later in the day

   following this call with Defendants’ counsel, I spoke with Judge Holderman by phone, who

   indicated he had just finally gotten ahold of Defendants’ counsel and they had just then advised

   him of the settlement agreement they had signed with the Hoang To plaintiff’s counsel.

          27.     Almost immediately after our call with Defendants’ counsel ended on October 24,

   2024, Defendants filed their motion to stay this action pending resolution of the motion for

   preliminary approval of a class-wide settlement agreement that the plaintiffs would be filing in

   the Hoang To action pending in the Northern District of California. The motion to stay states, in

   pertinent part, that the parties in the Hoang To action signed a class-wide settlement agreement

   “on October 23, 2024” (ECF No. 36 at 2), that the “[t]he settlement reached in the Hoang To

   action would, if approved by the Court, cover all claims asserted in this [Feller] case” (id. at 1),

   that “the Hoang To settlement is expected the release the claims of all putative class members in

   this [Feller] case” (id. at 4), and that “a motion for preliminary approval of the proposed

   settlement will be filed early next week” in the Hoang To case (id. at 2).

          28.     Later in the day on October 24, 2024, I telephoned (but received no answer) and

   then emailed all counsel of record for the plaintiff in the Hoang To action in an effort to meet and

   confer on their position on this motion. See Exhibit 7 hereto. Counsel of record for the plaintiff

   in the Hoang To action, Adrian Barnes, responded that he was not familiar enough with the

   litigation to provide his client’s position on these issues, and that the other counsel of record for

   his client were unavailable until Monday October 28, 2024, because of the observation of a

   religious holiday. See id.

          29.      The reverse auction that Defendants and their counsel have transparently

   orchestrated of the classes’ claims in this litigation, and the willingness with which the plaintiff




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   and his counsel in the Hoang To action appear to have gone along with it, as described above, is

   easily the most underhanded conduct that Plaintiffs’ counsel has witnessed in his 10-year career

   as a lawyer practicing in this area of law.

          30.     In addition to the work my firm has already performed in this matter, as noted

   above, a significant amount of litigation, including discovery, must occur prior to class

   certification and trial in this case. Discovery in this matter will be complex, nuanced, and require

   substantial specialized knowledge and experience to perform effectively and efficiently. My

   firm’s thorough investigation into the claims in this case, as well as its experience prosecuting

   numerous other similar data-privacy matters, will enable it to effectively build and prosecute this

   case on behalf of the classes, including in discovery, motion practice, at class certification, and

   through trial and any appeals if necessary. Appointing Hedin LLP as interim class counsel at this

   juncture will enable the litigation and any settlement negotiations to continue in an arm’s-length,

   non-collusive manner, with experienced counsel devoted to protecting the interests of the putative

   classes at the helm.

          31.     Notably, a significant amount of the discovery critical to the classes’ claims in this

   case is in the possession of third parties, including Meta and Data Axle, both of which my firm

   recently subpoenaed. It is critically important that these third parties, and any others with

   materials relevant to this litigation, continue to preserve all such materials in their possession,

   custody, or control, and that Defendants’ filing of a motion to stay this action and the Hoang To

   plaintiff’s filing of motions in support of approval of his proposed class-wide settlement in the

   Northern District of California does not result in these third parties disregarding their preservation

   obligations with respect to such materials.




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          32.     Hedin LLP draws from a team of highly experienced attorneys dedicated to

   representing plaintiffs in complex class action litigation with extensive experience in the Southern

   District of Florida and nationally, as well as non-lawyer professionals and support staff. My

   colleagues Julie Holt and Arun Ravindran, both of whom are based in the firm’s Miami, Florida

   and are members in good standing of the Florida Bar, have worked and will continue to work

   with me on the prosecution of this matter. See Ex. 1 (biographies for Ms. Holt and Mr.

   Ravindran).    Mr. Ravindran and Ms. Holt also have extensive trial experience and are well-

   equipped to present this case to a jury at trial on behalf of the classes if necessary. My firm has

   ample resources to devote to this litigation to ensure it is effectively prosecuted on behalf of the

   proposed Class. These resources are not merely financial, but also include the substantial

   expertise and work-product that my firm has developed in the course of prosecuting other similar

   matters over the past several years, as well as our long-standing relationships with industry

   experts, regulatory personnel, and reputable settlement administration experts. If appointed to

   represent the putative classes in this matter, my firm will continue to commit all of the necessary

   resources – monetary and otherwise – to most efficiently and effectively prosecute this case on

   behalf of members of the proposed classes. Finally, everyone at my firm recognizes the

   importance of having a diverse group of attorneys work on behalf of our clients and the classes

   of persons we represent. More than half of the attorneys at Hedin LLP are members of

   underrepresented groups and we remain committed to employing a diverse group of attorneys to

   work on behalf of the members of the classes in this litigation going forward.

          33.     My firm is well suited to continue representing the Plaintiffs and members of the

   proposed classes, and we remain committed to protecting their interests in this litigation.




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          I declare under penalty of perjury pursuant to the laws of the United States of America

   that the foregoing is true and correct. Executed this 27th day of October 2024, in Miami, Florida.


                                                        ________________________
                                                        Frank S. Hedin




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                                           FIRM RÉSUMÉ


           Based in Miami, Florida, and with offices in San Francisco, California and Washington,
   D.C., Hedin LLP represents consumers and investors in class actions in state and federal courts
   nationwide. Our firm prosecutes difficult cases aimed at redressing injuries suffered by large,
   diverse groups of people. Over the past six years alone, we have recovered hundreds of millions
   of dollars and other meaningful relief for the consumers and investors we have had the privilege
   to represent.




                                       Representative Matters


          Notable examples of our work on behalf of consumers include:

      •   Rivera, et al. v. Google LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty.) (class counsel in
          action alleging unauthorized collection of consumers’ biometric data in violation of state
          statute, negotiated $100 million all-cash non-reversionary settlement for class)

      •   Schreiber et al. v. Mayo Foundation for Medical Education & Research, No. 22-cv-00188
          (W.D. Mich.) (class counsel in action alleging unauthorized disclosure of consumers’
          purchase information in violation of state statute, negotiated $52.5 million all-cash non-
          reversionary settlement for class)

      •   Olsen, et al. v. ContextLogic Inc., No. 2019CH06737 (Ill. Cir. Ct. Jan. 7, 2020) (class
          counsel in action alleging nonconsensual transmission of text messages to consumers’
          telephones in violation of federal law, negotiated $16 million all-cash non-reversionary
          settlement for class)

      •   In re Everi Holdings, Inc. FACTA Litigation, No. 18CH15419 (Ill. Cir. Ct. Jan. 7, 2020)
          (class counsel in action alleging unauthorized printing of excess digits of consumer card
          numbers on transaction receipts in violation of federal law, negotiated $14 million all-cash
          non-reversionary settlement for class)




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      •   Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel
          in action alleging improper overdraft fees in violation of state law, negotiated $4.95 million
          settlement for class)

      •   Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D. Va.) (class counsel in action
          alleging improper overdraft fees in violation of state law, negotiated $2.7 million
          settlement for class)

      •   Kokoszki v. Playboy Enterpises, Inc., No. 19-cv-10302 (E.D. Mich.) (class counsel in
          action alleging unauthorized disclosure of consumers’ purchase information in violation of
          state statute, negotiated $3.8 million all-cash non-reversionary settlement for class)

      •   Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D. Mich.) (class counsel in
          action alleging unauthorized disclosure of consumers’ purchase information in violation of
          state statute, negotiated $9.5 million all-cash non-reversionary settlement for class)

      •   Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120 (S.D. Fla.) (class counsel in action
          alleging nonconsensual transmission of text messages to consumers’ telephones in
          violation of federal law, negotiated $10 million all-cash non-reversionary settlement for
          class)

      •   Farnham v. Caribou Coffee Co., Inc., No. 16-cv-295 (W.D. Wisc.) (class counsel in action
          alleging nonconsensual transmission of text messages to consumers’ telephones in
          violation of federal law, negotiated $8.5 million all-cash non-reversionary settlement for
          class)

      •   Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (class counsel
          in action alleging unauthorized disclosure of consumers’ purchase information in violation
          of state statute, negotiated $9.5 million all-cash non-reversionary settlement for class)

      •   Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (class counsel
          in action alleging unauthorized disclosure of consumers’ purchase information in violation
          of state statute, negotiated $6.8 million all-cash non-reversionary settlement for class)

      •   Moeller v. The Week Publications, Inc., No. 22-cv-10666 (E.D. Mich.) (class counsel in
          action alleging unauthorized disclosure of consumers’ purchase information in violation of
          state statute, negotiated $5 million all-cash non-reversionary settlement for class)




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      •   Benbow v. SmileDirectClub, Inc., No. 2020-CH-07269 (Cir. Ct. Cook Cnty.) (class counsel
          in action alleging nonconsensual transmission of text messages to consumers’ telephones
          in violation of federal law, negotiated $11.5 million all-cash settlement for class)

          Notable examples of our work on behalf of investors include:

      •   In re Maxar Technologies Inc. Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct.,
          Santa Clara Cnty.) (class counsel in action alleging false and misleading statements to
          investors in violation of federal securities laws, negotiated $36.5 million all-cash non-
          reversionary settlement for class)

      •   Plymouth County Retirement System v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Sup.
          Ct., N.Y. Cnty.) (counsel in action alleging false and misleading statements to investors in
          violation of federal securities laws, negotiated $20 million all-cash non-reversionary
          settlement for class)

      •   In re Altice USA, Inc. Sec. Litig., No. 711788 (N.Y. Sup. Ct., Queens Cnty.) (counsel in
          action alleging false and misleading statements to investors in violation of federal securities
          laws, negotiated $4.75 million all-cash non-reversionary settlement for class)

      •   Plutte v. Sea Ltd., No. 655436/2018 (N.Y. Sup. Ct., N.Y. Cnty.) (counsel in action alleging
          false and misleading statements to investors in violation of federal securities laws,
          negotiated $10.75 million all-cash non-reversionary settlement for class)

      •   In re Menlo Therapeutics Inc. Sec. Litig., No. 18CIV06049 (Cal. Sup. Ct., San Mateo
          Cnty.) (counsel in action alleging false and misleading statements to investors in violation
          of federal securities laws, negotiated $9.5 million all-cash non-reversionary settlement for
          class)




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                                         Attorney Biographies


   Frank S. Hedin

           Frank S. Hedin, founder of the firm, is a member in good standing of the Florida Bar and
   the State Bar of California. Mr. Hedin received his Bachelor of Arts from University of Michigan
   and Juris Doctor, magna cum laude, from Syracuse University College of Law. After graduating
   from law school, he served for fifteen months as law clerk to the Honorable William Q. Hayes,
   United States District Judge for the Southern District of California. Prior to establishing the firm,
   Mr. Hedin was a partner at a litigation boutique in Miami, Florida, where he represented both
   plaintiffs and defendants in consumer and data-privacy class actions, employment-related
   collective actions, and patent and trademark litigation, and served as head of the firm’s class action
   practice.


   Arun G. Ravindran

           Arun G. Ravindran, a member in good standing of the Florida Bar and the New York State
   Bar, is an accomplished trial lawyer who has tried more than twenty federal cases to jury
   verdict. Mr. Ravindran received his Bachelor of Arts from Emory University, an Msc. from the
   London School of Economics, and his Juris Doctor from Emory University School of Law. After
   graduating from law school, he served as Captain and Judge Advocate in the United States Marine
   Corps, after which he served for one year as law clerk to the Honorable Patricia A. Seitz, United
   States District Judge for the Southern District of Florida. Following his clerkship, Mr. Ravindran
   served for nearly five years as an Assistant Federal Public Defender in the Southern District of
   Florida. Prior to joining Hedin LLP, Mr. Ravindran litigated commercial matters at a prominent
   Florida law firm.


   Elliot O. Jackson

          Elliot O. Jackson, a member in good standing of the Florida Bar and the New York State
   Bar, received his Bachelor of Science, cum laude, from Fayetteville State University, his Juris
   Doctor, cum laude, from Florida A&M University College of Law, and an L.L.M in fashion law
   from Fordham University, where he graduated first in his class and received the Judy and Dennis
   Kenny Award. Prior to joining the firm, Mr. Jackson served for two years as law clerk to the
   Honorable Mary S. Scriven, United States District Judge for the Middle District of Florida.




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   Tyler K. Somes

           Tyler K. Somes, a member in good standing of the State Bar of Texas and the District of
   Columbia Bar, received his Bachelor of Arts from The George Washington University and Juris
   Doctor, with honors, from The University of Texas School of Law. After graduating from law
   school, Mr. Somes worked at a prominent national law firm for several years, where he litigated
   complex antitrust, whistleblower, securities, and trade secrets matters. During a one-year hiatus
   from his prior firm, Mr. Somes served as law clerk to the Honorable Richard Wesley of the United
   States Court of Appeals for the Second Circuit.


   Julie E. Holt

          Julie E. Holt, a member in good standing of the Florida Bar, received her Bachelor of Arts
   in Economics, summa cum laude, from Columbia University and her Juris Doctor from Yale Law
   School. Prior to joining Hedin LLP, Julie Holt served as an Assistant Federal Public Defender in
   the Southern District of Florida for eight years. She is an experienced trial lawyer, having tried
   approximately 30 jury trials and numerous bench trials. In addition to her trial practice, she also
   represented clients on direct appeal, filing numerous petitions for writ of certiorari to the Supreme
   Court and arguing in the Eleventh Circuit Court of Appeals.


   Paula S. Buzzi

           Paula S. Buzzi, a member in good standing of the Florida Bar, received her Bachelor of
   Arts from The University of North Carolina and her Juris Doctor from Syracuse University College
   of Law. Prior to joining Hedin LLP, Ms. Buzzi was an attorney at a prominent national law firm
   where she represented commercial clients in transactional matters. At Hedin LLP, Ms. Buzzi's
   extensive transactional experience offers clients valuable, unique perspectives on case analysis,
   negotiation and strategy. Ms. Buzzi is a co-founder of the Argentinian-American Bar Association,
   and she has received a number of honors and distinctions throughout her career as an attorney,
   including numerous recognitions in leading legal publications.




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                                                     Friday,
                                                     Friday, October
                                                             October 25,
                                                                     25, 2024
                                                                         2024 at
                                                                              at 12:42:05
                                                                                 12:42:05 Eastern
                                                                                          Eastern Daylight
                                                                                                  Daylight Time
                                                                                                           Time

 Subject:
 Subject:         Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
 Date:
 Date:            Thursday, October 24, 2024 at 10:38:35 AM Eastern Daylight Time
 From:
 From:            Frank Hedin
 To:
 To:              DelGobbo, Bonnie Keane, Arun Ravindran, Griswold, Joel C.
 CC:
 CC:              jholt@hedinllp.com, Elliot Jackson, earribas@hedinllp.com
 Attachments:
 Attachments: image001.png, image002.png, image003.png, image004.png, image005.png, image006.png


 Yes. We will circulate a dial-in.

 Frank S. Hedin

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 357-2107
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Thursday, October 24, 2024 at 10:34 AM
 To:
 To: Frank Hedin <fhedin@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
 Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Ok, we can call you this aOernoon around 2:30pm CT. Does that work?

 From:
 From: Frank Hedin <Uedin@hedinllp.com>
 Sent:
 Sent: Thursday, October 24, 2024 9:12 AM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Arun Ravindran
 <aravindran@hedinllp.com>; Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 No, we’re not waidng undl Tuesday of next week to meet and confer with you on this. We’ve been asking
 you to meet and confer on this for the past 2 weeks, and you have repeatedly ignored us. We will advise
 the court of your refusal to meet and confer in the modon we ﬁle today. Thanks.



 Frank S. Hedin

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131


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 Tel: + 1 (305) 357-2107
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Thursday, October 24, 2024 at 10:09 AM
 To:
 To: Frank Hedin <fhedin@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
 Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Hi Frank,

 We just responded to Arun separately. We’re happy to set up a call for Tuesday of next week and are
 pregy ﬂexible on dming that day if you want to let us know what works for you.

 Best,
 Bonnie

 From:
 From: Frank Hedin <Uedin@hedinllp.com>
 Sent:
 Sent: Thursday, October 24, 2024 9:07 AM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>; DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>; Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Cc:
 Cc: jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Bonnie: We will be ﬁling our modon for interim appointment today. And in the modon we will advise the
 court that you have refused to meet and confer with us or provide us with your posidon on our request
 for interim appointment aOer numerous e-mails and agempted phone calls over the past week+. If your
 client is willing to meet and confer with us today before we ﬁle, please let us know immediately. Thank
 you.


 Frank S. Hedin

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 357-2107
 Fax: + 1 (305) 200-8801



 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Date:
 Date: Monday, October 21, 2024 at 3:13 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>

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 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Good Afternoon Bonnie,

 Following up on the items below. We will be ﬁling motions regarding items 2 and 3 on
 Wednesday and if we are unable to confer before then we will advise the Court that
 Defendant’s position could not be ascertained.

 Thanks,

 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Wednesday, October 16, 2024 at 12:36 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Hi Arun,

 We are conferring with the client on these issues and will get back to you.

 Please conﬁrm we may ﬁle Judge Holderman’s email as our required mediadon report. If you want him
 to draO something else as the report, you will need to let him know as soon as possible since it is due
 tomorrow.

 Thanks,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Tuesday, October 15, 2024 3:56 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
 <jcgriswold@bakerlaw.com>

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 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Hi Bonnie,

 We disagree that the second week of January works. As we noted in the motion you referenced –
 our pleadings amendment deadline of 12.22 contemplates deposing Defendants’ corporate rep.
 before the pleading amendment deadline. If moving the deposition forward towards the originally
 noticed 11/15 date helps, we are willing to discuss.

 At any rate, here are topics for a meet and confer:

    `. Deposition scheduling (as described above and in my prior email)
    c. Defendants’ position on Plaintids’ forthcoming motion seeking interim appointment as class
       counsel.
    e. Defendants’ intent with respect to the Hoang matter. Speciﬁcally, Plaintid wants to discuss
       whether Defendant intends to dismiss Hoang under the ﬁrst-ﬁled doctrine or to move to
       transfer Hoang to the SDFL. Alternatively, we’d like to discuss Defendants’ position on a
       motion by Plaintids to intervene in the Hoang matter and a potential motion by Plaintids to
       dismiss the Hoang case on ﬁrst ﬁled grounds.

 I agree, that the issue of initial disclosures is resolved by Defendants’ production of initial
 disclosures, as represented, on October 21, 2024.

 Please let me know when we can confer this week.

 Thanks,

 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Tuesday, October 15, 2024 at 2:59 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Hi Arun,


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 Your modon asks that the class cert discovery deadline be moved to Feb. 7, so the second week of
 January would sdll work with that date if your modon is granted.

 We’ve also agreed to make our Rule 26(a) disclosures by 10/21, so I think that issue is resolved.

 To the extent you have other issue you wanted to discuss, will you please send us a descripdon of the
 substance of what you are requesdng?

 Best,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Tuesday, October 15, 2024 12:10 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Good Afternoon Bonnie,

 We cannot take the deposition of the Defendants corporate representatives in the second
 week of January. This is after the deadline for class certiﬁcation discovery of 1/7. We
 would be willing to add deposition scheduling to the meet and confer which we requested
 yesterday, October 14, 2024 and to work with you on nailing down a date in early
 December. Please let us know your availability to discuss that and the Hoang-To case this
 week.

 Thanks,

 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Tuesday, October 15, 2024 at 12:01 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case

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 Management

 Good morning Arun,

 The client is not available for deposidon in the December dmeframe but could be available the second
 week of January.

 Best,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Monday, October 14, 2024 3:22 PM
 To:
 To: Griswold, Joel C. <jcgriswold@bakerlaw.com>; DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Great. Will mark this motion as unopposed and get on ﬁle.

 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: Griswold, Joel C. <jcgriswold@bakerlaw.com>
 Date:
 Date: Monday, October 14, 2024 at 4:21 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
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 Thanks, Arun – yes, we agree to these proposed deadlines.

 Thanks,

 Joel

 Joel Griswold
 Partner


 One North Wacker Drive | Suite 3700


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 Chicago, IL 60606-2859
 T +1.312.416.6238

 jcgriswold@bakerlaw.com
 bakerlaw.com




 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Monday, October 14, 2024 3:08 PM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management

 Good Afternoon Bonnie and Joel,

 Please see attached the proposed order on the Motion to Extend Deadlines. We are under
 time pressure to ﬁle this motion because the pleading amendment deadline falls one week
 from tomorrow. As such, we will be ﬁling this this COB today. Unless we are able to obtain
 Defendant’s position, we note in our Rule 7.3 conference statement that we were unable to
 ascertain Defendant’s position at the time of ﬁling.

 Thanks,

 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Date:
 Date: Monday, October 14, 2024 at 9:34 AM
 To:
 To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
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 Thank you. Please advise on Defendant’s position regarding the extension.



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 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801



 From:
 From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
 Date:
 Date: Friday, October 11, 2024 at 4:47 PM
 To:
 To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
 <jcgriswold@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com <jholt@hedinllp.com>,
 Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
 Management

 Hi Arun,

 The dates you’re proposing below for Plaindﬀs’ and Defendants’ wrigen discovery responses are ﬁne.
 We’d like undl 10/21 for inidal disclosures.

 We’re checking with the client on the other items and will circle back next week.

 Best,
 Bonnie

 From:
 From: Arun Ravindran <aravindran@hedinllp.com>
 Sent:
 Sent: Thursday, October 10, 2024 5:34 PM
 To:
 To: Griswold, Joel C. <jcgriswold@bakerlaw.com>; DelGobbo, Bonnie Keane
 <bdelgobbo@bakerlaw.com>
 Cc:
 Cc: Frank Hedin <Uedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson <ejackson@hedinllp.com>
 Subject:
 Subject: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management


 [External Email: Use caution when clicking on links or opening attachments.]

 Good Evening Bonnie and Joel,

 Plaintids served initial discovery requests on September 12, 2024. Plaintid also provided
 its Rule 26(a) initial disclosures on September 12, 2024. Plaintid agreed to Defendants’
 request to pause its obligation to respond to discovery on September 17, 2024 pending the
 mediation. As such, I calculate the date for Defendants’ discovery responses as

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 November
 November 4,
          4, 2024
             2024.

 Defendants served discovery on October 4, 2024 during the agreed discovery pause. As
 set forth in my email of October 5, 2024, Plaintids understand their discovery response
 date to November
          November 11,11, 2024
                           2024, the Monday after November 9, 2024.

 Plaintid requested on September 12, 2024 that Defendant make its Rule 26 initial
 disclosures by September 19, 2024. Defendants did not respond to that request. Plaintids
 request that Defendant make its initial disclosures by Monday
                                                         Monday October
                                                                    October 14,
                                                                              14, 2024
                                                                                  2024. If
 Defendant will not produce its initial disclosures by then, Plaintids seek to confer. I am
 available all day tomorrow.

 With respect to the other dates please advise if Defendants have a diderent view.

 Plaintid will be seeking to modify the deadline to ﬁle an amended complaint by 60 days and
 all other court ordered deadlines by 30 days to account for the roughly one-month period
 pending mediation. Please advise Defendants’ position.

 Further, Plaintid will be seeking to re-notice Defendants’ corporate representative
 deposition to occur two weeks from November 15, 2024, on or about December 2, 2024.
 Please let us know availability so we can coordinate the exact date and time.

 Thanks very much,
 Arun G. Ravindran

 1395 Brickell Avenue, Suite 610
 Miami, Florida 33131
 Tel: + 1 (305) 203-4573
 Mob: +1 (321) 537-0029
 Fax: + 1 (305) 200-8801




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 complete analysis of all relevant issues or authorities.

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                                                       10/28/24
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  From: Arun Ravindran aravindran@hedinllp.com
Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
   Date: October 14, 2024 at 16:34
     To: Griswold, Joel C. jcgriswold@bakerlaw.com, DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com
    Cc: Frank Hedin fhedin@hedinllp.com, jholt@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


       HI Joel,

       What status hearing are you referencing?

       Also, are you or Bonnie available to confer on the Hoang To matter pending in
       NDCA this week? We’re generally available. Wednesday works well if that works
       on your side?


       Thanks,

       Arun G. Ravindran

       1395 Brickell Avenue, Suite 610
       Miami, Florida 33131
       Tel: + 1 (305) 203-4573
       Mob: +1 (321) 537-0029
       Fax: + 1 (305) 200-8801


       From: Griswold, Joel C. <jcgriswold@bakerlaw.com>
       Date: Monday, October 14, 2024 at 4:27 PM
       To: Arun Ravindran <aravindran@hedinllp.com>, DelGobbo, Bonnie Keane
       <bdelgobbo@bakerlaw.com>
       Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
       <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
       Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
       Management

       Thanks, Arun. Do you have any objection to us requesting that we be allowed to attend the
       Court status hearing remotely?

       Thanks,

       Joel

       Joel Griswold
       Partner


       One North Wacker Drive | Suite 3700
       Chicago, IL 60606-2859
       T +1.312.416.6238

       jcgriswold@bakerlaw.com
       bakerlaw.com
Case 0:24-cv-61444-RAR
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         Case 3:24-cv-06447-WHO
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     From: Arun Ravindran <aravindran@hedinllp.com>
     Sent: Monday, October 14, 2024 3:22 PM
     To: Griswold, Joel C. <jcgriswold@bakerlaw.com>; DelGobbo, Bonnie Keane
     <bdelgobbo@bakerlaw.com>
     Cc: Frank Hedin <fhedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson
     <ejackson@hedinllp.com>
     Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
     Management

     Great. Will mark this motion as unopposed and get on file.

     Arun G. Ravindran

     1395 Brickell Avenue, Suite 610
     Miami, Florida 33131
     Tel: + 1 (305) 203-4573
     Mob: +1 (321) 537-0029
     Fax: + 1 (305) 200-8801


     From: Griswold, Joel C. <jcgriswold@bakerlaw.com>
     Date: Monday, October 14, 2024 at 4:21 PM
     To: Arun Ravindran <aravindran@hedinllp.com>, DelGobbo, Bonnie Keane
     <bdelgobbo@bakerlaw.com>
     Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
     <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
     Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
     Management

     Thanks, Arun – yes, we agree to these proposed deadlines.

     Thanks,

     Joel

     Joel Griswold
     Partner


     One North Wacker Drive | Suite 3700
     Chicago, IL 60606-2859
     T +1.312.416.6238

     jcgriswold@bakerlaw.com
     bakerlaw.com
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  From: Arun Ravindran aravindran@hedinllp.com
Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
   Date: October 15, 2024 at 14:09
     To: DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com, Griswold, Joel C. jcgriswold@bakerlaw.com
    Cc: Frank Hedin fhedin@hedinllp.com, jholt@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


       Hello Bonnie and Joel,

       Further, can we discuss on the meet and confer call the mediators report as well as
       Defendant’s position on our firm seeking interim appointment as class counsel?
       Thanks,

       Arun G. Ravindran

       1395 Brickell Avenue, Suite 610
       Miami, Florida 33131
       Tel: + 1 (305) 203-4573
       Mob: +1 (321) 537-0029
       Fax: + 1 (305) 200-8801


       From: Arun Ravindran <aravindran@hedinllp.com>
       Date: Tuesday, October 15, 2024 at 1:10 PM
       To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>, Griswold, Joel C.
       <jcgriswold@bakerlaw.com>
       Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
       <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
       Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
       Management

       Good Afternoon Bonnie,

       We cannot take the deposition of the Defendants corporate representatives in the
       second week of January. This is after the deadline for class certification discovery
       of 1/7. We would be willing to add deposition scheduling to the meet and confer
       which we requested yesterday, October 14, 2024 and to work with you on nailing
       down a date in early December. Please let us know your availability to discuss that
       and the Hoang-To case this week.

       Thanks,

       Arun G. Ravindran

       1395 Brickell Avenue, Suite 610
       Miami, Florida 33131
       Tel: + 1 (305) 203-4573
       Mob: +1 (321) 537-0029
       Fax: + 1 (305) 200-8801


       From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
Case 0:24-cv-61444-RAR
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  From: DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com
Subject: RE: Defendants' Initial Disclosures - Feller et. al., v. Alliance Entertrainment, et. al.
   Date: October 24, 2024 at 10:04 AM
     To: Arun Ravindran aravindran@hedinllp.com, Griswold, Joel C. jcgriswold@bakerlaw.com
    Cc: jholt@hedinllp.com, Frank Hedin fhedin@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


       Hi Arun,

       Let’s get a call on the calendar early next week to discuss the issues you’ve laid out. We
       are pretty open on Tuesday, 10/29, so let us know a time that works for you.

       Best,
       Bonnie

       From: Arun Ravindran <aravindran@hedinllp.com>
       Sent: Wednesday, October 23, 2024 2:57 PM
       To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
       <jcgriswold@bakerlaw.com>
       Cc: jholt@hedinllp.com; Frank Hedin <fhedin@hedinllp.com>; Elliot Jackson
       <ejackson@hedinllp.com>
       Subject: Re: Defendants' Initial Disclosures - Feller et. al., v. Alliance Entertrainment, et. al.

       Hello Bonnie,
       This email is sent pursuant to L.R. 7.1(a) and sets forth Plaintiffs’ efforts to meet and confer on two
       unresolved discovery issues - setting a date certain for Defendants’ corporate representatives’
       depositions and the substance of Defendants’ initial disclosures.

       10.10.24 – Plaintiffs’ counsel seeks proposed availability for Defendants’ 30(b)(6) witnesses and
       offers December 2, 2024.
       10.11.24 – Defendants’ counsel advises they were checking with client representatives and would be
       back in touch
       10.15.24 – Defendants’ counsel advises Defendants’ representatives are unavailable in December
       and proposes the second week of January
       10.15.24 – Plaintiffs’ counsel requests to discuss by telephone deposition scheduling, filing the
       mediators report, and Defendants’ position on Plaintiffs’ counsels’ interim appointment motion
       10.15.24 – Defendants counsel requests a summary of topics for a meet and confer telephone call
       10.15.24 – Plaintiffs’ counsel provides a summary and again asks to set a meet and confer call
       10.16.24 – Defendants’ counsel advises that counsel is speaking with client representatives and
       would get back to Plaintiffs’ counsel
       10.16.24 – Plaintiffs’ counsel again asks to speak on the telephone to discuss deposition scheduling
       and proposes the parties discuss on Friday October 18, 2024 at 3:00 p.m.
       10.16.24 - Defendants’ counsel advises that counsel is speaking with client representatives and
       would get back to Plaintiffs’ counsel
       10.21.24 – Plaintiffs’ counsel writes to follow up on Defendants’ positions regarding interim
       appointment and Plaintiffs’ intervention in the later-filed Hoang To matter in NDCA and advises that
       Plaintiffs will be filing motions regarding interim appointment and for intervention on Wednesday
       10/23 noting Defendants’ position could not be ascertained.
       10.21.24 – Plaintiffs’ counsel requests to meet and confer telephonically at any time on 10.22.24
       regarding Defendants’ deficient Rule 26(a) disclosures served on 10.21.24.
       10.22.24 – Defendants’ counsel advises that counsel is speaking with client representatives and
       would get back to Plaintiffs’ counsel regarding the Rule 26(a) disclosures.

       As the above summary shows, Plaintiffs had made repeated attempts to confer on these issues
       before filing motions. The judge presiding over this case have made clear that conferral is not a
       “single email exchange between opposing counsel” (ECF No. 27 at 3) and that discovery disputes
       should not be brought to the Court until the parties “actually speak to one another (in person or via
       telephone or videoconference)[.]”. With that in mind, Plaintiffs have made repeated attempts to
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     telephone or videoconference)[.]”. With that in mind, Plaintiffs have made repeated attempts to
     discuss these matters but have been unsuccessful in trying to get Defendants’ counsel on the phone
     to discuss these outstanding issues. We are making a final attempt to discuss Defendant’s Rule
     26(a) disclosures and deposition scheduling. Please provide a date and time by which Defendants’
     will be prepared to have a telephone conversation to resolve these matters. Please note that if
     these matters are not resolved by COB October 25, 2024, Plaintiffs will be filing any required
     motions on Monday October 28, 2024.

     Thanks,

     Arun G. Ravindran

     1395 Brickell Avenue, Suite 610
     Miami, Florida 33131
     Tel: + 1 (305) 203-4573
     Mob: +1 (321) 537-0029
     Fax: + 1 (305) 200-8801


     From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
     Date: Tuesday, October 22, 2024 at 2:33 PM
     To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
     <jcgriswold@bakerlaw.com>
     Cc: jholt@hedinllp.com <jholt@hedinllp.com>, Frank Hedin
     <fhedin@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
     Subject: RE: Defendants' Initial Disclosures - Feller et. al., v. Alliance
     Entertrainment, et. al.

     Hi Arun,

     We will discuss with the clients and circle back.

     Best,
     Bonnie

     From: Arun Ravindran <aravindran@hedinllp.com>
     Sent: Monday, October 21, 2024 10:38 PM
     To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
     <jcgriswold@bakerlaw.com>
     Cc: jholt@hedinllp.com; Frank Hedin <fhedin@hedinllp.com>; Elliot Jackson
     <ejackson@hedinllp.com>
     Subject: Defendants' Initial Disclosures - Feller et. al., v. Alliance Entertrainment, et. al.

     [External Email: Use caution when clicking on links or opening attachments.]

     Good Evening Bonnie and Joel,

     Plaintiffs write concerning Defendants’ initial disclosures served earlier today, October 21,
     2024.

     Under Fed. R. Civ. P. 26(a)(i) Defendants are obligated to disclose “the name and, if known,
     the address and telephone number of each individual likely to have discoverable
     information—along with the subjects of that information—that the disclosing party may use
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     information—along with the subjects of that information—that the disclosing party may use
     to support its claims or defenses, unless the use would be solely for impeachment[.”

     Apart from Plaintiffs and certain third-parties listed in Plaintiffs’ initial disclosures,
     Defendants identified “Corporate Representative of Alliance Entertainment, LLC” and
     “Corporate Representative, of DirectToU, LLC” as the only persons disclosed under R.
     26(a)(i).

     Defendant did not identify specific individuals, including individuals involved in their
     websites’ functionality (ECF 26 at 4), party or non-party individuals with knowledge of
     Defendants’ disclosures of customers’ PII to third parties, or, indeed, any specific individual
     at all upon whom Defendants will rely to support its defenses.

     Defendants’ merely naming “corporate representatives” does not satisfy their Rule 26(a)
     obligations. See e.g., Rogers v. Bank of Am., N.A., No. CIV.A. 13-1333-CM-TJ, 2014 WL
     4681031, at *6 (D. Kan. Sept. 19, 2014) (“Accordingly, the Court finds that Defendant's
     mere identification of individuals not by name but by a generic label that could apply to a
     number of its employees, such as Defendant's “corporate representative” or “records
     custodian,” is not sufficient to satisfy its initial disclosure obligations under Rule 26(a)(1)(A)
     (i).”); Hoffman v. MJC Am., Ltd, No. 4:18-CV-04169-LLP, 2019 WL 4933526, at *6 (D.S.D.
     Oct. 7, 2019) (“identification of “agents, employees and representatives of the parties” is
     wholly insufficient to comply with their obligation under Fed. R. Civ. P. 26(a)(1)(A)(i) to
     identify individuals likely to have discoverable information—along with the subjects of that
     information—that the disclosing party may use to support its claims or defenses, unless the
     use would be solely for impeachment.”).

     Fed. R. Civ. P. 37(a) applies to non-compliant Rule 26(a) disclosures and provides as
     follows:
     (c) Failure to Disclose, to Supplement an Earlier Response, or to Admit.
     (1) Failure to Disclose or Supplement. If a party fails to provide information or identify a
     witness as required by Rule 26(a) or (e), the party is not allowed to use that information or
     witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure was
     substantially justified or is harmless. In addition to or instead of this sanction, the court, on
     motion and after giving an opportunity to be heard:
     (A) may order payment of the reasonable expenses, including attorney's fees, caused by
     the failure;
     (B) may inform the jury of the party's failure; and
     (C) may impose other appropriate sanctions, including any of the orders listed in Rule 37(b)
     (2)(A)(i)-(vi).

     Plaintiffs request to immediately meet and confer on Defendants’ deficient Rule 26(a)(i)
     initial disclosure. Plaintiffs made their initial disclosures on September 12, 2024 and
     requested on September 12, 2024 that Defendant make its Rule 26 initial disclosures by
     September 19, 2024. In the interim the parties agreed to mediate. Immediately upon the
     mediation reaching an impasse, Plaintiffs requested that Defendant make
     its initial disclosures by Monday October 14, 2024 and agreed to Defendants’ request to
     make their initial disclosures on October 21, 2024. However, Defendants’ disclosures do
     not comply with Rule 26(a) and Plaintiffs are incapable of determining the specific
     individuals that have knowledge concerning Defendants’ defenses.

     Plaintiffs’ counsel are generally available all day Tuesday October 22, 2024 to confer.

     Regards,
     Arun G. Ravindran
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     1395 Brickell Avenue, Suite 610
     Miami, Florida 33131
     Tel: + 1 (305) 203-4573
     Mob: +1 (321) 537-0029
     Fax: + 1 (305) 200-8801




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  From: DelGobbo, Bonnie Keane bdelgobbo@bakerlaw.com
Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case Management
   Date: October 16, 2024 at 13:34
     To: Arun Ravindran aravindran@hedinllp.com, Griswold, Joel C. jcgriswold@bakerlaw.com
    Cc: Frank Hedin fhedin@hedinllp.com, jholt@hedinllp.com, Elliot Jackson ejackson@hedinllp.com


       Here is the draft joint mediation report required by the court’s order, which will attach the
       mediator’s report required by local rules. Please add your signature block and then send
       back for us to file, or you can file after adding your signature block.

       We will get back to you on the other issues after we’ve confirmed our clients’ position.

       From: Arun Ravindran <aravindran@hedinllp.com>
       Sent: Wednesday, October 16, 2024 12:15 PM
       To: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>; Griswold, Joel C.
       <jcgriswold@bakerlaw.com>
       Cc: Frank Hedin <fhedin@hedinllp.com>; jholt@hedinllp.com; Elliot Jackson
       <ejackson@hedinllp.com>
       Subject: Re: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
       Management

       Hello Bonnie,

       No objection to Defendant filing the email.

       With respect to deposition timing, can we set a time for a telephonic meet and confer
       regarding deposition scheduling. Plaintiffs intention is to resolve deposition scheduling this
       week so that if we need to involve the court we can do so as fast as practicable given the
       deadlines we are up against. Additionally, there is still the issue of Plaintiffs motion for
       interim appointment and the Hoang To case. I propose Friday at 3:00 p.m. Please let me
       know if that works and I will circulate a dial in.

       Thanks,

       Arun G. Ravindran

       1395 Brickell Avenue, Suite 610
       Miami, Florida 33131
       Tel: + 1 (305) 203-4573
       Mob: +1 (321) 537-0029
       Fax: + 1 (305) 200-8801


       From: DelGobbo, Bonnie Keane <bdelgobbo@bakerlaw.com>
       Date: Wednesday, October 16, 2024 at 12:36 PM
       To: Arun Ravindran <aravindran@hedinllp.com>, Griswold, Joel C.
       <jcgriswold@bakerlaw.com>
       Cc: Frank Hedin <fhedin@hedinllp.com>, jholt@hedinllp.com
       <jholt@hedinllp.com>, Elliot Jackson <ejackson@hedinllp.com>
       Subject: RE: Feller, et. al. v. Alliance Entertainment, et. al. - Discovery and Case
       Management

       Hi Arun,
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                                               Friday,
                                               Friday, October
                                                       October 25,
                                                               25, 2024
                                                                   2024 at
                                                                        at 13:14:34
                                                                           13:14:34 Eastern
                                                                                    Eastern Daylight
                                                                                            Daylight Time
                                                                                                     Time

 Subject:
 Subject:     Re: Alliance VPPA litigation - meet and confer
 Date:
 Date:        Thursday, October 24, 2024 at 6:01:13 PM Eastern Daylight Time
 From:
 From:        Frank Hedin
 To:
 To:          Adrian Barnes
 CC:
 CC:          jhammond@hammondlawpc.com, pblandler@hammondlawpc.com,
              acherniak@hammondlawpc.com, Elliot Jackson, Arun Ravindran, jholt@hedinllp.com, Tyler Somes,
              pbrandler@hammondlawpc.com
 Attachments:
 Attachments: image001.png, image001.png


Adrian: We will advise the courts that we exchanged correspondence with you, one of the plain:ﬀ’s
counsel of record in the Hoang To ac:on, to confer on our upcoming mo:ons, and that you advised us
that you were not familiar enough with the case to provide a posi:on. Normally we would wait to ﬁle
these mo:ons un:l aCer receiving a substan:ve response from one of the other counsel of record for
your client who knows what’s going on in the case, but given recent developments that we recently
learned about, we will be ﬁling our mo:ons tomorrow to protect the interests of class members in this
li:ga:on.

Incidentally, the email address I used for Ms. Brandler in my e-mails below, which you have now advised
me is incorrect, is an e-mail address I copied and pasted from the signature block at the heading of the
opera:ve complaint in the Hoang To ac:on -- so you may want to consider correc:ng that. I have added
Ms. Brandler’s correct e-mail address, provided by you below, to this thread.

Thanks.

Frank

Frank S. Hedin

1395 Brickell Avenue, Suite 610
Miami, Florida 33131
Tel: + 1 (305) 357-2107
Fax: + 1 (305) 200-8801



From:
 From: Adrian Barnes <abarnes@hammondlawpc.com>
Date:
 Date: Thursday, October 24, 2024 at 5:38 PM
To:
 To: Frank Hedin <fhedin@hedinllp.com>
Cc:
 Cc: jhammond@hammondlawpc.com <jhammond@hammondlawpc.com>,
pblandler@hammondlawpc.com <pblandler@hammondlawpc.com>,
acherniak@hammondlawpc.com <acherniak@hammondlawpc.com>, Elliot Jackson
<ejackson@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
jholt@hedinllp.com <jholt@hedinllp.com>, Tyler Somes <tsomes@hedinllp.com>
Subject:
 Subject: Re: Alliance VPPA litigation - meet and confer

Frank,

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I am, unfortunately, not familiar enough with this case to answer your questions. I
cannot consult with my colleagues who are familiar with this case given that they are
observing Jewish holidays. If you would like to discuss these issues with my colleagues
and to understand my firm's position you will have to wait until Monday.

Adrian

NB. Ms. Brandler's correct email address is pbrandler@hammondlawpc.com

Adrian Barnes
Counsel
HammondLaw, PC
1201 Pacific Avenue
Suite 600
Tacoma, WA 98402
Main: 206-707-9366, 310-807-1666
Direct: 510-316-9926
Facsimile: 310-295-2385

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On Thu, Oct 24, 2024 at 1:55 PM Frank Hedin <fhedin@hedinllp.com> wrote:

   Adrian: since you are also counsel of record on the case, perhaps you could tell me your client’s
   posi:on. Although you neglected to disclose our ﬁrst-ﬁled Feller case as a related maXer to the court
   presiding over your case – in either the civil cover sheet, a no:ce of related case, or otherwise --
   defendants’ counsel advised us several weeks ago that they made you aware of our case shortly aCer
   you ﬁled your case, that they asked you to dismiss your case in light of our earlier-ﬁled case, and that
   you refused to do so. You have thus had signiﬁcant :me to consider the issues of whether your case
   should be dismissed and of which aXorneys are best suited to represent the interests of the puta:ve
   classes. Given this background, and your status as one of plaini\f’s counsel of record, we intend to
   ﬁle our papers in both cases at noon tomorrow. If we do not have a response from you by then, we
   will advise the courts that we were unable to obtain your posi:on. Thanks.


   Frank S. Hedin

   1395 Brickell Avenue, Suite 610
   Miami, Florida 33131
   Tel: + 1 (305) 357-2107

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Case 0:24-cv-61444-RAR
Case 0:24-cv-61444-RAR   Document Document
         Case 3:24-cv-06447-WHO
                         Document 39-7 Entered
                                  47-2 Entered onFiled
                                           14-2on FLSD
                                                  FLSD   Docket 11/01/2024
                                                       10/28/24
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   Fax: + 1 (305) 200-8801



   From:
    From: Adrian Barnes <abarnes@hammondlawpc.com>
   Date:
    Date: Thursday, October 24, 2024 at 4:34 PM
   To:
    To: Frank Hedin <fhedin@hedinllp.com>
   Cc:
    Cc: jhammond@hammondlawpc.com <jhammond@hammondlawpc.com>,
   pblandler@hammondlawpc.com <pblandler@hammondlawpc.com>,
   acherniak@hammondlawpc.com <acherniak@hammondlawpc.com>, Elliot Jackson
   <ejackson@hedinllp.com>, Arun Ravindran <aravindran@hedinllp.com>,
   jholt@hedinllp.com <jholt@hedinllp.com>
   Subject:
    Subject: Re: Alliance VPPA litigation - meet and confer

   Mr. Hedin,

   My colleagues are unavailable today and tomorrow, and cannot be reached, due to
   their observance of religious holidays. The first opportunity they will have to respond
   to your email will be on Monday,

   Best,

   Adrian Barnes
   Counsel
   HammondLaw, PC
   1201 Pacific Avenue
   Suite 600
   Tacoma, WA 98402
   Main: 206-707-9366, 310-807-1666
   Direct: 510-316-9926
   Facsimile: 310-295-2385

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   all copies of the original message. Thank you.




   On Thu, Oct 24, 2024 at 12:58 PM Frank Hedin <fhedin@hedinllp.com> wrote:
     Counsel:
     We represent the plaintiYs and putative classes in Feller et al. v. Alliance
     Entertainment, LLC et al., case no. Case No. 0:24-cv-61444, pending in the Southern
     District of Florida; a copy of the complaint in the Feller case is attached. We


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Case 0:24-cv-61444-RAR
Case 0:24-cv-61444-RAR   Document Document
         Case 3:24-cv-06447-WHO
                         Document 39-7 Entered
                                  47-2 Entered onFiled
                                           14-2on FLSD
                                                  FLSD   Docket 11/01/2024
                                                       10/28/24
                                                        Docket  10/28/2024   Page 138
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     understand you represent a plaintiY in a duplicative, later-ﬁled VPPA case in N.D. Cal.,
     against one of the two defendants named in our case. We intend to ﬁle a motion for
     interim appointment of class counsel in our ﬁrst-ﬁled case, as well as a motion to
     intervene and to stay or dismiss your case in N.D. Cal. I tried reaching you by phone
     earlier today but was unable to reach you. Please let us know by noon tomorrow if you
     will consent to the relief sought in these motions or if you will oppose. Happy to
     answer any questions you may have about our forthcoming motions.
     Thanks.

     Frank S. Hedin

     1395 Brickell Avenue, Suite 610
     Miami, Florida 33131
     Tel: + 1 (305) 357-2107
     Fax: + 1 (305) 200-8801




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          Case 3:24-cv-06447-WHO
                         Document 47-2
                                   Document
                                       Entered
                                            14-3
                                               on FLSD
                                                  Filed 10/28/24
                                                        Docket 11/01/2024
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 1                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 2
 3   JONATHAN HOANG TO, individually and
 4   on behalf of all others similarly situated,
 5                  Plaintiff,
 6      v.
 7   DIRECTTOU, LLC,
 8
                    Defendant,                        Case No. 24-cv-06447-WHO
 9
10      and,
11   DOUGLAS FELLER; JEFFRY HEISE;
12   JOSEPH MULL, individually and on behalf of
     all others similarly situated,
13
14                  Plaintiff-Intervenors.
15
16   [PROPOSED] ORDER GRANTING TIME-SENSITIVE MOTION TO INTERVENE
     AND TO DISMISS OR, IN THE ALTERNATIVE, TO TRANSFER OR STAY
17
18
             This Matter, having come before the Court on Plaintiff-Intervenors’ Time-Sensitive
19
20   Motion to Intervene and Dismiss, or in the Alternative, to Transfer or Stay (the “Motion”), it is
21
     hereby ORDERED, ADJUDGED AND DECREED that the Motion is granted and the Plaintiff’s
22
     First Amended Complaint is dismissed without prejudice.
23
24           ENTERED this ___ day of ______________, 2024
25
26
                                                                 ____________________
27
28                                                               William H. Orrcik III
                                                                 Senior United States District Judge
29
30
